     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 1 of 245 Page ID #:722

                                                                        APR - 5 2021

       KATHRYN C. WANNER (Cal. Bar No. 269310)
                                                                             RS
1
       Email: wannerk@sec.gov
2      M. LANCE JASPER (Cal. Bar No. 244516)
       Email: jasperml@sec.gov
3
       Attorneys for Plaintiff
4      Securities and Exchange Commission
       Michele Wein Layne, Regional Director
5      Alka N. Patel, Associate Regional Director
       Amy J. Longo, Regional Trial Counsel
6      444 S. Flower Street, Suite 900
       Los Angeles, California 90071
7      Telephone: (323) 965-3998
       Facsimile: (213) 443-1904
8
                             UNITED STATES DISTRICT COURT
9
                           CENTRAL DISTRICT OF CALIFORNIA
10
11
12       SECURITIES AND EXCHANGE                    Case No. 2:21-CV-02927-CAS-GJSx
         COMMISSION,
13
                     Plaintiff,                     DECLARATION OF JOSEPH
14                                                  DEALTERIS
               vs.
15
         ZACHARY J. HORWITZ; AND
16       1INMM CAPITAL, LLC,                        (FILED UNDER SEAL)
17
                     Defendants.
18
19
20
21
22
23
24
25
26
27
28
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 2 of 245 Page ID #:723




 1                              DECLARATION OF JOSEPH DEALTERIS

 2           I, Joseph deAlteris, declare, pursuant to 28 U.S.C. § 1746, as follows:
 3           1.     I am an individual over 18 years of age and have personal knowledge of the matters
 4           set forth herein, except as otherwise noted, and, if called as a witness, I could and would
 5           competently testify under oath to the facts stated herein.
 6           2.     I make this declaration at the request of the staff of the U.S. Securities and Exchange
 7           Commission (“SEC”).
 8           3.     I am a managing member of JJMT Capital, LLC (“JJMT”). The three managing
 9           members of JJMT – Jacob Wunderlin, Matthew Schweinzger, and myself (collectively,
10           “JJMT members”) – met Zachary Horwitz, the founder and managing member of 1inMM
11           Capital (“1inMM”), while attending Indiana University from 2007-2010, where we became
12           friends.
13           4.     In or about March of 2014, based on my information and belief, Horwitz presented
14           Wunderlin with an investment opportunity in 1inMM, whereby Wunderlin would lend funds
15           in exchange for a promissory note, and the funds would serve to finance and facilitate the
16           licensing of specific media content to a streaming platform. To induce Wunderlin to extend
17           the loan, Horwitz made representations regarding 1inMM, which Wunderlin reasonably
18           believed to be true and accurate, regarding Horwitz’s experience and relationships in the
19           media content distribution industry, as well as the investment dynamics, deal structure,
20           potential returns, and associated risks pertaining to the opportunity. To further induce
21           Wunderlin to extend the loan, Horwitz personally guaranteed Wunderlin’s initial loan. In
22           reliance upon Horwitz’s representations and his personal guarantee, that same month,
23           Wunderlin and an associate (“EF”) loaned approximately $37,000 in exchange for a
24           promissory note with 1inMM. This initial note was timely repaid in full by 1inMM with the
25           specified amount of interest in or about June 2014.
26           5.     From in or about September 2014 through March 2015, Horwitz made additional
27           representations to me, as well as to Wunderlin and Schweinzger, in order to induce us to
28

                                                            1
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 3 of 245 Page ID #:724




 1           lend additional capital to 1inMM in exchange for promissory notes that would finance and

 2           facilitate the licensing of specific media content to streaming platforms. In reliance on these

 3           representations, which I reasonably believed to be true and accurate, and the timely

 4           repayment with interest by 1inMM of the initial note described above, the following

 5           occurred, among other things:

 6           x       Wunderlin, Schweinzger, and I agreed to lend additional capital in exchange for
 7                   promissory notes issued by 1inMM.

 8           x       These notes were financed by me, Wunderlin, or Chi Town Capital (“CT Capital”),
 9                   an entity formed by Wunderlin, Schweinzger, me, and two other associates (“EF”

10                   and “TC”) for the purpose of providing financing to 1inMM in exchange for

11                   promissory notes. The capital for these notes was provided by Wunderlin,

12                   Schweinzger, and me personally, as well as from our friends and associates.

13           x       All of these notes were timely repaid in full by 1inMM with the specified amount of
14                   interest.

15           x       The following chart summarizes these loans and the associated media content, as
16                   represented by Horwitz and reasonably believed to be true and accurate by me:

17         Lender                Title           Transaction Date    Maturity Date    Customer        Loan Amount
18         Jacob Wunderlin       Deseo           March 2014          June 2014        Sony Pictures   $37,000

19         Chi Town Capital      Los Olvidados   October 2014        January 2015     Sony Pictures   $297,000

20         Jacob Wunderlin       Fräulein Else   November 2014       February 2015    Sony Pictures   $32,500

21         Jacob Wunderlin       HellFire        December 2014       June 2015        HBO Studios     $36,000

           Joseph deAlteris      Kickboxer       January 2015        July 2015        HBO Studios     $81,100
22
           Chi Town Capital      Wild Night      February 2015       August 2015      HBO Studios     $265,000
23
           Chi Town Capital      Anna Waters     February 2015       August 2015      HBO Studios     $263,500
24
           Jacob Wunderlin       Skyler          March 2015          September 2015   HBO Studios     $38,250
25

26
             6.      Among the representations made by Horwitz to induce Wunderlin, Schweinzger, and
27
             me to provide financing in exchange for promissory notes to 1inMM as described above,
28

                                                                 2
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 4 of 245 Page ID #:725




 1           which I reasonably believed to be true, and which I relied upon in agreeing to provide

 2           additional financing in exchange for promissory notes as described below, were the

 3           following, among other things:

 4           x      Horwitz was well-connected in the content distribution industry as a result of his
 5                  relationships with Julio Hallivis (his friend), Gustavo Montaudon (Julio’s family

 6                  member), and Javier Salgado (Gustavo’s business partner).

 7           x      Montaudon was an “industry veteran” with 20+ years’ experience in content
 8                  distribution with direct connections at Netflix/HBO/Sony for the Latin American

 9                  Markets (https://www.linkedin.com/in/gustavo-montaudon-71989123/;

10                  http://www.alebrije.tv/)

11           x      Horwitz had been working for the VC firm Maveron (https://www.maveron.com/),
12                  where he had formed relationships with wealthy businessmen Howard Schultz and

13                  Dan Levitan.

14           x      Schultz and Levitan were instrumental in creating inroads for Horwitz at platforms
15                  such as Netflix, HBO, and Sony and for facilitating the various output deals that

16                  1inMM had in place with these platforms.

17           x      Horwitz had another larger operation called “1inMM Productions” that was
18                  financially supported by Schultz and Levitan for the purpose of acquiring titles larger

19                  in scale and more speculative in nature.

20           x      In contrast to 1inMM Productions, 1inMM was created specifically to acquire titles
21                  that were generally approximately $1 million or less in purchase price.

22           7.     Throughout our dealings with 1inMM and Horwitz, it was critical to my decisions to

23           provide financing to 1inMM that Horwitz made representations and provided

24           documentation, emails, and other information that I reasonably believed to be true and

25           accurate that 1inMM was licensing content to well-established, well-respected, and well-

26

27

28

                                                          3
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 5 of 245 Page ID #:726




 1           financed platforms known to be actively seeking and licensing such content in the relevant

 2           markets, most notably Netflix and HBO.

 3           8.       From in or about April 2015 through October 2015, in reliance upon Horwitz’s

 4           representations and the documentation, emails, and other information he provided, which I

 5           reasonably believed to be true and accurate, and the timely repayment with the specified

 6           amount of interest by 1inMM of the prior notes, Wunderlin, Schweinzger, and I were

 7           induced to extend thirteen additional loans to 1inMM in exchange for promissory notes via

 8           two entities (JTHD Investments and JJMT Group). These were entities created either

 9           individually or collectively by Wunderlin, Schweinzger, and/or me (and a fourth associate,

10           “TC”) for the purpose of lending additional capital to 1inMM in exchange for promissory

11           notes. The capital for these loans was provided by Wunderlin, Schweinzger, and me

12           personally, as well as by our family, friends, and associates. The following chart

13           summarizes these loans and the associated media content, as represented by Horwitz and

14           which I reasonably believed to be true and accurate:

15                                                 Transaction                                     Loan
         Lender             Title                                    Maturity Date   Customer
                                                   Date                                            Amount
16
         JTHd Investments   The Muse               April 2015        October 2015    HBO Studios   $225,500
17
         JTHd Investments   The Last Five Years    April 2015        October 2015    HBO Studios   $325,250
18
         JTHd Investments   Hell & Back            June 2015         December 2015   HBO Studios   $265,000
19
         JTHd Investments   Bronco Belle           June 2015         December 2015   HBO Studios   $253,500
20
         JJMT Group         Pound of Flesh         August 2015       February 2016   HBO Studios   $235,750
21       JJMT Group         Stolen Dreams          August 2015       February 2016   HBO Studios   $170,500

22       JJMT Group         Sinister 2             August 2015       February 2016   HBO Studios   $416,000

23       JJMT Group         Eye in the Sky         September 2015    March 2016      HBO Studios   $490,750

24       JJMT Group         The Adderall Diaries   September 2015    March 2016      HBO Studios   $266,750

         JJMT Group         Beast                  September 2015    March 2016      HBO Studios   $195,675
25
         JJMT Group         High-Rise              October 2015      April 2016      HBO Studios   $680,650
26
         JJMT Group         Carol                  October 2015      April 2016      HBO Studios   $375,500
27
         JJMT Group         A Year And Change      October 2015      April 2016      HBO Studios   $285,950
28

                                                                 4
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 6 of 245 Page ID #:727




 1           9.     In or about July of 2015, JJMT was created by managing members Wunderlin,

 2           Schweinzger, and me (along with “TC,” who is no longer affiliated with JJMT). In or about

 3           November of 2015, the JJMT members began to utilize JJMT as the primary vehicle to act

 4           as a continued source of promissory note financing for 1inMM. The capital deployed by

 5           JJMT was provided by the JJMT members personally, as well as by our family, friends, and

 6           associates. During this time, Horwitz made representations and provided documentation,

 7           emails, and other information to the JJMT members, which I reasonably believed to be true

 8           and accurate, and upon which I relied in agreeing to have JJMT provide financing to

 9           1inMM, that indicated as follows, among other things:

10           x      1inMM and Horwitz would use loan funds from JJMT to acquire distribution rights
11                  for the Latin American marketplace from various Foreign Sales Agents (“FSAs”).

12           x      Following acquisition from the FSA, 1inMM and Horwitz would sublicense these
13                  distribution rights to Sony, HBO or Netflix.

14           x      Repayment of JJMT’s loans, inclusive of the specified amount of interest, to 1inMM
15                  would be tied to the repayment of licensing fees from Sony, HBO or Netflix to

16                  1inMM.

17           x      Sony’s standard payment term/timeline for any transaction was 3 months following
18                  the transaction date with 1inMM.

19           x      HBO’s standard payment term/timeline for any transaction was 6 months following
20                  the transaction date with 1inMM.
21           x      Netflix’s standard payment term/timeline for any transaction was 24 months
22                  following the transaction date with 1inMM (later, in 2017, this term/timeline became
23                  12 months).
24           x      As such, JJMT’s loans to 1inMM would be outstanding for either 3 months (Sony
25                  titles), 6 months (HBO titles) or 24 (later 12) months (Netflix titles) depending on
26                  which platform ultimately licensed the content.
27           x      Further, in or about March 2017, 1inMM formed a partnership with Pathe
28                  International, a content distribution business in Europe. Using loan funds from

                                                           5
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 7 of 245 Page ID #:728




 1                  JJMT, 1inMM would provide financing to Pathe to acquire the rights to content that

 2                  Pathe would thereafter sublicense to HBO for the European marketplace. For each

 3                  of these transactions, Pathe’s payment term/timeline was 6 months (consistent with

 4                  HBO’s standard payment term/timeline). Pathe would repay 1inMM, and 1inMM

 5                  would thereafter repay the JJMT notes, inclusive of the specified amount of interest.

 6           x      For Pathe transactions, JJMT would provide approximately 80% of the capital for the
 7                  loans to 1inMM and Horwitz, via ZJH Enterprise LLC (“ZJH”), would provide JJMT

 8                  with the additional 20% of loan capital. In turn, ZJH would receive a proportionate

 9                  share of the interest on these notes upon repayment from 1inMM to JJMT.

10           x      The manner in which 1inMM generated revenue for itself included, but was not
11                  limited to, the following: (i) receiving a percentage of the gross receipts that HBO

12                  generated from exploiting film rights; (ii) retaining a portion of the profit margin

13                  from Netflix-specific transactions; (iii) following the repayment of notes used to

14                  finance the acquisition of content rights and the expiration of initial 3-year

15                  sublicensing period with platforms such as HBO and Netflix, 1inMM would retain

16                  rights to the same content for an additional period of years, thereby enabling 1inMM

17                  to continue licensing the content to other parties for 1inMM’s sole financial benefit;

18                  and (iv) 1inMM would also, as of in or about March 2017, enter into a profit

19                  participation arrangement with Pathe and receive a portion of the gross receipts that

20                  HBO paid to Pathe.

21           10.    From the start of the JJMT financing arrangement with 1inMM in or about 2015 until

22           late 2019, JJMT continued to increase the use of the JJMT members’ own personal capital,

23           as well as capital from our family, friends, and associates, to provide financing to 1inMM in

24           exchange for promissory notes. In so doing, I relied upon 1inMM’s timely repayment of

25           promissory notes in full with the specified amount of interest, as well as upon Horwitz’s

26           continued representations and provision of hundreds of documents, emails, and other

27           information that he claimed, and I reasonably believed, to be true and accurate, regarding

28           1inMM’s operations, investments, revenue, transactions, business relationships, and growing

                                                            6
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 8 of 245 Page ID #:729




 1           financing opportunities. For example, Horwitz provided JJMT with what was reported to be

 2           1inMM’s “Annual Report” from 2015, a true and correct copy of which is attached hereto as

 3           Exhibit 1. Additional examples of documents, emails, and other information Horwitz

 4           provided to JJMT include, but are not limited to, the following:

 5           x      Foreign Sales Agent (FSA) Purchase Agreements
 6           x      Licensing and Distribution Agreements with Netflix and HBO
 7           x      1inMM and JJMT Promissory Notes
 8           x      Netflix Proposal
 9           x      Due Diligence questions and answers
10           x      Communications with FSAs, Netflix, and HBO
11           Throughout the course of our dealings, in order to induce continued financing from JJMT in

12           exchange for promissory notes, Horwitz provided, among other things, more than 400

13           documents and contracts, as well as emails, and other materials regarding putative content

14           licensing transactions conducted by 1inMM that Horwitz represented, and I reasonably

15           believed, to be true and accurate. Horwitz would provide these materials and other

16           documents regarding specific content licensing transactions to JJMT via email, secure

17           messenger application, and/or Box. For example, Horwitz and 1inMM provided JJMT with

18           FSA agreements, promissory notes, distribution/licensing agreements, and other relevant

19           deal documents and communication for the following content titles:

20           x      HBO: Blood Quantum; Look Away; Bitter Harvest. True and correct copies of
21                  putative FSA agreements, promissory notes, and distribution/licensing agreements

22                  dated, respectively, July 16, 12, and 30, 2019 (Blood Quantum); August 15, 13, and

23                  27, 2019 (Look Away); October 02, 2019, September 27, 2019, and October 10, 2019

24                  (Bitter Harvest) are attached hereto as Exhibits 2(a)-(c) (Blood Quantum); 3(a)-(c)

25                  (Look Away); 4(a)-(c) (Bitter Harvest).

26           x      Netflix: Active Measures; Divide & Conquer; Lucia’s Grace. True and correct
27                  copies of putative FSA agreements, promissory notes, and distribution/licensing

28                  agreements dated, respectively, December 17, 17, and 21, 2018 (Active Measures);

                                                           7
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 9 of 245 Page ID #:730




 1                   December 17, 17, and 21, 2018 (Divide & Conquer); February 27 and 27, 2019, and

 2                   March 4, 2019 (Lucia’s Grace) are attached hereto as Exhibits 5(a)-(c) (Active

 3                   Measures); 6(a)-(c) (Divide & Conquer); 7(a)-(c) (Lucia’s Grace).

 4           11.     As noted above, JJMT’s continued participation in its financing arrangement with

 5           1inMM was induced in part by 1inMM’s full and timely repayment with the specified

 6           amount of interest of promissory notes. From the start of the JJMT financing arrangement

 7           described above until in or about late 2019, 1inMM did not default on any loans made by

 8           JJMT.

 9           12.     From in or about mid 2015 until late 2019, JJMT’s financing of 1inMM’s content

10           licensing transactions continued to grow. During this time, JJMT provided financing to

11           1inMM in exchange for promissory notes with total principal value of approximately $485

12           million. The amount repaid by 1inMM to JJMT during this period for these promissory

13           notes, inclusive of specified interest, was approximately $440 million, some of which was

14           redeployed by noteholders for future loans. At present, JJMT currently has delinquent and

15           unpaid notes owing from 1inMM with principal values of approximately $165MM

16           (exclusive of interest) for amounts loaned in or about 2018 and 2019. Collectively, the

17           JJMT members represent JJMT’s largest noteholders with approximately $42.5 million in

18           principal value of notes outstanding, which is approximately 26% of the outstanding note

19           principal owed to JJMT by 1inMM.

20           I declare under penalty of perjury under the laws of the United States of America that the

21           foregoing is true and correct.

22           Executed this _____                          Chicago
                            29th day of March, 2021 in _______________,     Illinois
                                                                        ________________.

23

24                                                Joseph
                                                    seeph
                                                       p deAlteris
25

26

27

28

                                                           8
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 10 of 245 Page ID #:731




                          Exhibit 1




                                                                Exhibit 1 Page 9
   1INMM
                Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 11 of 245 Page ID #:732




   CAPITAL
   ANNUAL
   REPORT
                                                                                       Exhibit 1 Page 10
FOIA Confidential Treatment Requested                                                           JJMT-SEC-0004841
                   Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 12 of 245 Page ID #:733
       CHEERS TO OUR
       INVESTORS

       Thank you for your investment and trust in       profitable partnerships. We are ecstatic to        distribute more than 25 additional films per year,
       1inMM Capital over the past year. Our            report that over the past year, we have            creating ample opportunity for investment and
       managing partners have worked tirelessly to      acquired and successfully distributed 49 films     substantial growth of our thriving feature film
       provide a landscape that balances the            through the 1inMM Capital banner without           library.
       protection of your investment with the proper    incurring a single loss in the process. But this
       amount of risk to garnish the profits that you   is only the beginning…                             In the following pages, you will see the high level
       have grown accustomed to obtaining. We could                                                        details of our investment overview. If you have
       not be more pleased with our progress and we     As we look into the future, 1inMM Capital’s        any questions in regards to your investment/s or
       look extremely optimistically into our future.   road ahead is extremely bright. As many of         would like additional information in regards to
                                                        you are aware, we have expanded our                the process, you know that we are always
       Over the past year, we have managed our          business model with HBO Entertainment and          available.
       business model with the solid foundation that    NETFLIX to not only service the thriving Latin
       it was built on. We continue to source quality   American marketplace but now are                   Cheers!
       feature film projects, solidify our reputation   distributing feature films to Australia and New
       and relationships with our current output        Zealand as well. With this growth, we have         1inMM Capital Team
       deals and continuously search for additional     the ability to safely and profitably



                                                                                                                              Exhibit 1 Page 11
FOIA Confidential Treatment Requested                                                                                                      JJMT-SEC-0004842
                Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 13 of 245 Page ID #:734




                                                                                       Exhibit 1 Page 12
FOIA Confidential Treatment Requested                                                           JJMT-SEC-0004843
                   Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 14 of 245 Page ID #:735
       OUR MANAGING
       PARTNERS
       ZACH HORWITZ                                   JULIO HALLIVIS
       PRINCIPAL                                      PRINCIPAL
       Zach is responsible for the companies          Julio is responsible for bookkeeping, content
       overall strategy, capital transactions,        acquisition, foreign sales agent relations and
       operations, investor relations and content     head of our Latin America distribution arm.
       acquisitions. With ample experience            Julio has an unprecedented knowledge of film
       working with 1inMM Productions, 1inMM          production that allows him to have the ability
       Capital’s parent company, Zach brings a        of spotting projects at an early stage with the
       wealth of knowledge, reputation and            potential to become extremely profitable prior
       experience when growing 1inMM Capital to       to being shopped at a film market. With these
       a prominent force in the             foreign   tools, Julio works closely with foreign sales
       distribution landscape. Zach’s main focus is   agents to pinpoint projects for acquisition prior
       providing investors      an     unparalleled   to them going on the market and eliminating
       financial business model in which he           the chance of a higher acquisition cost.
       highlights gaps in an already profitable       Additionally, Julio has strong roots within the
       marketplace and takes advantage of these       Latin American film landscape that allows
       niche markets in order to garner returns for   1inMM Capital to get inside access into an
       investors. Zach is a serial entrepreneur,      extremely difficult territory to capitalize. Julio is
       founding and successfully managing or          a credited commercial and film producer
       exiting four companies since his graduation    working with brands such as Porsche, Audi and
       from Indiana University in 2009.               Volkswagen prior to getting into film
                                                      distribution.                                           Exhibit 1 Page 13
FOIA Confidential Treatment Requested                                                                                  JJMT-SEC-0004844
                    Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 15 of 245 Page ID #:736
       OUR MANAGING
       PARTNERS
       GUSTAVO MONTAUDON
       PRINCIPAL
       Gustavo is responsible for output deal             all sales of TV and Theatrical product in Latin
       relations with Netflix, Sony and HBO. Gustavo      America, including Video On Demand, Pay-­­
       is a veteran in the business of distribution and   Per-­­View, Free TV, Basic Cable, Internet
       acquisitions for Latin America. With over          and Syndication. Gustavo was credited for
       three decades of experience, his knowledge         creating synergies between Fox divisions in
       of the industry is unsurpassable. Gustavo          Mexico and Latin America to launch
       founded Alebrije Entertainment, a leading          Theatrical movies and DVD releases of
       programming distribution company for high          movies, sequels, TV series and the licensing
       quality products for television. This venture      of products.
       allowed him to negotiate multiple successful
       output deals with prominent companies such
       as Netflix, Sony Worldwide and HBO in Latin
       America, in addition to distributing Mexican
       films in the United States Hispanic video
       market.        Prior to forming Alebrije
       Entertainment, Gustavo was Vice President of
       TV Distribution in Latin America for 20th
       Century Fox for 28 years, where he oversaw

                                                                                                            Exhibit 1 Page 14
FOIA Confidential Treatment Requested                                                                                JJMT-SEC-0004845
                Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 16 of 245 Page ID #:737




                                                                                       Exhibit 1 Page 15
FOIA Confidential Treatment Requested                                                           JJMT-SEC-0004846
                    Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 17 of 245 Page ID #:738
       OUR STRATEGIC
       PARTNERSHIPS

            PARENT  COMPANY                           LEADING  LATIN  AMERICA                      FOREIGN  SALES  PARTNER                         DISTRIBUTION  PARTNER
                                                      DISTRIBUTION  COMPANY




          FOREIGN  SALES  PARTNER                     FOREIGN  SALES  PARTNER                      FOREIGN  SALES  PARTNER                           ENTERTAINMENT  
                                                                                                                                                       ATTORNEY




                              DISTRIBUTION  PARTNER                        DISTRIBUTION  PARTNER                             PRIMARY  BANKING  
                                                                                                                                INSTITUTION

                                                                                                                                             Exhibit 1 Page 16
FOIA Confidential Treatment Requested                                                                                                                  JJMT-SEC-0004847
                    Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 18 of 245 Page ID #:739
       OUR INVESTMENT
       FOCUS

       We believe that the safety of our investor’s        different output deal. Through our solid
       funds should always be our first priority. Due to   relationships, we receive confirmation from
       this notion, our strategy has been and will         each of our outputs indicating their desire to
       always be a collateralized investment approach      acquire the rights to any title we purchase
       to ensure that solid returns and safe               PRIOR to us releasing funds for the film so
       investments are the pillars that solidify our       that in the event of any unexpected
       foundation. The acquisition of each film that we    occurrence, we are able to recover our
       acquire uses the asset acquired (Distribution       investment through an alternative company.
       Rights of the film) as collateral against any
       unexpected negative event that may occur. If, at    *Due to this fact, in the event of one output platform
       any point, one of our current output deals (HBO     defaulting on payment, 1inMM Capital has confirmation
       / SONY / NETFLIX) would default on a payment        that this title will be acquired by a secondary deal and
                                                           therefore making the investment whole. Simply stated, in
       owed to the company; the rights to distribute       the event that Netflix, HBO or SONY defaults on a payment,
       the film would immediately revert back to the       declares bankruptcy or displays contractual delinquency in
                                                           any form, we simply sell the film to one of the two
       distributor (1inMM Capital) and the distributor     remaining output platforms that already have agreed to
       would place the film through a                      license the rights of the film.




                                                                                                                        Exhibit 1 Page 17
FOIA Confidential Treatment Requested                                                                                            JJMT-SEC-0004848
                Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 19 of 245 Page ID #:740
       LIBRARY
       SNAPSHOT




                                                                                       Exhibit 1 Page 18
FOIA Confidential Treatment Requested                                                           JJMT-SEC-0004849
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 20 of 245 Page ID #:741




                        Exhibit 2a




                                                             Exhibit 2a Page 19
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 21 of 245 Page ID #:742




                                                                    Exhibit 2a Page 20
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004850
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 22 of 245 Page ID #:743




                                                                    Exhibit 2a Page 21
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004851
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 23 of 245 Page ID #:744




                                                                    Exhibit 2a Page 22
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004852
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 24 of 245 Page ID #:745




                                                                    Exhibit 2a Page 23
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004853
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 25 of 245 Page ID #:746




                                                                    Exhibit 2a Page 24
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004854
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 26 of 245 Page ID #:747




                                                                    Exhibit 2a Page 25
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004855
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 27 of 245 Page ID #:748




                                                                    Exhibit 2a Page 26
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004856
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 28 of 245 Page ID #:749




                                                                    Exhibit 2a Page 27
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004857
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 29 of 245 Page ID #:750




                                                                    Exhibit 2a Page 28
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004858
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 30 of 245 Page ID #:751




                                                                    Exhibit 2a Page 29
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004859
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 31 of 245 Page ID #:752




                                                                    Exhibit 2a Page 30
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004860
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 32 of 245 Page ID #:753




                                                                    Exhibit 2a Page 31
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004861
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 33 of 245 Page ID #:754




                        Exhibit 2b




                                                             Exhibit 2b Page 32
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 34 of 245 Page ID #:755




            PROMISSORY NOTE

            $ (998,865.00)                                                          (07/12/2019)

            Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
            California, (the ''Maker''), hereby promises to pay to Lender, JJMT CAPITAL LLC, a
            Delaware Limited Liability company located at (541 N Fairbanks Ct. STE 2200
            Chicago, IL 60611), (the ''Payee''), an amount equal to (NINE HUNDRED NINETY-
            EIGHT THOUSAND EIGHT HUNDRED SIXTY FIVE) Dollars ($998,865.00) in
            lawful money of the United States of America, which sum shall be due and payable
            on (01/12/2020) (the ''Maturity Date''), in one (1) balloon payment, in like money at
            said office. Payment date shall be no later than SIX (6) months post confirmed funds
            transfer from Payee to Maker in the amount of (SEVEN HUNDRED THIRTY-FIVE
            THOUSAND) Dollars ($735,000.00).


            Prepayment Option. Maker may pay down at any time any portion of the principal sum
            outstanding without any prepayment penalty.

            Assignment of Rights. See Appendix A

            Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
            and that in the event payment of principal or interest due under this Note is not made
            when due, giving effect to any grace period which maybe applicable, the outstanding
            balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
            percent per month, for so long as such event of default continues.

            Validity of Agreement to Conform to Law. All agreements between the undersigned and
            the holder of this Note are expressly limited so that in no contingency or event
            whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
            maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
            be paid to the holder hereof for the use, forbearance or detention of money advanced
            hereunder exceed the highest lawful rate permissible under any law which a court of
            competent jurisdiction may deem applicable hereto. If, from any circumstances
            whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
            any other agreement referred to herein, at the time performance of such provision shall be
            due, shall involve transcending the limit of validity prescribed by law which a court of
            competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
            fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
            holder hereof shall ever receive as interest an amount which would exceed the highest
            lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                       Exhibit 2b Page 33
FOIA Confidential Treatment Requested                                                               JJMT-SEC-0004862
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 35 of 245 Page ID #:756




           reduction of the unpaid principal balance due hereunder and not to the payment of
           interest. This provision shall control every other provision of all agreements between the
           undersigned and the holder hereof.

            Maker’s Default. At the option of the holder hereof exercised by written notice to the
            undersigned, this Note shall become immediately due and payable upon the maker's
            failure to pay when due any payment of principal, interest or expenses due hereunder; or
            (b) failure in the performance or observance of any of the terms or conditions of any
            mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
            otherwise pertaining to this Note after giving effect to any applicable curative period
            which may be contained therein. Upon the occurrence of any of the following specified
            Events of Default, as defined under the standard conventions and terminology prescribed
            for promissory notes drafted under Warren’s California Forms for Principal, Interest,
            Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
            called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
            any Event of Default shall then be continuing, the Payee may, by written notice to the
            Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
            due and payable, whereupon the principal of and such unpaid accrued interest in respect
            of this Note shall become forthwith due and payable without presentment, demand,
            protest or other notice of any kind, all of which are hereby expressly waived by the
            Maker. Furthermore, This note shall become due and payable before the above-
            mentioned maturity date immediately upon the happening of any of the following events
            affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
            petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
            creditors, calling meeting of creditors, appointment of liquidating agent or committee,
            offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
            or for over 30 days, application for appointment or appointment of any receiver, issuance
            of warrant of attachment or death of any maker or indorser or on default of any other
            obligations to the Maker.

            Collection Costs. If this Note or any installment of principal or interest is not paid when
            due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
            collection, including without limitation, actual attorneys' fees, and all expenses in
            connection with the protection or realization of the assets and proceeds available this
            Note or the enforcement of any subsequent memorandum or agreement created in
            conjunction with this Note incurred by the holder hereof on account of such collection,
            whether or not suit is filed hereon or thereon; such costs and expenses shall include,
            without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
            hereof in connection with any insolvency, bankruptcy, arrangement or other similar
            proceedings involving the undersigned, or involving any endorser or guarantor hereof,
            which in anyway affects the exercise by the holder hereof of its rights and remedies under
            this Note or under any mortgage, deed of trust, security agreement, guaranty or other
            agreement securing or pertaining to this Note.

            Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
            nonpayment of this Note and all notices of every kind are hereby waived by all parties to




                                                                                       Exhibit 2b Page 34
FOIA Confidential Treatment Requested                                                               JJMT-SEC-0004863
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 36 of 245 Page ID #:757




            this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
            provided herein. To the extent permitted by applicable law, the defense of the statute of
            limitations is hereby waived by the undersigned.

            Death of Maker. Maker of this note hereby waives all notice and demand and consent that
            this note shall become due and payable immediately upon the happening of any of said
            events. This note shall become due and payable on the Maturity Date, but payment shall
            be accelerated and become due and payable immediately if the Maker shall die. For the
            further security of the holder thereof, the undersigned covenants that so long as any part
            of the principal or interest of this note is outstanding and unpaid, it will not grant any
            security interest to any third party upon its property, or create any lien whatsoever
            thereon, without also thereby including therein this note, equally and ratably with every
            other evidence of debt, secured by any of the undersigned's property. If, while any part of
            the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
            then the holder hereof may at his or its election, declare and make this note at once due
            and payable by written notice delivered to maker, and this remedy will be deemed
            cumulative and in addition to any other remedy available to the holder hereof. This note
            shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
            cause whatsoever.

            Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
            case of non-payment thereof at maturity, or of any installment thereof when due, may
            grant to the maker or any indorser of said note any extension or extensions of time of
            payment thereof, in whole or in part, without notice to said indorsers or any of them and
            any such extension or extensions shall not affect in any way said indorsers' liability upon
            note, such indorsers hereby waiving demand, presentment of payment, notice of
            nonpayment and protest and do further agree that any holder of this note may in the event
            of default in the payment of principal of, or interest upon, this note or any installment
            thereof repossess and/or sell the (collateral) held as collateral security for the payment of
            this note without in any way relieving said indorsers, or any of them, of any liability by
            reason of such repossession and/or sale, applying the proceeds of sale of any such asset
            less all costs to amount due under this note, and all indorsers agree to pay any deficiency
            on this note on demand.

            Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
            rights under this Note, the unsuccessful party or parties to such litigation, as determined
            by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
            or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
            party or parties (including, without limitation, such costs, expenses and fees on any
            appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
            judgment or decree.

            General Provisions. Principal and interest evidenced hereby are payable only in lawful
            money of the United States. The receipt of a check shall not, in itself, constitute payment
            hereunder unless and until paid in good funds. Whenever any payment on this Note shall
            be stated to be due on a day, which is not a business day, such payment shall be made on




                                                                                         Exhibit 2b Page 35
FOIA Confidential Treatment Requested                                                                 JJMT-SEC-0004864
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 37 of 245 Page ID #:758




            the next succeeding business day and such extension of time shall be included in the
            computation of the payment of interest of this Note. This Note is to be governed by and
            construed in accordance with the laws of the State of California except to the extent
            United States federal law permits the holder to contract for, charge or receive a greater
            amount of interest. In any action brought under or arising out of this Note, the
            undersigned hereby consents to the in personam jurisdiction of any state or federal court
            sitting in the state of California, and waives any claim or defense that such forum is not
            convenient or proper, and consents to service of process by any means authorized by
            California and/or Federal law.


            THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
            UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
            OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
            RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
            ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
            HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE WHETHER
            NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN CONTRACT OR IN
            TORT OR OTHERWISE.



                                                                         07/12/19

            1INMM Capital, LLC                                    Date
            Zachary Horwitz, Manager




                                                                                        Exhibit 2b Page 36
FOIA Confidential Treatment Requested                                                               JJMT-SEC-0004865
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 38 of 245 Page ID #:759



                                                        APPENDIX A


                                                       ASSIGNMENT

            This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (3129-A S. La
            Cienega Blvd Los Angeles, CA 90016) (“Assignor”) and JJMT CAPITAL LLC, a Delaware
            Limited Liability company located at ( 541 N Fairbank Ct. STE 2200 Chicago, IL 60611)
            (“Assignee”) is dated effective as of (07/12/2019).
            	  
            For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
            Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto Assignee
            all of Assignor’s rights, title and interest of every kind and nature, throughout the universe, until
            assignee is paid ($998,865.00) at to which time all rights, title and interest of every kind and nature
            revert back to Assignor and to that certain motion picture, currently entitled “BLOOD
            QUANTUM” (the “Picture”) based on the original screenplay entitled “BLOOD QUANTUM”
            written by Jeff Barnaby.

            1. Assignor hereby represents and warrants:

                    1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                            or to be granted to Assignee hereunder.
                    1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                            Assignment.
                    1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                            any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                            of and all such rights are therefore free and clear of any and all liens, claims,
                            charges or encumbrances whatsoever in favor of any party whatsoever.

            2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
               them harmless from and against any and all claims, liability, losses, damages, costs, expenses
               (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
               warranty made by Assignor hereunder.

            3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
               accrue after the date hereof.

            4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
               similar law in any country of the world and agrees not to institute or permit any action or
               lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
               morale” and Assignor agrees that Assignor shall not, under any circumstances (including
               without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
               exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
               Assignee or to obtain any other form of equitable relief, specific performance or otherwise, any
               right to which Assignor expressly waives.

            5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
               person, firm or corporation. Assignee may assign this Assignment and the rights and services
               granted herein, together with the results and proceeds thereof, and the representations and
               warranties contained herein, to any person or entity.




                                                                                               Exhibit 2b Page 37
FOIA Confidential Treatment Requested                                                                       JJMT-SEC-0004866
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 39 of 245 Page ID #:760




             6. This Assignment shall be construed in accordance with the laws of the state of California and
                shall be binding upon and shall inure to the benefit of the parties hereto and their respective
                successors, licensees and assigns. This Assignment cannot be amended or modified except in a
                writing signed by all parties hereto.

             IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
             THIS ASSIGNMENT AS OF THE (12)th DAY OF JULY 2019.	  



             1INMM CAPITAL, LLC (“Assignor”)	                       	  JJMT CAPITAL LLC (“Assignee”)



             By:	  __________________________________	             	  By:	  _________________________________	  

             Its:	  MANAGING	  PARTNER	  	  	  	                             Managing Partner
                                                                     	  Its:	  _________________________________	  




                                                                                                   Exhibit 2b Page 38
FOIA Confidential Treatment Requested                                                                                JJMT-SEC-0004867
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 40 of 245 Page ID #:761




                        Exhibit 2c




                                                              Exhibit 2c Page 39
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 41 of 245 Page ID #:762




                                                                     Exhibit 2c Page 40
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004868
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 42 of 245 Page ID #:763




                                                                     Exhibit 2c Page 41
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004869
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 43 of 245 Page ID #:764




                                                                     Exhibit 2c Page 42
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004870
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 44 of 245 Page ID #:765




                                                                     Exhibit 2c Page 43
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004871
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 45 of 245 Page ID #:766




                                                                     Exhibit 2c Page 44
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004872
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 46 of 245 Page ID #:767




                                                                     Exhibit 2c Page 45
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004873
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 47 of 245 Page ID #:768




                                                                     Exhibit 2c Page 46
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004874
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 48 of 245 Page ID #:769




                                                                     Exhibit 2c Page 47
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004875
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 49 of 245 Page ID #:770




                                                                     Exhibit 2c Page 48
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004876
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 50 of 245 Page ID #:771




                                                                     Exhibit 2c Page 49
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004877
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 51 of 245 Page ID #:772




                                                                     Exhibit 2c Page 50
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004878
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 52 of 245 Page ID #:773




                                                                     Exhibit 2c Page 51
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004879
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 53 of 245 Page ID #:774




                                                                     Exhibit 2c Page 52
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004880
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 54 of 245 Page ID #:775




                                                                     Exhibit 2c Page 53
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004881
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 55 of 245 Page ID #:776




                        Exhibit 3a




                                                             Exhibit 3a Page 54
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 56 of 245 Page ID #:777

                                            INTERNATIONAL LICENSE AGREEMENT

    THIS AGREEMENT (the "Agreement”) is made as of August 15, 2019, between SIERRA/AFFINITY ("Sales Agent"), whose
    address is 9378 Wilshire Blvd, Beverly Hills, CA 90212, as sales agent on behalf of Ace in the Hole Films (“Licensor”), and the
    party named below ("Distributor"). Licensor and Distributor each hereby agree as set forth herein below.

    1.       DISTRIBUTOR: 1INMM CAPITAL LLC
             Address: 3129-A S. La Cienega Blvd Los Angeles, CA
             Ph. No.: 773.724.0290
             Attn.: Zachary Horwitz
             Email: zach@1inmm.com

    2.       PICTURE:          “Look Away (the “Picture”).
                               Starring: India Eisley and Jason Isaacs
                               Director: Assaf Berstein
                               Writer: Assaf Bernstein

    3.       TERRITORY:

    (A)      The “Latin American Territory” shall be defined as Anguilla, Antigua, Argentina, Aruba, Bahamas (non-exclusive
    only), Barbados, Barbuda, Belize, Bolivia, Bonaire, Brazil, Cayman Islands, Chile, Colombia, Costa Rica, Cuba, Curacao,
    Dominica, Dominican Republic, Ecuador, El Salvador, French Guiana (non-exclusive only), Grenada, Guadeloupe, Guatemala,
    Guyana, Haiti (non-exclusive only), Honduras, Jamaica, Martinique (non-exclusive only), Mexico, Montserrat, Nicaragua,
    Panama, Paraguay, Peru, St. Barthelme, St. Lucia, St. Martin, St. Vincent & Grenadines, Suriname (non-exclusive only),
    Trinidad & Tobago, Turks & Caicos, Uruguay, Venezuela, Virgin Islands (British), and

    (B)    The “African Territory” shall be defined as South Africa, Angola, Cape Verde, Ethiopia, Lesotho,           Namibia,
    Zimbabwe, Botswana, Mozambique, Swaziland, Malawi, Zambia, Kenya, Uganda, Tanzania and Nigeria

    (the “Latin American Territory” and “African Territory” shall be collectively defined as the “Territory”).

    4.     TERM: For all Licensed Rights (as defined below) herein, the Term shall commence on full execution of this
    Agreement and expire Fifteen (15) years thereafter (the “Term”).

    5.       AUTHORIZED LANGUAGE (S):

    (A)     In the Latin American Territory: subtitled and/or dubbed in Spanish and Portuguese (the “Latin American
    Authorized Language(s)”).

    (B)     In the African Territory: subtitled and/or dubbed in local languages indigenous to the African Territory (the
    “African Authorized Language(s)”).

    (C)      The languages granted in Paragraphs 5(A) and (B) shall be collectively defined as the “Authorized Language(s)”.

    (D)     Any and all DVD or Home Video packaging shall be in the Authorized Language(s) only and not in the English
    language.

    6.       FLAT LICENSE FEE: Distributor shall pay Licensor a non-returnable License Fee in the amount of Seven Hundred
    Forty-Three Thousand Five Hundred United States Dollars (US $743,500.00) net of all taxes and without deduction of any kind
    (the “License Fee”), payable as follows:

             One Hundred Percent (100%) [US$743,500.00] due on full execution of this Agreement.

    Distributor’s Licensed Rights do not vest until Licensor has received 100% of the License Fee and full payment for the costs of
    the Delivery Materials. Distributor is not licensed and shall not exploit any of the Licensed Rights until such amounts are paid in
    full. Sales Agent will not be obligated to deliver to Distributor any Delivery Materials until 100% of the License Fee and full
    payment for the costs for the Delivery Materials (including shipping) have been remitted by Distributor and received by Sales
    Agent. Distributor acknowledges and agrees that time is of the essence and the payment schedule set forth herein will be strictly
    enforced. Failure to pay by the due dates herein will result in Licensor or Sales Agent having the right to terminate this


                                                                                                        Exhibit 3a Page 55
FOIA Confidential Treatment Requested                                                                                 JJMT-SEC-0004882
        Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 57 of 245 Page ID #:778
   Agreement and pursue all legal and equitable remedies.

   All installments of the License Fee, as well as all other monies due to Licensor under this Agreement, including Delivery
   Materials costs, will be paid by wire transfer to the following account:

                                 [ACCOUNT INFORMATION TO BE PROVIDED WITH INVOICE]

   7.       MATERIALS / DELIVERY:

                      (A)      Distributor shall order and pay for the Initial Materials (as defined below) within thirty (30) days
   following the date that Sales Agent provides Distributor with notice that Sales Agent is ready to effect Delivery (as defined
   below) of such Initial Materials (“Notice of Delivery”). Distributor acknowledges that (i) there is no guaranteed outside
   completion date, (ii) the Picture will be ready for delivery to Distributor only when final and complete, and (iii) the determination
   of finality and related timing for Delivery (taking into account both the completion of the Picture and additional factors affecting
   the timing of international release such as festival and award considerations) shall be at Licensor's sole discretion).

                     (B)       Delivery as used herein means delivery (at Distributor's cost of materials and shipping to be fully paid
   prior to shipment) of the Initial Materials and Additional Materials set forth below and in the Delivery Schedule attached hereto
   and incorporated herein as Exhibit “A” ("Delivery Materials"). Distributor acknowledges and agrees that it has reviewed the
   Delivery Materials list below and that no other Delivery Materials are required in order for Distributor to exercise its rights under
   this Agreement.

                     Initial Materials:

                     •        Theatrical: 35 mm Print (which may be used);
                     •        Theatrical: Music Cue Sheet (which Sales Agent may provide electronically);
                     •        Video/DVD: Beta or Digital Betacam PAL or NTSC Master (Sales Agent’s election following
                              consultation with Distributor) of the Picture; and
                     •        Dialogue List (which Sales Agent may provide electronically)
                              Additional Materials (to be delivered only if and when available):

                     •        Key Art (which Sales Agent may provide electronically).

                     (C)      Distributor will have ten (10) days to review and evaluate the Delivery Materials, and each
   delivery item delivered hereunder will be deemed acceptable for all purposes hereunder unless Distributor gives Sales
   Agent written notice of rejection within ten (10) days after Distributor’s receipt or access to such item (“Notice of
   Rejection”). Distributor may only reject Delivery Materials on grounds of technical quality and not for any other reason,
   including probability of commercial success or artistic grounds. The Notice of Rejection must include a laboratory report
   from a reputable recognized laboratory in the theatrical motion picture business stating full details of the technical
   defects in any rejected item(s).

                     (D)      Sales Agent has thirty (30) days after receipt of a Notice of Rejection to cure such rejection by
   correcting the asserted defect(s) or delivering replacement item(s), or submit the issue of whether Delivery was effected
   to arbitration as set forth below. If Sales Agent elects to cure such rejection, then the time periods set forth above for
   review and cure will be applicable to the delivery of corrected and replaced Delivery Materials as well.

                     (E)     Distributor hereby acknowledges and agrees that no individual(s) or specification(s), including without
   limitation the any cast member or the director, and no other specifications is (are) essential for purposes of effectuating Delivery
   and Distributor may not refuse to accept Delivery should any individual(s) be replaced or specification changed for any reason
   whatsoever.

                    (F)      All disputes with regard to Delivery will be resolved by IFTA Arbitration (as further set forth
   herein). The sole remedy of Distributor in any such IFTA Arbitration for a failure for any reason to deliver the Delivery
   Materials will be the return of the License Fee or portion thereof previously paid, and under no circumstances will
   Distributor be entitled to interest, lost profits, consequential damages or any equitable or injunctive relief. Additionally,
   Distributor shall not be entitled to any such return of the License Fee if the Picture has been released in any medium in
   the Territory.


                                                                      2

                                                                                                         Exhibit 3a Page 56
FOIA Confidential Treatment Requested                                                                                   JJMT-SEC-0004883
         Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 58 of 245 Page ID #:779

                      (G)       Title to all materials delivered to Distributor in connection with the Picture will remain with
    Licensor or Sales Agent (as applicable). Distributor will exercise due care in safeguarding all materials and will assume
    all risk for theft or damage while they are in transit or Distributor's possession. In respect of all materials created or
    manufactured by Distributor (including without limitation all Picture copies, packaging, artwork, marketing, dub and sub-titled
    language tracks, so-called “bonus materials,” etc.), Licensor is the copyright owner from inception, provided that if such
    ownership is not allowed under a law in the Territory, Distributor hereby grants (and from creation of each such item shall
    by the terms hereof grant) to Sales Agent an irrevocable royalty-free license to use all such materials worldwide in
    perpetuity in all media now known or hereinafter devised. In all cases, Distributor shall only use such materials during
    the Term to exploit the Licensed Rights. The creation of dubbed and sub-titled language tracks and related versions of
    the Picture, the trailers thereof, and any other materials created or duplicated by Distributor hereunder are to be made at
    Distributor’s sole cost.

                     (H)      Upon termination of this Agreement, Distributor will, at Sales Agent’s election, either: (i) return
    to Sales Agent at Distributor’s expense all materials in connection with the Picture (including without limitation all film
    and digital pre-print and exhibition materials, video inventory, marketing materials, and language tracks), whether such
    materials were delivered to Distributor or created by Distributor or any of its sub -distributors or licensees; or (ii) destroy
    all such materials and provide Sales Agent with a customary certificate of destruction executed by an authorized officer of
    Distributor.

                     (I)      All costs of Delivery, return and destruction (including shipping charges, import fees, duties,
    brokerage fees, storage charges and related charges) will be Distributor's sole r e s p o n s i b i l i t y .

    8.       LICENSED RIGHTS / RESERVED RIGHTS / HOLDBACKS:

                      (A)       Subject to the condition precedent of timely payment in full of the License Fee without deduction or
    offset of any kind, Licensor shall license to Distributor the following exclusive distribution rights to the Picture for t h e Territory,
    for the duration of the Term, and in the Authorized Language(s) ("Licensed Rights”). All rights not specifically licensed herein
    whether now known or hereafter devised (including without limitation so-called “clip rights” to license excerpts of the Picture for
    unrelated third party use) are reserved to Licensor (“Reserved Rights”). Distributor is expressly prohibited from exploiting any
    of the Reserved Rights.

                                                   Licensed to        Reserved to        Distributor's
    Licensed Right                                 Distributor        Licensor           Holdback Period

    Cinematic Rights:
    Theatrical                                      X
    Non-Theatrical                                  X
    (including Hotel/Motel Rights)
    Public Video                                    X
    Commercial Video                                X

    Home Video Rights:
    Home Video Rental                               X
    Home Video Sellthru                             X

    Ancillary Rights:
    Airline                                         X
    Ship                                            X

    Pay TV Rights:
    Terrestrial                                     X                                    *
    Cable                                           X                                    *
    Satellite                                       X                                    *

    Free TV Rights:
    Terrestrial                                     X                                    *
    Cable                                           X                                    *
    Satellite                                       X                                    *
                                                                         3

                                                                                                             Exhibit 3a Page 57
FOIA Confidential Treatment Requested                                                                                       JJMT-SEC-0004884
           Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 59 of 245 Page ID #:780
    Free Video-on-Demand                          _X

    Other TV Rights:
    Video-On-Demand (“VOD”)                       _X
    Subscription VOD (“SVOD”)                     _X
    Near VOD (“NVOD”)                             _X
    Pay-Per-View                                  _X

    Internet Rights: Post Home Video Window
    VOD (e.g., iTunes)                      X
    SVOD (e.g., Netflix)                    X _
    Transactional VOD (“TVOD”)              X___
    Electronic Rental                       X                                          *
    Electronic Sell Thru (“EST”)            X___                                       *

                      (B)      Holdbacks:

    Distributor shall hold back its exploitation of the Licensed Rights marked “*” above until the initial release of the Picture in the
    United States (the “First US Theatrical Release”), unless otherwise waived or shortened by Sales Agent by written notice.
                       (C)        All transmissions of the Picture hereunder in exercise of the Pay TV, Satellite Free TV, Other TV, and
    Internet Rights as set forth herein shall be encrypted or encoded in such manner that may be decrypted or decoded only by the use of
    authorized decryption or decoding equipment, the sale and use of which equipment is limited to the Territory. Any exercise of the
    Other TV Rights is expressly conditioned upon Distributor providing Sales Agent with acceptable written documentation verifying
    implementation of such encryption protections for all exercise of such rights.

                      (D)      Intentionally deleted.

                      (E)      Television Runs:

    (i)       Pay TV: Unlimited runs.

    (ii)      Free TV: Unlimited runs.




                       (F)        The parties acknowledge that when the Picture is transmitted by satellite and/or cable for reception in
    the Territory, such transmission may be capable of reception outside the Territory due to the inherent technical capability of
    satellites to beam down signals and/or cable systems to transmit signals, which are not confined to territorial boundaries
    ("Distributor Overspill"). Sales Agent agrees that the occurrence of Distributor Overspill shall not constitute a breach of this
    Agreement, provided that (i) the transmission is not primarily intended for reception outside the Territory and (ii) Distributor
    receives no direct revenue from such overspill. Additionally, the parties acknowledge that when the Picture is transmitted by
    satellite and/or cable for reception outside the Territory, such transmission may be capable of reception inside the Territory due to
    the inherent technical capability of satellites to beam down signals and/or cable systems to transmit signals, which are not
    confined to territorial boundaries (“Overspill”). Distributor agrees that the occurrence of Overspill shall not constitute a breach
    of this Agreement by Sales Agent or Licensor, provided, that (i) the transmission is not primarily intended for reception inside the
    Territory and (ii) Sales Agent and/or Licensors (or their licensees) receive no direct revenue from such overspill.

                       (G)      Distributor’s right to exploit Internet Rights in the Picture are subject to the terms and conditions of
    the STCs (as hereafter defined), including without limitation a requirement to utilize current commercially reasonable
    technological safeguards to ensure that accessing, streaming or downloading of the Picture is limited solely to reasonably
    identifiable locations within the Territory (e.g., geofiltering). Notwithstanding the foregoing, to the extent Distributor is supplied
    approved promotional clips of the Picture formatted for use on the Internet, Distributor may use up to three (3) minutes in the
    aggregate of such clips on the Internet solely for purposes of promoting the Picture and provided such clips are posted solely
    within a domain bearing the identification code of one of the countries of the Territory.

                      (H)      Distributor shall use its best efforts and skill in the distribution and exploitation of the Picture, and
                                                                       4

                                                                                                          Exhibit 3a Page 58
FOIA Confidential Treatment Requested                                                                                    JJMT-SEC-0004885
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 60 of 245 Page ID #:781
    Distributor shall exercise its rights hereunder in a fair, reasonable, customary and non-discriminatory manner with respect to
    Licensor or Sales Agent.

    9.       NO DISPOSITION OF GROSS RECEIPTS: Licensor is licensing the Picture to Distributor on a so-called “flat”
    basis; therefore, subject to Sales Agent’s receipt of the License Fee in accordance with the terms of this Agreement, no other
    payments whatsoever shall be due to Sales Agent and/or Licensor hereunder.

    10.      ACCOUNTINGS: Intentionally deleted.

    11.      PAYMENT REQUIREMENTS:

                      (A)     The License Fee shall be paid in the amounts specified and required hereunder, which amounts as
    stated in this Agreement shall be deemed net sums in respect of which Distributor shall have separately paid at its own expense
    any required withholding and/or remittance taxes required by laws of the Territory such that no amounts shall be deducted from
    the payments to Licensor specified in this Agreement.

                       (B)      There will be no deductions from any payments due to Licensor, including the License Fee, because of
    any bank charges, conversion costs, sales use or VAT taxes, "contingents", quotas or any other taxes, levies or charges, all of
    which shall, if required, be paid separately by Distributor.

                     (C)       If it is legally impossible to transmit any monies due to Licensor, then Distributor will immediately so
    notify Sales Agent in writing. Distributor will then deposit such monies at Distributor’s expense in Sales Agent’s or Licensor’s
    name, as Sales Agent shall designate, in such depository as may be designated by Sales Agent.

                       (D)      All payments to Licensor will be in United States dollars computed at the prevailing exchange rate on
    the date due at Licensor’s bank, provided that the exchange rate for any late payments shall be the most favorable prevailing daily
    rate for Licensor between the due date and the date of payment.

                       (E)       Any payment due Licensor not made by its due date will, in addition to any other right or remedy of
    Licensor, incur a finance charge at the lesser of the prevailing US Prime rate plus three percent (3%) or the highest applicable
    legal contract rate until paid in full.

    12.      MARKETING / ADVERTISING:.

                      (A)      Intentionally deleted.

                      (B)      Intentionally deleted.

                      (C)      Any marketing or advertising materials created by Distributor and any alterations by Distributor to
    any artwork or other marketing materials furnished by Sales Agent must satisfy all of Licensor’s and Sales Agent’s underlying
    contractual obligations and shall in all instances be subject to Sales Agent’s prior written approval before Distributor shall make
    any use of such materials.

                    (D)      Distributor shall comply with all contractual credit, likeness, dubbing, subtitling, editing,
    marketing, publicity, promotional or other similar restrictions or requirements provided to D i s t r i b u to r .

                      (E)      Intentionally deleted.

                      (F)      Intentionally deleted.

                      (G)      Intentionally deleted.

                      (H)      Intentionally deleted.

    13.      EDITING / BILLING:

                     (A)       Distributor may only cut and edit the Picture to the extent necessary to meet governmental censorship
    requirements. Any such cutting or editing shall only be permitted with Sales Agent's prior written approval and Distributor shall
    comply with all editing restrictions and requirements provided by Sales Agent. Except for such editing for censorship, the Picture
                                                                      5

                                                                                                        Exhibit 3a Page 59
FOIA Confidential Treatment Requested                                                                                  JJMT-SEC-0004886
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 61 of 245 Page ID #:782
    shall be exhibited and otherwise distributed only in its original continuity as supplied by Licensor without alteration,
    interpolation, cut or elimination.

                      (B)      Distributor may include, before or after the Picture and all credits thereof, the credit or logo of
    Distributor, which precise placement must be pre-approved in writing by Sales Agent.

                      (C)      Intentionally deleted.

                      (D)      Distributor shall not do any of the following:

                      (i)      Change the title of the Picture as it appears in the original language of the Picture (except that
                               Distributor may translate the title in the Authorized Language(s);

                      (ii)     Alter or delete any credit, logo, copyright notice or trademark notice, or anti-piracy warning appearing
                               on the Picture; and

                      (iii)    Include any advertisements or other material in the Picture, preceding the Picture, or following the
                               Picture in any medium including Home Video other than an approved anti-piracy warning and
                               commercials for Free TV exploitation (if Free TV rights are licensed herein).

                        (E)     Distributor’s obligations hereunder shall be binding on its subsidiaries, parents, affiliates, agents, sub-
    distributors and licensees.

             14.      15.      MUSIC CONTAINED IN THE PICTURE:

                      (A)      Licensor will be responsible for acquiring all rights necessary to synchronize the music contained in the
    Picture as delivered to Distributor and on all copies exploited by Distributor hereunder, and for paying all royalties or charges
    incurred in obtaining and maintaining such synchronization licenses in effect for the Term.

                       (B)       The Performance Rights with respect to the music contained in the Picture shall either be in the public
    domain in the Territory, be controlled by Licensor sufficient to allow Distributor to exploit all of Licensed Rights without the
    necessity of any additional payment, or be available by license from the local music performing rights society in the Territory
    affiliated with the American Society of Composers, Authors and Publishers (ASCAP), Broadcast Music, Inc. (BMl), or SESAC,
    Inc. (SESAC). Distributor will be solely responsible for any royalties, however denominated, which any mechanical, performing
    or authors right society in the Territory attempts to collect in connection with the exploitation of the Picture in the Territory.



    16.      ADDITIONAL TERMS:

             (A)      Distributor acknowledges that the financing for the Picture will be provided by financiers who may require a
    completion guarantee or other financial assurances. The Distributor agrees to execute within twenty-four (24) hours of receipt
    such further documentation as may be required by the Licensor to accommodate such interests, including, without limitation, an
    Acceptance and Acknowledgement of a Notice of Assignment in the form customarily required by such financiers and
    completion guarantor (if any), and any and all documents or other instruments and acts required by such financiers and/or
    completion guarantor in connection with the establishment of a collection account or otherwise. In the event Distributor fails to
    execute and deliver all such documentation within five (5) business days of receipt of written notice thereof, then Distributor
    agrees that Sales Agent may, as it may elect in its discretion, terminate this Agreement or execute such documentation in the
    name of Distributor, for which purpose Distributor hereby irrevocably appoints Sales Agent as Distributor's attorney-in-fact, a
    power coupled with an interest, with full right to execute any and all such documentation.

             (B)      Licensor may, in its absolute discretion, require Distributor to establish a Letter of Credit or other such form of
    payment (by way of example only, a bank guarantee) acceptable to Licensor to secure all or any part of the License Fee. In the
    event that the Licensor requests any such Letter of Credit(s), Distributor shall open the Letter of Credit and deliver same to Sales
    Agent within ten (10) working days following the Sales Agent’s request. The Letter of Credit and any confirmation which may
    be required by Licensor or Licensor’s bank must be irrevocable and in a format and issued by a bank acceptable to Licensor and
    Licensor’s bank. At Sales Agent’s election, any failure on Distributor’s part to deliver the Letter of Credit within such ten (10)
    day period may result in the termination of this Distribution Agreement by written notice to Distributor. All costs of the Letter of
    the Credit and of any required confirmation shall be paid by Distributor.
                                                                        6

                                                                                                           Exhibit 3a Page 60
FOIA Confidential Treatment Requested                                                                                     JJMT-SEC-0004887
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 62 of 245 Page ID #:783

             (C)     Neither Licensor nor Sales Agent can guarantee against piracy in the Territory and any piracy of the Picture,
    whether occurring before or after execution of this Agreement, shall not constitute a breach by Licensor nor a basis for damages
    claims, payment reductions, or termination hereunder.


             (D)      Any delay of action hereunder by Sales Agent shall not be construed as a waiver of any rights or remedies, and
    any express waiver by Sales Agent of any specific right or remedy hereunder shall not constitute a waiver of any other rights or
    remedies regarding the same issue (including without limitation any preceding, continuing, or succeeding breach) or any other
    matter arising under this Agreement.

              (E)      Any terms not set forth in this Agreement (including any capitalized words used herein without express
    definition) will be determined solely by reference to the most current IFTA Standard Terms and Conditions (“STCs”) as of the
    date of this Agreement, which STCs are incorporated in their entirety herein and thereby comprise an integral component of this
    Agreement. In the event of any inconsistency between the terms of this Agreement and the STCs, the terms of this Agreement
    prevail.

             (F)    Sales Agent is acting solely in its capacity as duly authorized agent on behalf of Licensor in connection with
    this Agreement.

    17.      NOTICES: All notices hereunder shall be in writing and shall be sent to the recipients at the address and/or fax
    number and/or email address set forth above (or such subsequently changed address of which the sending party has received
    notice hereunder). Notices to Licensor shall be sent to the attention of c/o SIERRA/AFFINITY , whose fax number is (310) 587-
    2381.

    18.      REPRESENTATIONS AND WARRANTIES: Distributor represents and warrants to Licensor that:

              (A)      It has full authority and capacity to execute this Agreement and full legal and financial ability to perform all of
    its obligations under this Agreement;

              (B)      There are no existing or threatened claims or litigation which would adversely affect or impair Distributor's
    ability to perform under this Agreement;

             (C)       No dubbed or subtitled version of the Picture created by or to be created by Distributor does or will: (a) defame,
    or hold in a false light, or infringe any privacy or publicity or other personal right of any person; or (b) infringe any copyrights,
    trademark, patent, trade secret, rights of ideas, or similar property rights of any person;

            (D)       It will employ at all times controls in accordance with prevailing customary standards in the Territory as used
    by major studios to prevent and deter theft, piracy, unauthorized copying, accessing, streaming or downloading (as applicable) of
    any copy of the Picture where the Picture is made available via any of the Licensed Rights granted herein;

             (E)      It will indemnify and hold harmless Licensor and Sales Agent, and their parents, officers, directors, owners,
    shareholders, employees, attorneys agents, and successors and assigns from all claims, loss, liability, damages or expenses,
    including reasonable attorney's fees and legal costs, but not including lost profits due to breach of any of Distributor's
    representations, warranties covenants or conditions under this Agreement.

            (F)       It will comply with all credit and talent obligations in connection with Picture as provided to Distributor by
    Sales Agent.

    19.      DEFAULT AND TERMINATION:

                      (A)      Distributor will be in default of this Agreement in the event of any of the following circumstances:




                                                                       7

                                                                                                           Exhibit 3a Page 61
FOIA Confidential Treatment Requested                                                                                    JJMT-SEC-0004888
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 63 of 245 Page ID #:784
             (i)      Distributor fails to pay any installment of the License Fee or any other amounts due under this Agreement or any
                      other agreement with Sales Agent when due;

             (ii)     Distributor becomes insolvent or fails to pay its debt obligations when due;

             (iii)    Distributor makes an assignment for the benefit of creditors, seeks relief under any bankruptcy law or similar
                      law for the protection of debtors, or allows a petition of bankruptcy to be filed against it, or a receiver or trustee
                      to be appointed for substantially all of its assets that is not removed within thirty (30) days;

             (iv)     Distributor breaches any material term, covenant or condition of this Agreement or any other agreement with
                      Sales Agent;

             (v)      Any affiliate, parent, subsidiary, sub-distributor, or licensee of Distributor breaches any material term, covenant
                      or condition of this Agreement or any other agreement with Sales Agent; term, covenant or condition of this
                      Agreement or any other agreement with Sales Agent;

             (vi)     Distributor attempts to make any assignment, transfer, sublicense or appointment of an agent without Sales
                      Agent’s prior written approval; or

             (vii)    Distributor fails timely to sign a Notice of Assignment as provided below.

                      (B)      Sales Agent will give Distributor notice of any claimed default. If the default is capable of cure, then
    Distributor will have ten (10) days after receipt of Sales Agent’s notice to cure a monetary default, and twenty (20) days after
    receipt of Sales Agent's notice to cure a non-monetary default. If the default is incapable of cure, or if Distributor fails to cure
    within the time provided, then Licensor may proceed against Distributor for available relief, including but not limited to
    terminating this Agreement or any other agreement with Sales Agent retroactive to the earliest date of default, suspending
    Delivery of the Picture, and declaring all unpaid amounts due Licensor immediately due and payable.

                     (C)       As a result of termination of this Agreement or any other agreement between Distributor and Sales
    Agent, with respect to those pictures as to which all rights are terminated:

             (i)      All licensed rights in and to such picture shall automatically revert to Licensor, free and clear of any and all
                      encumbrances and any sub-distribution agreements entered into by Distributor (other than those sub-
                      distribution agreements deemed assigned to Licensor as specified below);

             (ii)     All of Distributor's rights under any sub-distribution and license agreements that have been pre-approved in
                      writing by Sales Agent shall be deemed to have been assigned to Licensor (and any such sub-distribution
                      agreements not so approved, shall be deemed automatically terminated) and all payments to be made under
                      such agreements shall be paid directly to Licensor who may notify all relevant parties of such assignment to
                      Licensor;

             (iii)    All monies payable by exhibitors or sub-distributors to Distributor in respect to such picture shall be paid to
                      and retained by Licensor;

             (iv)     Any portion of the License Fee for this Picture and License Fee(s) for such other picture(s) theretofore paid by
                      Distributor shall be retained by Licensor or Sales Agent and any unpaid portion of the License Fee for this
                      Picture or for such other picture(s), if any, shall accelerate and immediately become due and payable to
                      Licensor or Sales Agent;

             (v)      Licensor shall be entitled to immediate possession of all digital and film pre-print and print elements and copies
                      of the Picture and such other picture(s), advertising materials and all other materials (including any Delivery
                      Materials) pertaining to same;

             (vi)     Distributor shall execute and deliver all instruments requested by Sales Agent to effectuate a termination of this
                      Agreement and its rights in the Picture or for such other picture(s) as applicable, including without limitation
                      instruments necessary or appropriate to reflect such termination on the public records of governmental agencies
                      and/or with industry organizations in the Territory which maintain records of a similar nature;

             (vii)    Distributor shall turn over all records, including books, billing and delivery records to the Picture or such other
                                                                        8

                                                                                                            Exhibit 3a Page 62
FOIA Confidential Treatment Requested                                                                                      JJMT-SEC-0004889
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 64 of 245 Page ID #:785
                      picture(s), and all monies on hand, if any, relating to the Picture or such other picture(s); and

             (viii)   Distributor hereby irrevocably appoints Sales Agent as Distributor's attorney-in-fact, a power coupled with an
                      interest, with full right to execute any and all assignments and other instruments deemed by Sales Agent to be
                      reasonably necessary or desirable to evidence the transactions provided hereunder and to protect its rights under
                      this Agreement or such other agreement(s) as applicable.

    20.      TERMINATION OTHER THAN FOR DEFAULT:

                       (A)     Upon written notice to Distributor, Sales Agent may in its sole discretion terminate this Agreement if
    principal photography of the Picture has not commenced within twelve (12) months following the date of this Agreement, the
    Picture is not ready for Delivery to Distributor within twenty-four (24) months following the date of this Agreement, or Licensor
    or Sales Agent abandons the Picture either prior to or after the commencement of principal photography.

                      (B)       In the event of such termination, Licensor shall return to Distributor such portion of the License Fee
    theretofore paid to Licensor by Distributor, and Distributor shall return to Sales Agent any and all materials, including, without
    limitation, all physical film materials, Delivery Materials, publicity materials and documents theretofore furnished by Sales
    Agent to Distributor in connection with the Picture. Neither Licensor nor Sales Agent shall have any additional obligation of any
    kind whatsoever to Distributor, or anyone claiming through Distributor, by reason of such termination.

                       (C)     Distributor shall execute and deliver all instruments requested by Sales Agent to effectuate a
    termination of this Agreement and its rights in the Picture, including without limitation instruments necessary or appropriate to
    reflect such termination on the public records of governmental agencies and/or with industry organizations in the Territory which
    maintain records of a similar nature. Distributor shall turn over all records, including books, billing and delivery records to the
    Picture and all monies on hand, if any, relating to the Picture. Distributor hereby irrevocably appoints Sales Agent as Distributor's
    attorney-in-fact, a power coupled with an interest, with full right to execute any and all assignments and other instruments
    deemed by Sales Agent to be reasonably necessary or desirable to evidence the transactions provided hereunder and to protect its
    rights under this Agreement.

    21.      CHOICE OF LAW / ARBITRATION / FORUM:

             (A)       This Agreement shall be subject to the laws of the State of California applicable to agreements wholly executed
    and performed therein, and all parties hereby irrevocably consent to the exclusive jurisdiction and venue of the Federal and State
    courts located in Los Angeles County for any court matters arising hereunder.

              (B)      Any and all disputes under this Agreement shall be submitted exclusively to binding arbitration ("IFTA
    Arbitration") in Los Angeles, California under the Rules of International Arbitration of the International Film and Television
    Alliance ("IFTA Arbitration Rules") in effect as of the date the request for arbitration is filed. Each party waives any righ t to
    adjudicate any such dispute in any other court or forum and Distributor waives any and all rights to seek equitable or injunctive
    relief or to rescind or terminate this Agreement or to seek such rescission or termination. Los Angeles County will be deemed
    the "Forum" under the IFTA Arbitration Rules. Licensor (and where applicable Sales Agent) and Distributor agree to accept
    service of process for IFTA Arbitration in accordance with such Rules and to accept service of process for any judicial or ot her
    proceedings provided for hereunder by certified mail, return receipt requested, courier, or other personal delivery at the address
    indicated on this Agreement. Licensor (and where applicable Sales Agent) and Distributor agree to abide by any decision
    rendered in an IFTA Arbitration, and that any court having jurisdiction may enter judgment affirming such decision and may
    enforce such judgment in accordance with its powers.

              (C)     Without limiting the aforesaid arbitration provisions and notwithstanding the exclusive jurisdiction provisions
    above, Licensor and Sales Agent shall additionally each have the right to proceed in any court of competent jurisdiction
    anywhere in the world to either (i) seek such interim protective relief, including equitable remedies as may be considered
    reasonably necessary to protect their rights and entitlements pursuant to this Agreement, or (ii) seek enforcement of any
    arbitration award or related judgment hereunder.

             (D)      The prevailing party or parties in any arbitration hereunder shall be entitled to an award in such arbitral
    proceeding for reimbursement of its or their (as applicable) legal fees (including attorneys fees) and costs of arbitration (including
    discovery and expert witness costs). The prevailing party or parties in any judicial action hereunder shall similarly be entitled to
    court order or judgment reimbursing it or them (as applicable) for all legal fees (including attorneys fees) and costs incurred in
    connection with such matter and in connection with any applicable arbitration as aforesaid.

                                                                        9

                                                                                                           Exhibit 3a Page 63
FOIA Confidential Treatment Requested                                                                                     JJMT-SEC-0004890
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 65 of 245 Page ID #:786
    22.      CONFIDENTIALITY: All terms of this Agreement shall be confidential and not disclosed to any third party except
    each party's accountants, attorneys and agents, and as necessary to perform each parties' rights and obligations hereunder, and
    except as required by law or judicial order.

    23.      COUNTERPARTS:              This Agreement may be executed in counterparts which may be delivered by ink-signed
    originals, fax or digital copy in pdf or tiff format, each of which shall be deemed to be an original and such counterparts of all
    parties when taken together shall constitute the fully binding and executed Agreement.

    24.       BINDING AGREEMENT: This Agreement, any exhibits attached hereto, and the STC’s incorporated herein sets
    forth the entire understanding and agreement between Licensor and Distributor as to the subject matter hereof and supersedes all
    previous discussions, correspondence, inducements, agreements, warranties or representations, whether oral or written. This
    Agreement is binding on each of the parties and their respective successors and assigns. Except as expressly provided herein, this
    Agreement may only be amended in writing signed by Sales Agent on behalf of Licensor and Distributor.

    THIS AGREEMENT is executed as of the parties as of the date first above written.

                                                   [signatures on the following page]




                                                                     10

                                                                                                       Exhibit 3a Page 64
FOIA Confidential Treatment Requested                                                                                JJMT-SEC-0004891
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 66 of 245 Page ID #:787


               AGREED AND ACCEPTED:

               SIERRA/AFFINITY (“Sales Agent”) as agent
               On behalf of Ace in the Hole Films (“Licensor”)   1inMM Capital LLC (“Distributor”)


               By:                                               By:

               Its: EVP International Sales                      Its: MANAGING PARTNER




                                                                   11


                                                                                    Exhibit 3a Page 65
FOIA Confidential Treatment Requested                                                            JJMT-SEC-0004892
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 67 of 245 Page ID #:788

                                                              Exhibit “A”

  This Exhibit A is attached and incorporated into that certain International License Agreement dated as of August 15, 2019, by and
  between SIERRA/AFFINITY ("Sales Agent") as sales agent on behalf of Ace in the Hole Films (“Licensor”) and 1inMM Capital
  LLC (“Distributor”) whereby Licensor granted to Distributor certain distribution rights in and to the motion picture entitled
  “Look Away” (the “Picture”).


  LEGAL DELIVERABLES

  1.   Clearly legible copies of all chain-of-title documents required by Distributor, evidencing Licensor’s proper ownership and
  permitting the use of any and all literary, dramatic, musical and other material used in the production of the Program or upon which
  the Program and/or screenplay may be based, together with certificates of authorship and proof of payment in connection with the
  acquisition of the necessary rights in and to such material and the exercise of all options related thereto.

  2.    Evidence satisfactory to Distributor that there is no lien, charge, encumbrance or security interest that would adversely interfere
  with the Licensed Rights granted to Distributor.

  3.   A (a) copyright report issued by a Thomson CompuMark, (b) title report and (c) opinion issued.

  4.    A complete typewritten statement of all third party screen and paid advertising credit, name and likeness, and other third party
  obligations, restrictions and approval rights including, without limitation, all dubbing obligations (if any), director’s editing rights,
  video mastering consultation or approval rights, etc. for each individual and entity named in the billing block with excerpts from each
  applicable third party agreement setting forth the precise extent and nature of such obligations, restrictions and/or approval rights, in
  the identical order as listed in the billing block.

  5.   The proposed paid ad/packaging summary, credit and billing block layout for both full- and small-sized paid ads.

  6.   The final copyright notice, as it appears on the billing block.

  7.    Clearly legible copies of fully-executed agreements for all key actors and key production personnel (e.g., director, producer,
  writer, etc.) and any other talent and/or crew agreements requested by Distributor.

  8.    If the Program or underlying materials or properties are based upon or related to events in the real life of real persons, living or
  dead, or portrays real persons, true and correct copies of all personal releases and other documentation showing that Licensor has all
  rights necessary to permit Distributor to exploit the Picture in the manner provided herein without violating any third party rights or
  incurring any obligations to any third party.

  9.   A complete written statement showing the exact form and manner of the main and end titles of the Picture.

  10. One (1) typewritten (or computer generated) hard copy and one (1) copy in digital format of a music cue sheet in standard form
  showing the particulars of all music synchronized with the Program (all versions) and additional cue sheets for the trailer(s) and any
  other materials in connection with the Program containing original and/or licensed music. All such cue sheets will include for each
  cue: (i) the title of song; (ii) the name of the songwriter/composer; (iii) the songwriter’s/composer’s performing rights affiliation (e.g.,
  ASCAP, BMI or SESAC); (iv) the name of publisher; (v) the publisher’s performing rights affiliation; (vi) the type of use; (vii) the
  length of the use; and (viii) an indication of whether or not a master recording was licensed.

  11. Clearly legible, fully-executed copies and proof of payment for any and all synchronization licenses and master use licenses, all
  valid and sufficient to provide Distributor with the right to use and perform all musical compositions and master recordings contained
  in the Picture and trailer (if available).

  12. Clearly legible copies of the copyright registration certificate(s) with the US Copyright Office for both the screenplay and
  Picture.




                                                                      12

                                                                                                           Exhibit 3a Page 66
FOIA Confidential Treatment Requested                                                                                     JJMT-SEC-0004893
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 68 of 245 Page ID #:789




                        Exhibit 3b




                                                             Exhibit 3b Page 67
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 69 of 245 Page ID #:790




                    PROMISSORY NOTE
             	  
                    $ (1,007,261.00)                                                        (08/13/2019)
             	  
                    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
                    California, (the ''Maker''), hereby promises to pay to Lender, JJMT CAPITAL LLC, a
                    Delaware Limited Liability company located at (541 N Fairbanks Ct. STE 2200
                    Chicago, IL 60611), (the ''Payee''), an amount equal to (ONE MILLION SEVEN
                    THOUSAND TWO HUNDRED SIXTY-ONE Dollars ($1,007,261.00) in lawful
                    money of the United States of America, which sum shall be due and payable on
                    (02/13/2020) (the ''Maturity Date''), in one (1) balloon payment, in like money at said
                    office. Payment date shall be no later than SIX (6) months post confirmed funds
                    transfer from Payee to Maker in the amount of (SEVEN HUNDRED FORTY-
                    THREE THOUSAND FIVE HUNDRED) Dollars ($743,500.00).

             	  
             Prepayment Option. Maker may pay down at any time any portion of the principal sum
             outstanding without any prepayment penalty.

             Assignment of Rights. See Appendix A
             	  
                    Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
                    and that in the event payment of principal or interest due under this Note is not made
                    when due, giving effect to any grace period which maybe applicable, the outstanding
                    balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
                    percent per month, for so long as such event of default continues.
             	  
                    Validity of Agreement to Conform to Law. All agreements between the undersigned and
                    the holder of this Note are expressly limited so that in no contingency or event
                    whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
                    maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
                    be paid to the holder hereof for the use, forbearance or detention of money advanced
                    hereunder exceed the highest lawful rate permissible under any law which a court of
                    competent jurisdiction may deem applicable hereto. If, from any circumstances
                    whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
                    any other agreement referred to herein, at the time performance of such provision shall be
                    due, shall involve transcending the limit of validity prescribed by law which a court of
                    competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
                    fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
                    holder hereof shall ever receive as interest an amount which would exceed the highest
                    lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                             Exhibit 3b Page 68
FOIA Confidential Treatment Requested                                                                    JJMT-SEC-0004894
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 70 of 245 Page ID #:791



             reduction of the unpaid principal balance due hereunder and not to the payment of
             interest. This provision shall control every other provision of all agreements between the
             undersigned and the holder hereof.
             	  
                    Maker’s Default. At the option of the holder hereof exercised by written notice to the
                    undersigned, this Note shall become immediately due and payable upon the maker's
                    failure to pay when due any payment of principal, interest or expenses due hereunder; or
                    (b) failure in the performance or observance of any of the terms or conditions of any
                    mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
                    otherwise pertaining to this Note after giving effect to any applicable curative period
                    which may be contained therein. Upon the occurrence of any of the following specified
                    Events of Default, as defined under the standard conventions and terminology prescribed
                    for promissory notes drafted under Warren’s California Forms for Principal, Interest,
                    Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
                    called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
                    any Event of Default shall then be continuing, the Payee may, by written notice to the
                    Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
                    due and payable, whereupon the principal of and such unpaid accrued interest in respect
                    of this Note shall become forthwith due and payable without presentment, demand,
                    protest or other notice of any kind, all of which are hereby expressly waived by the
                    Maker. Furthermore, This note shall become due and payable before the above-
                    mentioned maturity date immediately upon the happening of any of the following events
                    affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
                    petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
                    creditors, calling meeting of creditors, appointment of liquidating agent or committee,
                    offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
                    or for over 30 days, application for appointment or appointment of any receiver, issuance
                    of warrant of attachment or death of any maker or indorser or on default of any other
                    obligations to the Maker.
             	  
                    Collection Costs. If this Note or any installment of principal or interest is not paid when
                    due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
                    collection, including without limitation, actual attorneys' fees, and all expenses in
                    connection with the protection or realization of the assets and proceeds available this
                    Note or the enforcement of any subsequent memorandum or agreement created in
                    conjunction with this Note incurred by the holder hereof on account of such collection,
                    whether or not suit is filed hereon or thereon; such costs and expenses shall include,
                    without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
                    hereof in connection with any insolvency, bankruptcy, arrangement or other similar
                    proceedings involving the undersigned, or involving any endorser or guarantor hereof,
                    which in anyway affects the exercise by the holder hereof of its rights and remedies under
                    this Note or under any mortgage, deed of trust, security agreement, guaranty or other
                    agreement securing or pertaining to this Note.
             	  
                    Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
                    nonpayment of this Note and all notices of every kind are hereby waived by all parties to




                                                                                              Exhibit 3b Page 69
FOIA Confidential Treatment Requested                                                                     JJMT-SEC-0004895
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 71 of 245 Page ID #:792




                    this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
                    provided herein. To the extent permitted by applicable law, the defense of the statute of
                    limitations is hereby waived by the undersigned.
             	  
                    Death of Maker. Maker of this note hereby waives all notice and demand and consent that
                    this note shall become due and payable immediately upon the happening of any of said
                    events. This note shall become due and payable on the Maturity Date, but payment shall
                    be accelerated and become due and payable immediately if the Maker shall die. For the
                    further security of the holder thereof, the undersigned covenants that so long as any part
                    of the principal or interest of this note is outstanding and unpaid, it will not grant any
                    security interest to any third party upon its property, or create any lien whatsoever
                    thereon, without also thereby including therein this note, equally and ratably with every
                    other evidence of debt, secured by any of the undersigned's property. If, while any part of
                    the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
                    then the holder hereof may at his or its election, declare and make this note at once due
                    and payable by written notice delivered to maker, and this remedy will be deemed
                    cumulative and in addition to any other remedy available to the holder hereof. This note
                    shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
                    cause whatsoever.
             	  
                    Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
                    case of non-payment thereof at maturity, or of any installment thereof when due, may
                    grant to the maker or any indorser of said note any extension or extensions of time of
                    payment thereof, in whole or in part, without notice to said indorsers or any of them and
                    any such extension or extensions shall not affect in any way said indorsers' liability upon
                    note, such indorsers hereby waiving demand, presentment of payment, notice of
                    nonpayment and protest and do further agree that any holder of this note may in the event
                    of default in the payment of principal of, or interest upon, this note or any installment
                    thereof repossess and/or sell the (collateral) held as collateral security for the payment of
                    this note without in any way relieving said indorsers, or any of them, of any liability by
                    reason of such repossession and/or sale, applying the proceeds of sale of any such asset
                    less all costs to amount due under this note, and all indorsers agree to pay any deficiency
                    on this note on demand.
             	  
                    Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
                    rights under this Note, the unsuccessful party or parties to such litigation, as determined
                    by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
                    or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
                    party or parties (including, without limitation, such costs, expenses and fees on any
                    appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
                    judgment or decree.
             	  
                    General Provisions. Principal and interest evidenced hereby are payable only in lawful
                    money of the United States. The receipt of a check shall not, in itself, constitute payment
                    hereunder unless and until paid in good funds. Whenever any payment on this Note shall
                    be stated to be due on a day, which is not a business day, such payment shall be made on




                                                                                               Exhibit 3b Page 70
FOIA Confidential Treatment Requested                                                                       JJMT-SEC-0004896
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 72 of 245 Page ID #:793

                    the next succeeding business day and such extension of time shall be included in the
                    computation of the payment of interest of this Note. This Note is to be governed by and
                    construed in accordance with the laws of the State of California except to the extent
                    United States federal law permits the holder to contract for, charge or receive a greater
                    amount of interest. In any action brought under or arising out of this Note, the
                    undersigned hereby consents to the in personam jurisdiction of any state or federal court
                    sitting in the state of California, and waives any claim or defense that such forum is not
                    convenient or proper, and consents to service of process by any means authorized by
                    California and/or Federal law.
             	  
             	  
                    THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
                    UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
                    OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
                    RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
                    ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
                    HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE WHETHER
                    NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN CONTRACT OR IN
                    TORT OR OTHERWISE.
             	  
             	  
             	  
             	  
             	  
             	           	      	      	     	      	      	      	            08/13/19
             	  
                    1INMM Capital, LLC                                          Date
                    Zachary Horwitz, Manager
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  




                                                                                                  Exhibit 3b Page 71
FOIA Confidential Treatment Requested                                                                       JJMT-SEC-0004897
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 73 of 245 Page ID #:794



                                                       APPENDIX A


                                                      ASSIGNMENT

            This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (3129-A S. La
            Cienega Blvd Los Angeles, CA 90016) (“Assignor”) and JJMT CAPITAL LLC, a Delaware
            Limited Liability company located at ( 541 N Fairbank Ct. STE 2200 Chicago, IL 60611)
            (“Assignee”) is dated effective as of (08/13/2019).
            	  
            For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
            Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto Assignee
            all of Assignor’s rights, title and interest of every kind and nature, throughout the universe, until
            assignee is paid ($1,007,261.00.00) at to which time all rights, title and interest of every kind and
            nature revert back to Assignor and to that certain motion picture, currently entitled “LOOK
            AWAY” (the “Picture”) based on the original screenplay entitled “LOOK AWAY” written by
            Assaf Bernstein.

            1. Assignor hereby represents and warrants:

                    1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                            or to be granted to Assignee hereunder.
                    1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                            Assignment.
                    1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                            any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                            of and all such rights are therefore free and clear of any and all liens, claims,
                            charges or encumbrances whatsoever in favor of any party whatsoever.

            2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
               them harmless from and against any and all claims, liability, losses, damages, costs, expenses
               (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
               warranty made by Assignor hereunder.

            3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
               accrue after the date hereof.

            4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
               similar law in any country of the world and agrees not to institute or permit any action or
               lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
               morale” and Assignor agrees that Assignor shall not, under any circumstances (including
               without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
               exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
               Assignee or to obtain any other form of equitable relief, specific performance or otherwise, any
               right to which Assignor expressly waives.

            5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
               person, firm or corporation. Assignee may assign this Assignment and the rights and services
               granted herein, together with the results and proceeds thereof, and the representations and
               warranties contained herein, to any person or entity.




                                                                                             Exhibit 3b Page 72
FOIA Confidential Treatment Requested                                                                     JJMT-SEC-0004898
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 74 of 245 Page ID #:795




             6. This Assignment shall be construed in accordance with the laws of the state of California and
                shall be binding upon and shall inure to the benefit of the parties hereto and their respective
                successors, licensees and assigns. This Assignment cannot be amended or modified except in a
                writing signed by all parties hereto.

             IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
             THIS ASSIGNMENT AS OF THE (13)th DAY OF AUGUST 2019.	  
             	  
             	  
             	  
             1INMM CAPITAL, LLC (“Assignor”)	   	                	   	  JJMT CAPITAL LLC (“Assignee”)
             	  
             	  
             	  
             By:	  __________________________________	      	   	  
                                                                                     Jospeh deAlteris
                                                                        	  By:	  _________________________________	  
             	  
             Its:	  MANAGING	  PARTNER	  	  	  	   	   	   	   	  Its:	  _________________________________	  
             	  
             	       	       	       	       	       	        	       	       	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  




                                                                                                      Exhibit 3b Page 73
FOIA Confidential Treatment Requested                                                                                JJMT-SEC-0004899
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 75 of 245 Page ID #:796




                        Exhibit 3c




                                                              Exhibit 3c Page 74
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 76 of 245 Page ID #:797




                                                                     Exhibit 3c Page 75
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004900
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 77 of 245 Page ID #:798




                                                                     Exhibit 3c Page 76
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004901
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 78 of 245 Page ID #:799




                                                                     Exhibit 3c Page 77
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004902
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 79 of 245 Page ID #:800




                                                                     Exhibit 3c Page 78
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004903
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 80 of 245 Page ID #:801




                                                                     Exhibit 3c Page 79
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004904
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 81 of 245 Page ID #:802




                                                                     Exhibit 3c Page 80
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004905
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 82 of 245 Page ID #:803




                                                                     Exhibit 3c Page 81
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004906
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 83 of 245 Page ID #:804




                                                                     Exhibit 3c Page 82
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004907
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 84 of 245 Page ID #:805




                                                                     Exhibit 3c Page 83
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004908
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 85 of 245 Page ID #:806




                                                                     Exhibit 3c Page 84
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004909
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 86 of 245 Page ID #:807




                                                                     Exhibit 3c Page 85
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004910
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 87 of 245 Page ID #:808




                                                                     Exhibit 3c Page 86
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004911
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 88 of 245 Page ID #:809




                                                                     Exhibit 3c Page 87
FOIA Confidential Treatment Requested                                          JJMT-SEC-0004912
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 89 of 245 Page ID #:810




                        Exhibit 4a




                                                             Exhibit 4a Page 88
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 90 of 245 Page ID #:811

                                            INTERNATIONAL LICENSE AGREEMENT

    THIS AGREEMENT (the "Agreement”) is made as of October 02, 2019, between SIERRA/AFFINITY ("Sales Agent"), whose
    address is 9378 Wilshire Blvd, Beverly Hills, CA 90212, as sales agent on behalf of Meyer Media Group (“Licensor”), and the
    party named below ("Distributor"). Licensor and Distributor each hereby agree as set forth herein below.

    1.       DISTRIBUTOR: 1INMM CAPITAL LLC
             Address: 3129-A S. La Cienega Blvd Los Angeles, CA
             Ph. No.: 773.724.0290
             Attn.: Zachary Horwitz
             Email: zach@1inmm.com

    2.       PICTURE:          “Bitter Harvest (the “Picture”).
                               Starring: Aneurin Barnard and Barry Pepper
                               Director: George Mendeluk
                               Writer: Richard Hoover

    3.       TERRITORY:

    (A)      The “Latin American Territory” shall be defined as Anguilla, Antigua, Argentina, Aruba, Bahamas (non-exclusive
    only), Barbados, Barbuda, Belize, Bolivia, Bonaire, Brazil, Cayman Islands, Chile, Colombia, Costa Rica, Cuba, Curacao,
    Dominica, Dominican Republic, Ecuador, El Salvador, French Guiana (non-exclusive only), Grenada, Guadeloupe, Guatemala,
    Guyana, Haiti (non-exclusive only), Honduras, Jamaica, Martinique (non-exclusive only), Mexico, Montserrat, Nicaragua,
    Panama, Paraguay, Peru, St. Barthelme, St. Lucia, St. Martin, St. Vincent & Grenadines, Suriname (non-exclusive only),
    Trinidad & Tobago, Turks & Caicos, Uruguay, Venezuela, Virgin Islands (British), and

    (B)    The “African Territory” shall be defined as South Africa, Angola, Cape Verde, Ethiopia, Lesotho,           Namibia,
    Zimbabwe, Botswana, Mozambique, Swaziland, Malawi, Zambia, Kenya, Uganda, Tanzania and Nigeria

    (the “Latin American Territory” and “African Territory” shall be collectively defined as the “Territory”).

    4.     TERM: For all Licensed Rights (as defined below) herein, the Term shall commence on full execution of this
    Agreement and expire Fifteen (15) years thereafter (the “Term”).

    5.       AUTHORIZED LANGUAGE (S):

    (A)     In the Latin American Territory: subtitled and/or dubbed in Spanish and Portuguese (the “Latin American
    Authorized Language(s)”).

    (B)     In the African Territory: subtitled and/or dubbed in local languages indigenous to the African Territory (the
    “African Authorized Language(s)”).

    (C)      The languages granted in Paragraphs 5(A) and (B) shall be collectively defined as the “Authorized Language(s)”.

    (D)     Any and all DVD or Home Video packaging shall be in the Authorized Language(s) only and not in the English
    language.

    6.       FLAT LICENSE FEE: Distributor shall pay Licensor a non-returnable License Fee in the amount of Seven Hundred
    Forty-Two Thousand Two Hundred Fifty United States Dollars (US $739,500.00) net of all taxes and without deduction of any
    kind (the “License Fee”), payable as follows:

             One Hundred Percent (100%) [US$742,250.00] due on full execution of this Agreement.

    Distributor’s Licensed Rights do not vest until Licensor has received 100% of the License Fee and full payment for the costs of
    the Delivery Materials. Distributor is not licensed and shall not exploit any of the Licensed Rights until such amounts are paid in
    full. Sales Agent will not be obligated to deliver to Distributor any Delivery Materials until 100% of the License Fee and full
    payment for the costs for the Delivery Materials (including shipping) have been remitted by Distributor and received by Sales
    Agent. Distributor acknowledges and agrees that time is of the essence and the payment schedule set forth herein will be strictly
    enforced. Failure to pay by the due dates herein will result in Licensor or Sales Agent having the right to terminate this


                                                                                                        Exhibit 4a Page 89
FOIA Confidential Treatment Requested                                                                                 JJMT-SEC-0004913
        Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 91 of 245 Page ID #:812
   Agreement and pursue all legal and equitable remedies.

   All installments of the License Fee, as well as all other monies due to Licensor under this Agreement, including Delivery
   Materials costs, will be paid by wire transfer to the following account:

                                 [ACCOUNT INFORMATION TO BE PROVIDED WITH INVOICE]

   7.       MATERIALS / DELIVERY:

                      (A)      Distributor shall order and pay for the Initial Materials (as defined below) within thirty (30) days
   following the date that Sales Agent provides Distributor with notice that Sales Agent is ready to effect Delivery (as defined
   below) of such Initial Materials (“Notice of Delivery”). Distributor acknowledges that (i) there is no guaranteed outside
   completion date, (ii) the Picture will be ready for delivery to Distributor only when final and complete, and (iii) the determination
   of finality and related timing for Delivery (taking into account both the completion of the Picture and additional factors affecting
   the timing of international release such as festival and award considerations) shall be at Licensor's sole discretion).

                     (B)       Delivery as used herein means delivery (at Distributor's cost of materials and shipping to be fully paid
   prior to shipment) of the Initial Materials and Additional Materials set forth below and in the Delivery Schedule attached hereto
   and incorporated herein as Exhibit “A” ("Delivery Materials"). Distributor acknowledges and agrees that it has reviewed the
   Delivery Materials list below and that no other Delivery Materials are required in order for Distributor to exercise its rights under
   this Agreement.

                     Initial Materials:

                     •        Theatrical: 35 mm Print (which may be used);
                     •        Theatrical: Music Cue Sheet (which Sales Agent may provide electronically);
                     •        Video/DVD: Beta or Digital Betacam PAL or NTSC Master (Sales Agent’s election following
                              consultation with Distributor) of the Picture; and
                     •        Dialogue List (which Sales Agent may provide electronically)
                              Additional Materials (to be delivered only if and when available):

                     •        Key Art (which Sales Agent may provide electronically).

                     (C)      Distributor will have ten (10) days to review and evaluate the Delivery Materials, and each
   delivery item delivered hereunder will be deemed acceptable for all purposes hereunder unless Distributor gives Sales
   Agent written notice of rejection within ten (10) days after Distributor’s receipt or access to such item (“Notice of
   Rejection”). Distributor may only reject Delivery Materials on grounds of technical quality and not for any other reason,
   including probability of commercial success or artistic grounds. The Notice of Rejection must include a laboratory report
   from a reputable recognized laboratory in the theatrical motion picture business stating full details of the technical
   defects in any rejected item(s).

                     (D)      Sales Agent has thirty (30) days after receipt of a Notice of Rejection to cure such rejection by
   correcting the asserted defect(s) or delivering replacement item(s), or submit the issue of whether Delivery was effected
   to arbitration as set forth below. If Sales Agent elects to cure such rejection, then the time periods set forth above for
   review and cure will be applicable to the delivery of corrected and replaced Delivery Materials as well.

                     (E)     Distributor hereby acknowledges and agrees that no individual(s) or specification(s), including without
   limitation the any cast member or the director, and no other specifications is (are) essential for purposes of effectuating Delivery
   and Distributor may not refuse to accept Delivery should any individual(s) be replaced or specification changed for any reason
   whatsoever.

                    (F)      All disputes with regard to Delivery will be resolved by IFTA Arbitration (as further set forth
   herein). The sole remedy of Distributor in any such IFTA Arbitration for a failure for any reason to deliver the Delivery
   Materials will be the return of the License Fee or portion thereof previously paid, and under no circumstances will
   Distributor be entitled to interest, lost profits, consequential damages or any equitable or injunctive relief. Additionally,
   Distributor shall not be entitled to any such return of the License Fee if the Picture has been released in any medium in
   the Territory.


                                                                      2

                                                                                                         Exhibit 4a Page 90
FOIA Confidential Treatment Requested                                                                                   JJMT-SEC-0004914
         Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 92 of 245 Page ID #:813

                      (G)       Title to all materials delivered to Distributor in connection with the Picture will remain with
    Licensor or Sales Agent (as applicable). Distributor will exercise due care in safeguarding all materials and will assume
    all risk for theft or damage while they are in transit or Distributor's possession. In respect of all materials created or
    manufactured by Distributor (including without limitation all Picture copies, packaging, artwork, marketing, dub and sub-titled
    language tracks, so-called “bonus materials,” etc.), Licensor is the copyright owner from inception, provided that if such
    ownership is not allowed under a law in the Territory, Distributor hereby grants (and from creation of each such item shall
    by the terms hereof grant) to Sales Agent an irrevocable royalty-free license to use all such materials worldwide in
    perpetuity in all media now known or hereinafter devised. In all cases, Distributor shall only use such materials during
    the Term to exploit the Licensed Rights. The creation of dubbed and sub-titled language tracks and related versions of
    the Picture, the trailers thereof, and any other materials created or duplicated by Distributor hereunder are to be made at
    Distributor’s sole cost.

                     (H)      Upon termination of this Agreement, Distributor will, at Sales Agent’s election, either: (i) return
    to Sales Agent at Distributor’s expense all materials in connection with the Picture (including without limitation all film
    and digital pre-print and exhibition materials, video inventory, marketing materials, and language tracks), whether such
    materials were delivered to Distributor or created by Distributor or any of its sub -distributors or licensees; or (ii) destroy
    all such materials and provide Sales Agent with a customary certificate of destruction executed by an authorized officer of
    Distributor.

                     (I)      All costs of Delivery, return and destruction (including shipping charges, import fees, duties,
    brokerage fees, storage charges and related charges) will be Distributor's sole r e s p o n s i b i l i t y .

    8.       LICENSED RIGHTS / RESERVED RIGHTS / HOLDBACKS:

                      (A)       Subject to the condition precedent of timely payment in full of the License Fee without deduction or
    offset of any kind, Licensor shall license to Distributor the following exclusive distribution rights to the Picture for t h e Territory,
    for the duration of the Term, and in the Authorized Language(s) ("Licensed Rights”). All rights not specifically licensed herein
    whether now known or hereafter devised (including without limitation so-called “clip rights” to license excerpts of the Picture for
    unrelated third party use) are reserved to Licensor (“Reserved Rights”). Distributor is expressly prohibited from exploiting any
    of the Reserved Rights.

                                                   Licensed to        Reserved to        Distributor's
    Licensed Right                                 Distributor        Licensor           Holdback Period

    Cinematic Rights:
    Theatrical                                      X
    Non-Theatrical                                  X
    (including Hotel/Motel Rights)
    Public Video                                    X
    Commercial Video                                X

    Home Video Rights:
    Home Video Rental                               X
    Home Video Sellthru                             X

    Ancillary Rights:
    Airline                                         X
    Ship                                            X

    Pay TV Rights:
    Terrestrial                                     X                                    *
    Cable                                           X                                    *
    Satellite                                       X                                    *

    Free TV Rights:
    Terrestrial                                     X                                    *
    Cable                                           X                                    *
    Satellite                                       X                                    *
                                                                         3

                                                                                                             Exhibit 4a Page 91
FOIA Confidential Treatment Requested                                                                                       JJMT-SEC-0004915
           Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 93 of 245 Page ID #:814
    Free Video-on-Demand                          _X

    Other TV Rights:
    Video-On-Demand (“VOD”)                       _X
    Subscription VOD (“SVOD”)                     _X
    Near VOD (“NVOD”)                             _X
    Pay-Per-View                                  _X

    Internet Rights: Post Home Video Window
    VOD (e.g., iTunes)                      X
    SVOD (e.g., Netflix)                    X _
    Transactional VOD (“TVOD”)              X___
    Electronic Rental                       X                                          *
    Electronic Sell Thru (“EST”)            X___                                       *

                      (B)      Holdbacks:

    Distributor shall hold back its exploitation of the Licensed Rights marked “*” above until the initial release of the Picture in the
    United States (the “First US Theatrical Release”), unless otherwise waived or shortened by Sales Agent by written notice.
                       (C)        All transmissions of the Picture hereunder in exercise of the Pay TV, Satellite Free TV, Other TV, and
    Internet Rights as set forth herein shall be encrypted or encoded in such manner that may be decrypted or decoded only by the use of
    authorized decryption or decoding equipment, the sale and use of which equipment is limited to the Territory. Any exercise of the
    Other TV Rights is expressly conditioned upon Distributor providing Sales Agent with acceptable written documentation verifying
    implementation of such encryption protections for all exercise of such rights.

                      (D)      Intentionally deleted.

                      (E)      Television Runs:

    (i)       Pay TV: Unlimited runs.

    (ii)      Free TV: Unlimited runs.




                       (F)        The parties acknowledge that when the Picture is transmitted by satellite and/or cable for reception in
    the Territory, such transmission may be capable of reception outside the Territory due to the inherent technical capability of
    satellites to beam down signals and/or cable systems to transmit signals, which are not confined to territorial boundaries
    ("Distributor Overspill"). Sales Agent agrees that the occurrence of Distributor Overspill shall not constitute a breach of this
    Agreement, provided that (i) the transmission is not primarily intended for reception outside the Territory and (ii) Distributor
    receives no direct revenue from such overspill. Additionally, the parties acknowledge that when the Picture is transmitted by
    satellite and/or cable for reception outside the Territory, such transmission may be capable of reception inside the Territory due to
    the inherent technical capability of satellites to beam down signals and/or cable systems to transmit signals, which are not
    confined to territorial boundaries (“Overspill”). Distributor agrees that the occurrence of Overspill shall not constitute a breach
    of this Agreement by Sales Agent or Licensor, provided, that (i) the transmission is not primarily intended for reception inside the
    Territory and (ii) Sales Agent and/or Licensors (or their licensees) receive no direct revenue from such overspill.

                       (G)      Distributor’s right to exploit Internet Rights in the Picture are subject to the terms and conditions of
    the STCs (as hereafter defined), including without limitation a requirement to utilize current commercially reasonable
    technological safeguards to ensure that accessing, streaming or downloading of the Picture is limited solely to reasonably
    identifiable locations within the Territory (e.g., geofiltering). Notwithstanding the foregoing, to the extent Distributor is supplied
    approved promotional clips of the Picture formatted for use on the Internet, Distributor may use up to three (3) minutes in the
    aggregate of such clips on the Internet solely for purposes of promoting the Picture and provided such clips are posted solely
    within a domain bearing the identification code of one of the countries of the Territory.

                      (H)      Distributor shall use its best efforts and skill in the distribution and exploitation of the Picture, and
                                                                       4

                                                                                                          Exhibit 4a Page 92
FOIA Confidential Treatment Requested                                                                                    JJMT-SEC-0004916
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 94 of 245 Page ID #:815
    Distributor shall exercise its rights hereunder in a fair, reasonable, customary and non-discriminatory manner with respect to
    Licensor or Sales Agent.

    9.       NO DISPOSITION OF GROSS RECEIPTS: Licensor is licensing the Picture to Distributor on a so-called “flat”
    basis; therefore, subject to Sales Agent’s receipt of the License Fee in accordance with the terms of this Agreement, no other
    payments whatsoever shall be due to Sales Agent and/or Licensor hereunder.

    10.      ACCOUNTINGS: Intentionally deleted.

    11.      PAYMENT REQUIREMENTS:

                      (A)     The License Fee shall be paid in the amounts specified and required hereunder, which amounts as
    stated in this Agreement shall be deemed net sums in respect of which Distributor shall have separately paid at its own expense
    any required withholding and/or remittance taxes required by laws of the Territory such that no amounts shall be deducted from
    the payments to Licensor specified in this Agreement.

                       (B)      There will be no deductions from any payments due to Licensor, including the License Fee, because of
    any bank charges, conversion costs, sales use or VAT taxes, "contingents", quotas or any other taxes, levies or charges, all of
    which shall, if required, be paid separately by Distributor.

                     (C)       If it is legally impossible to transmit any monies due to Licensor, then Distributor will immediately so
    notify Sales Agent in writing. Distributor will then deposit such monies at Distributor’s expense in Sales Agent’s or Licensor’s
    name, as Sales Agent shall designate, in such depository as may be designated by Sales Agent.

                       (D)      All payments to Licensor will be in United States dollars computed at the prevailing exchange rate on
    the date due at Licensor’s bank, provided that the exchange rate for any late payments shall be the most favorable prevailing daily
    rate for Licensor between the due date and the date of payment.

                       (E)       Any payment due Licensor not made by its due date will, in addition to any other right or remedy of
    Licensor, incur a finance charge at the lesser of the prevailing US Prime rate plus three percent (3%) or the highest applicable
    legal contract rate until paid in full.

    12.      MARKETING / ADVERTISING:.

                      (A)      Intentionally deleted.

                      (B)      Intentionally deleted.

                      (C)      Any marketing or advertising materials created by Distributor and any alterations by Distributor to
    any artwork or other marketing materials furnished by Sales Agent must satisfy all of Licensor’s and Sales Agent’s underlying
    contractual obligations and shall in all instances be subject to Sales Agent’s prior written approval before Distributor shall make
    any use of such materials.

                    (D)      Distributor shall comply with all contractual credit, likeness, dubbing, subtitling, editing,
    marketing, publicity, promotional or other similar restrictions or requirements provided to D i s t r i b u to r .

                      (E)      Intentionally deleted.

                      (F)      Intentionally deleted.

                      (G)      Intentionally deleted.

                      (H)      Intentionally deleted.

    13.      EDITING / BILLING:

                     (A)       Distributor may only cut and edit the Picture to the extent necessary to meet governmental censorship
    requirements. Any such cutting or editing shall only be permitted with Sales Agent's prior written approval and Distributor shall
    comply with all editing restrictions and requirements provided by Sales Agent. Except for such editing for censorship, the Picture
                                                                      5

                                                                                                        Exhibit 4a Page 93
FOIA Confidential Treatment Requested                                                                                  JJMT-SEC-0004917
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 95 of 245 Page ID #:816
    shall be exhibited and otherwise distributed only in its original continuity as supplied by Licensor without alteration,
    interpolation, cut or elimination.

                      (B)      Distributor may include, before or after the Picture and all credits thereof, the credit or logo of
    Distributor, which precise placement must be pre-approved in writing by Sales Agent.

                      (C)      Intentionally deleted.

                      (D)      Distributor shall not do any of the following:

                      (i)      Change the title of the Picture as it appears in the original language of the Picture (except that
                               Distributor may translate the title in the Authorized Language(s);

                      (ii)     Alter or delete any credit, logo, copyright notice or trademark notice, or anti-piracy warning appearing
                               on the Picture; and

                      (iii)    Include any advertisements or other material in the Picture, preceding the Picture, or following the
                               Picture in any medium including Home Video other than an approved anti-piracy warning and
                               commercials for Free TV exploitation (if Free TV rights are licensed herein).

                        (E)     Distributor’s obligations hereunder shall be binding on its subsidiaries, parents, affiliates, agents, sub-
    distributors and licensees.

             14.      15.      MUSIC CONTAINED IN THE PICTURE:

                      (A)      Licensor will be responsible for acquiring all rights necessary to synchronize the music contained in the
    Picture as delivered to Distributor and on all copies exploited by Distributor hereunder, and for paying all royalties or charges
    incurred in obtaining and maintaining such synchronization licenses in effect for the Term.

                       (B)       The Performance Rights with respect to the music contained in the Picture shall either be in the public
    domain in the Territory, be controlled by Licensor sufficient to allow Distributor to exploit all of Licensed Rights without the
    necessity of any additional payment, or be available by license from the local music performing rights society in the Territory
    affiliated with the American Society of Composers, Authors and Publishers (ASCAP), Broadcast Music, Inc. (BMl), or SESAC,
    Inc. (SESAC). Distributor will be solely responsible for any royalties, however denominated, which any mechanical, performing
    or authors right society in the Territory attempts to collect in connection with the exploitation of the Picture in the Territory.



    16.      ADDITIONAL TERMS:

             (A)      Distributor acknowledges that the financing for the Picture will be provided by financiers who may require a
    completion guarantee or other financial assurances. The Distributor agrees to execute within twenty-four (24) hours of receipt
    such further documentation as may be required by the Licensor to accommodate such interests, including, without limitation, an
    Acceptance and Acknowledgement of a Notice of Assignment in the form customarily required by such financiers and
    completion guarantor (if any), and any and all documents or other instruments and acts required by such financiers and/or
    completion guarantor in connection with the establishment of a collection account or otherwise. In the event Distributor fails to
    execute and deliver all such documentation within five (5) business days of receipt of written notice thereof, then Distributor
    agrees that Sales Agent may, as it may elect in its discretion, terminate this Agreement or execute such documentation in the
    name of Distributor, for which purpose Distributor hereby irrevocably appoints Sales Agent as Distributor's attorney-in-fact, a
    power coupled with an interest, with full right to execute any and all such documentation.

             (B)      Licensor may, in its absolute discretion, require Distributor to establish a Letter of Credit or other such form of
    payment (by way of example only, a bank guarantee) acceptable to Licensor to secure all or any part of the License Fee. In the
    event that the Licensor requests any such Letter of Credit(s), Distributor shall open the Letter of Credit and deliver same to Sales
    Agent within ten (10) working days following the Sales Agent’s request. The Letter of Credit and any confirmation which may
    be required by Licensor or Licensor’s bank must be irrevocable and in a format and issued by a bank acceptable to Licensor and
    Licensor’s bank. At Sales Agent’s election, any failure on Distributor’s part to deliver the Letter of Credit within such ten (10)
    day period may result in the termination of this Distribution Agreement by written notice to Distributor. All costs of the Letter of
    the Credit and of any required confirmation shall be paid by Distributor.
                                                                        6

                                                                                                           Exhibit 4a Page 94
FOIA Confidential Treatment Requested                                                                                     JJMT-SEC-0004918
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 96 of 245 Page ID #:817

             (C)     Neither Licensor nor Sales Agent can guarantee against piracy in the Territory and any piracy of the Picture,
    whether occurring before or after execution of this Agreement, shall not constitute a breach by Licensor nor a basis for damages
    claims, payment reductions, or termination hereunder.


             (D)      Any delay of action hereunder by Sales Agent shall not be construed as a waiver of any rights or remedies, and
    any express waiver by Sales Agent of any specific right or remedy hereunder shall not constitute a waiver of any other rights or
    remedies regarding the same issue (including without limitation any preceding, continuing, or succeeding breach) or any other
    matter arising under this Agreement.

              (E)      Any terms not set forth in this Agreement (including any capitalized words used herein without express
    definition) will be determined solely by reference to the most current IFTA Standard Terms and Conditions (“STCs”) as of the
    date of this Agreement, which STCs are incorporated in their entirety herein and thereby comprise an integral component of this
    Agreement. In the event of any inconsistency between the terms of this Agreement and the STCs, the terms of this Agreement
    prevail.

             (F)    Sales Agent is acting solely in its capacity as duly authorized agent on behalf of Licensor in connection with
    this Agreement.

    17.      NOTICES: All notices hereunder shall be in writing and shall be sent to the recipients at the address and/or fax
    number and/or email address set forth above (or such subsequently changed address of which the sending party has received
    notice hereunder). Notices to Licensor shall be sent to the attention of c/o SIERRA/AFFINITY , whose fax number is (310) 587-
    2381.

    18.      REPRESENTATIONS AND WARRANTIES: Distributor represents and warrants to Licensor that:

              (A)      It has full authority and capacity to execute this Agreement and full legal and financial ability to perform all of
    its obligations under this Agreement;

              (B)      There are no existing or threatened claims or litigation which would adversely affect or impair Distributor's
    ability to perform under this Agreement;

             (C)       No dubbed or subtitled version of the Picture created by or to be created by Distributor does or will: (a) defame,
    or hold in a false light, or infringe any privacy or publicity or other personal right of any person; or (b) infringe any copyrights,
    trademark, patent, trade secret, rights of ideas, or similar property rights of any person;

            (D)       It will employ at all times controls in accordance with prevailing customary standards in the Territory as used
    by major studios to prevent and deter theft, piracy, unauthorized copying, accessing, streaming or downloading (as applicable) of
    any copy of the Picture where the Picture is made available via any of the Licensed Rights granted herein;

             (E)      It will indemnify and hold harmless Licensor and Sales Agent, and their parents, officers, directors, owners,
    shareholders, employees, attorneys agents, and successors and assigns from all claims, loss, liability, damages or expenses,
    including reasonable attorney's fees and legal costs, but not including lost profits due to breach of any of Distributor's
    representations, warranties covenants or conditions under this Agreement.

            (F)       It will comply with all credit and talent obligations in connection with Picture as provided to Distributor by
    Sales Agent.

    19.      DEFAULT AND TERMINATION:

                      (A)      Distributor will be in default of this Agreement in the event of any of the following circumstances:




                                                                       7

                                                                                                           Exhibit 4a Page 95
FOIA Confidential Treatment Requested                                                                                    JJMT-SEC-0004919
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 97 of 245 Page ID #:818
             (i)      Distributor fails to pay any installment of the License Fee or any other amounts due under this Agreement or any
                      other agreement with Sales Agent when due;

             (ii)     Distributor becomes insolvent or fails to pay its debt obligations when due;

             (iii)    Distributor makes an assignment for the benefit of creditors, seeks relief under any bankruptcy law or similar
                      law for the protection of debtors, or allows a petition of bankruptcy to be filed against it, or a receiver or trustee
                      to be appointed for substantially all of its assets that is not removed within thirty (30) days;

             (iv)     Distributor breaches any material term, covenant or condition of this Agreement or any other agreement with
                      Sales Agent;

             (v)      Any affiliate, parent, subsidiary, sub-distributor, or licensee of Distributor breaches any material term, covenant
                      or condition of this Agreement or any other agreement with Sales Agent; term, covenant or condition of this
                      Agreement or any other agreement with Sales Agent;

             (vi)     Distributor attempts to make any assignment, transfer, sublicense or appointment of an agent without Sales
                      Agent’s prior written approval; or

             (vii)    Distributor fails timely to sign a Notice of Assignment as provided below.

                      (B)      Sales Agent will give Distributor notice of any claimed default. If the default is capable of cure, then
    Distributor will have ten (10) days after receipt of Sales Agent’s notice to cure a monetary default, and twenty (20) days after
    receipt of Sales Agent's notice to cure a non-monetary default. If the default is incapable of cure, or if Distributor fails to cure
    within the time provided, then Licensor may proceed against Distributor for available relief, including but not limited to
    terminating this Agreement or any other agreement with Sales Agent retroactive to the earliest date of default, suspending
    Delivery of the Picture, and declaring all unpaid amounts due Licensor immediately due and payable.

                     (C)       As a result of termination of this Agreement or any other agreement between Distributor and Sales
    Agent, with respect to those pictures as to which all rights are terminated:

             (i)      All licensed rights in and to such picture shall automatically revert to Licensor, free and clear of any and all
                      encumbrances and any sub-distribution agreements entered into by Distributor (other than those sub-
                      distribution agreements deemed assigned to Licensor as specified below);

             (ii)     All of Distributor's rights under any sub-distribution and license agreements that have been pre-approved in
                      writing by Sales Agent shall be deemed to have been assigned to Licensor (and any such sub-distribution
                      agreements not so approved, shall be deemed automatically terminated) and all payments to be made under
                      such agreements shall be paid directly to Licensor who may notify all relevant parties of such assignment to
                      Licensor;

             (iii)    All monies payable by exhibitors or sub-distributors to Distributor in respect to such picture shall be paid to
                      and retained by Licensor;

             (iv)     Any portion of the License Fee for this Picture and License Fee(s) for such other picture(s) theretofore paid by
                      Distributor shall be retained by Licensor or Sales Agent and any unpaid portion of the License Fee for this
                      Picture or for such other picture(s), if any, shall accelerate and immediately become due and payable to
                      Licensor or Sales Agent;

             (v)      Licensor shall be entitled to immediate possession of all digital and film pre-print and print elements and copies
                      of the Picture and such other picture(s), advertising materials and all other materials (including any Delivery
                      Materials) pertaining to same;

             (vi)     Distributor shall execute and deliver all instruments requested by Sales Agent to effectuate a termination of this
                      Agreement and its rights in the Picture or for such other picture(s) as applicable, including without limitation
                      instruments necessary or appropriate to reflect such termination on the public records of governmental agencies
                      and/or with industry organizations in the Territory which maintain records of a similar nature;

             (vii)    Distributor shall turn over all records, including books, billing and delivery records to the Picture or such other
                                                                        8

                                                                                                            Exhibit 4a Page 96
FOIA Confidential Treatment Requested                                                                                      JJMT-SEC-0004920
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 98 of 245 Page ID #:819
                      picture(s), and all monies on hand, if any, relating to the Picture or such other picture(s); and

             (viii)   Distributor hereby irrevocably appoints Sales Agent as Distributor's attorney-in-fact, a power coupled with an
                      interest, with full right to execute any and all assignments and other instruments deemed by Sales Agent to be
                      reasonably necessary or desirable to evidence the transactions provided hereunder and to protect its rights under
                      this Agreement or such other agreement(s) as applicable.

    20.      TERMINATION OTHER THAN FOR DEFAULT:

                       (A)     Upon written notice to Distributor, Sales Agent may in its sole discretion terminate this Agreement if
    principal photography of the Picture has not commenced within twelve (12) months following the date of this Agreement, the
    Picture is not ready for Delivery to Distributor within twenty-four (24) months following the date of this Agreement, or Licensor
    or Sales Agent abandons the Picture either prior to or after the commencement of principal photography.

                      (B)       In the event of such termination, Licensor shall return to Distributor such portion of the License Fee
    theretofore paid to Licensor by Distributor, and Distributor shall return to Sales Agent any and all materials, including, without
    limitation, all physical film materials, Delivery Materials, publicity materials and documents theretofore furnished by Sales
    Agent to Distributor in connection with the Picture. Neither Licensor nor Sales Agent shall have any additional obligation of any
    kind whatsoever to Distributor, or anyone claiming through Distributor, by reason of such termination.

                       (C)     Distributor shall execute and deliver all instruments requested by Sales Agent to effectuate a
    termination of this Agreement and its rights in the Picture, including without limitation instruments necessary or appropriate to
    reflect such termination on the public records of governmental agencies and/or with industry organizations in the Territory which
    maintain records of a similar nature. Distributor shall turn over all records, including books, billing and delivery records to the
    Picture and all monies on hand, if any, relating to the Picture. Distributor hereby irrevocably appoints Sales Agent as Distributor's
    attorney-in-fact, a power coupled with an interest, with full right to execute any and all assignments and other instruments
    deemed by Sales Agent to be reasonably necessary or desirable to evidence the transactions provided hereunder and to protect its
    rights under this Agreement.

    21.      CHOICE OF LAW / ARBITRATION / FORUM:

             (A)       This Agreement shall be subject to the laws of the State of California applicable to agreements wholly executed
    and performed therein, and all parties hereby irrevocably consent to the exclusive jurisdiction and venue of the Federal and State
    courts located in Los Angeles County for any court matters arising hereunder.

              (B)      Any and all disputes under this Agreement shall be submitted exclusively to binding arbitration ("IFTA
    Arbitration") in Los Angeles, California under the Rules of International Arbitration of the International Film and Television
    Alliance ("IFTA Arbitration Rules") in effect as of the date the request for arbitration is filed. Each party waives any righ t to
    adjudicate any such dispute in any other court or forum and Distributor waives any and all rights to seek equitable or injunctive
    relief or to rescind or terminate this Agreement or to seek such rescission or termination. Los Angeles County will be deemed
    the "Forum" under the IFTA Arbitration Rules. Licensor (and where applicable Sales Agent) and Distributor agree to accept
    service of process for IFTA Arbitration in accordance with such Rules and to accept service of process for any judicial or ot her
    proceedings provided for hereunder by certified mail, return receipt requested, courier, or other personal delivery at the address
    indicated on this Agreement. Licensor (and where applicable Sales Agent) and Distributor agree to abide by any decision
    rendered in an IFTA Arbitration, and that any court having jurisdiction may enter judgment affirming such decision and may
    enforce such judgment in accordance with its powers.

              (C)     Without limiting the aforesaid arbitration provisions and notwithstanding the exclusive jurisdiction provisions
    above, Licensor and Sales Agent shall additionally each have the right to proceed in any court of competent jurisdiction
    anywhere in the world to either (i) seek such interim protective relief, including equitable remedies as may be considered
    reasonably necessary to protect their rights and entitlements pursuant to this Agreement, or (ii) seek enforcement of any
    arbitration award or related judgment hereunder.

             (D)      The prevailing party or parties in any arbitration hereunder shall be entitled to an award in such arbitral
    proceeding for reimbursement of its or their (as applicable) legal fees (including attorneys fees) and costs of arbitration (including
    discovery and expert witness costs). The prevailing party or parties in any judicial action hereunder shall similarly be entitled to
    court order or judgment reimbursing it or them (as applicable) for all legal fees (including attorneys fees) and costs incurred in
    connection with such matter and in connection with any applicable arbitration as aforesaid.

                                                                        9

                                                                                                           Exhibit 4a Page 97
FOIA Confidential Treatment Requested                                                                                     JJMT-SEC-0004921
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 99 of 245 Page ID #:820
    22.      CONFIDENTIALITY: All terms of this Agreement shall be confidential and not disclosed to any third party except
    each party's accountants, attorneys and agents, and as necessary to perform each parties' rights and obligations hereunder, and
    except as required by law or judicial order.

    23.      COUNTERPARTS:              This Agreement may be executed in counterparts which may be delivered by ink-signed
    originals, fax or digital copy in pdf or tiff format, each of which shall be deemed to be an original and such counterparts of all
    parties when taken together shall constitute the fully binding and executed Agreement.

    24.       BINDING AGREEMENT: This Agreement, any exhibits attached hereto, and the STC’s incorporated herein sets
    forth the entire understanding and agreement between Licensor and Distributor as to the subject matter hereof and supersedes all
    previous discussions, correspondence, inducements, agreements, warranties or representations, whether oral or written. This
    Agreement is binding on each of the parties and their respective successors and assigns. Except as expressly provided herein, this
    Agreement may only be amended in writing signed by Sales Agent on behalf of Licensor and Distributor.

    THIS AGREEMENT is executed as of the parties as of the date first above written.

                                                   [signatures on the following page]




                                                                     10

                                                                                                       Exhibit 4a Page 98
FOIA Confidential Treatment Requested                                                                                JJMT-SEC-0004922
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 100 of 245 Page ID #:821


               AGREED AND ACCEPTED:

               SIERRA/AFFINITY (“Sales Agent”) as agent
               On behalf of Meyer Media Group (“Licensor”)   1inMM Capital LLC (“Distributor”)


               By:                                           By:

               Its: EVP International Sales                  Its: MANAGING PARTNER




                                                               11


                                                                                Exhibit 4a Page 99
FOIA Confidential Treatment Requested                                                        JJMT-SEC-0004923
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 101 of 245 Page ID #:822

                                                              Exhibit “A”

  This Exhibit A is attached and incorporated into that certain International License Agreement dated as of October 2, 2019, by and
  between SIERRA/AFFINITY ("Sales Agent") as sales agent on behalf of Meyer Media Group (“Licensor”) and 1inMM Capital
  LLC (“Distributor”) whereby Licensor granted to Distributor certain distribution rights in and to the motion picture entitled
  “Bitter Harvest (the “Picture”).


  LEGAL DELIVERABLES

  1.   Clearly legible copies of all chain-of-title documents required by Distributor, evidencing Licensor’s proper ownership and
  permitting the use of any and all literary, dramatic, musical and other material used in the production of the Program or upon which
  the Program and/or screenplay may be based, together with certificates of authorship and proof of payment in connection with the
  acquisition of the necessary rights in and to such material and the exercise of all options related thereto.

  2.    Evidence satisfactory to Distributor that there is no lien, charge, encumbrance or security interest that would adversely interfere
  with the Licensed Rights granted to Distributor.

  3.   A (a) copyright report issued by a Thomson CompuMark, (b) title report and (c) opinion issued.

  4.    A complete typewritten statement of all third party screen and paid advertising credit, name and likeness, and other third party
  obligations, restrictions and approval rights including, without limitation, all dubbing obligations (if any), director’s editing rights,
  video mastering consultation or approval rights, etc. for each individual and entity named in the billing block with excerpts from each
  applicable third party agreement setting forth the precise extent and nature of such obligations, restrictions and/or approval rights, in
  the identical order as listed in the billing block.

  5.   The proposed paid ad/packaging summary, credit and billing block layout for both full- and small-sized paid ads.

  6.   The final copyright notice, as it appears on the billing block.

  7.    Clearly legible copies of fully-executed agreements for all key actors and key production personnel (e.g., director, producer,
  writer, etc.) and any other talent and/or crew agreements requested by Distributor.

  8.    If the Program or underlying materials or properties are based upon or related to events in the real life of real persons, living or
  dead, or portrays real persons, true and correct copies of all personal releases and other documentation showing that Licensor has all
  rights necessary to permit Distributor to exploit the Picture in the manner provided herein without violating any third party rights or
  incurring any obligations to any third party.

  9.   A complete written statement showing the exact form and manner of the main and end titles of the Picture.

  10. One (1) typewritten (or computer generated) hard copy and one (1) copy in digital format of a music cue sheet in standard form
  showing the particulars of all music synchronized with the Program (all versions) and additional cue sheets for the trailer(s) and any
  other materials in connection with the Program containing original and/or licensed music. All such cue sheets will include for each
  cue: (i) the title of song; (ii) the name of the songwriter/composer; (iii) the songwriter’s/composer’s performing rights affiliation (e.g.,
  ASCAP, BMI or SESAC); (iv) the name of publisher; (v) the publisher’s performing rights affiliation; (vi) the type of use; (vii) the
  length of the use; and (viii) an indication of whether or not a master recording was licensed.

  11. Clearly legible, fully-executed copies and proof of payment for any and all synchronization licenses and master use licenses, all
  valid and sufficient to provide Distributor with the right to use and perform all musical compositions and master recordings contained
  in the Picture and trailer (if available).

  12. Clearly legible copies of the copyright registration certificate(s) with the US Copyright Office for both the screenplay and
  Picture.




                                                                      12

                                                                                                         Exhibit 4a Page 100
FOIA Confidential Treatment Requested                                                                                     JJMT-SEC-0004924
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 102 of 245 Page ID #:823




                        Exhibit 4b




                                                             Exhibit 4b Page 101
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 103 of 245 Page ID #:824




                    PROMISSORY NOTE
             	  
                    $ (999,845.00)                                                          (09/27/2019)
             	  
                    Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
                    California, (the ''Maker''), hereby promises to pay to Lender, JJMT CAPITAL LLC, a
                    Delaware Limited Liability company located at (541 N Fairbanks Ct. STE 2200
                    Chicago, IL 60611), (the ''Payee''), an amount equal to (NINE HUNDRED NINETY-
                    NINE THOUSAND EIGHT HUNDRED FORTY-FIVE) Dollars ($999,845.00) in
                    lawful money of the United States of America, which sum shall be due and payable
                    on (03/27/2020) (the ''Maturity Date''), in one (1) balloon payment, in like money at
                    said office. Payment date shall be no later than SIX (6) months post confirmed funds
                    transfer from Payee to Maker in the amount of (SEVEN HUNDRED FORTY-TWO
                    THOUSAND TWO HUNDRED FIFTY) Dollars ($742,250.00).

             	  
             Prepayment Option. Maker may pay down at any time any portion of the principal sum
             outstanding without any prepayment penalty.

             Assignment of Rights. See Appendix A
             	  
                    Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
                    and that in the event payment of principal or interest due under this Note is not made
                    when due, giving effect to any grace period which maybe applicable, the outstanding
                    balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
                    percent per month, for so long as such event of default continues.
             	  
                    Validity of Agreement to Conform to Law. All agreements between the undersigned and
                    the holder of this Note are expressly limited so that in no contingency or event
                    whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
                    maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
                    be paid to the holder hereof for the use, forbearance or detention of money advanced
                    hereunder exceed the highest lawful rate permissible under any law which a court of
                    competent jurisdiction may deem applicable hereto. If, from any circumstances
                    whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
                    any other agreement referred to herein, at the time performance of such provision shall be
                    due, shall involve transcending the limit of validity prescribed by law which a court of
                    competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
                    fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
                    holder hereof shall ever receive as interest an amount which would exceed the highest
                    lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                            Exhibit 4b Page 102
FOIA Confidential Treatment Requested                                                                    JJMT-SEC-0004925
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 104 of 245 Page ID #:825



             reduction of the unpaid principal balance due hereunder and not to the payment of
             interest. This provision shall control every other provision of all agreements between the
             undersigned and the holder hereof.
             	  
                    Maker’s Default. At the option of the holder hereof exercised by written notice to the
                    undersigned, this Note shall become immediately due and payable upon the maker's
                    failure to pay when due any payment of principal, interest or expenses due hereunder; or
                    (b) failure in the performance or observance of any of the terms or conditions of any
                    mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
                    otherwise pertaining to this Note after giving effect to any applicable curative period
                    which may be contained therein. Upon the occurrence of any of the following specified
                    Events of Default, as defined under the standard conventions and terminology prescribed
                    for promissory notes drafted under Warren’s California Forms for Principal, Interest,
                    Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
                    called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
                    any Event of Default shall then be continuing, the Payee may, by written notice to the
                    Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
                    due and payable, whereupon the principal of and such unpaid accrued interest in respect
                    of this Note shall become forthwith due and payable without presentment, demand,
                    protest or other notice of any kind, all of which are hereby expressly waived by the
                    Maker. Furthermore, This note shall become due and payable before the above-
                    mentioned maturity date immediately upon the happening of any of the following events
                    affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
                    petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
                    creditors, calling meeting of creditors, appointment of liquidating agent or committee,
                    offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
                    or for over 30 days, application for appointment or appointment of any receiver, issuance
                    of warrant of attachment or death of any maker or indorser or on default of any other
                    obligations to the Maker.
             	  
                    Collection Costs. If this Note or any installment of principal or interest is not paid when
                    due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
                    collection, including without limitation, actual attorneys' fees, and all expenses in
                    connection with the protection or realization of the assets and proceeds available this
                    Note or the enforcement of any subsequent memorandum or agreement created in
                    conjunction with this Note incurred by the holder hereof on account of such collection,
                    whether or not suit is filed hereon or thereon; such costs and expenses shall include,
                    without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
                    hereof in connection with any insolvency, bankruptcy, arrangement or other similar
                    proceedings involving the undersigned, or involving any endorser or guarantor hereof,
                    which in anyway affects the exercise by the holder hereof of its rights and remedies under
                    this Note or under any mortgage, deed of trust, security agreement, guaranty or other
                    agreement securing or pertaining to this Note.
             	  
                    Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
                    nonpayment of this Note and all notices of every kind are hereby waived by all parties to




                                                                                            Exhibit 4b Page 103
FOIA Confidential Treatment Requested                                                                     JJMT-SEC-0004926
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 105 of 245 Page ID #:826




                    this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
                    provided herein. To the extent permitted by applicable law, the defense of the statute of
                    limitations is hereby waived by the undersigned.
             	  
                    Death of Maker. Maker of this note hereby waives all notice and demand and consent that
                    this note shall become due and payable immediately upon the happening of any of said
                    events. This note shall become due and payable on the Maturity Date, but payment shall
                    be accelerated and become due and payable immediately if the Maker shall die. For the
                    further security of the holder thereof, the undersigned covenants that so long as any part
                    of the principal or interest of this note is outstanding and unpaid, it will not grant any
                    security interest to any third party upon its property, or create any lien whatsoever
                    thereon, without also thereby including therein this note, equally and ratably with every
                    other evidence of debt, secured by any of the undersigned's property. If, while any part of
                    the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
                    then the holder hereof may at his or its election, declare and make this note at once due
                    and payable by written notice delivered to maker, and this remedy will be deemed
                    cumulative and in addition to any other remedy available to the holder hereof. This note
                    shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
                    cause whatsoever.
             	  
                    Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
                    case of non-payment thereof at maturity, or of any installment thereof when due, may
                    grant to the maker or any indorser of said note any extension or extensions of time of
                    payment thereof, in whole or in part, without notice to said indorsers or any of them and
                    any such extension or extensions shall not affect in any way said indorsers' liability upon
                    note, such indorsers hereby waiving demand, presentment of payment, notice of
                    nonpayment and protest and do further agree that any holder of this note may in the event
                    of default in the payment of principal of, or interest upon, this note or any installment
                    thereof repossess and/or sell the (collateral) held as collateral security for the payment of
                    this note without in any way relieving said indorsers, or any of them, of any liability by
                    reason of such repossession and/or sale, applying the proceeds of sale of any such asset
                    less all costs to amount due under this note, and all indorsers agree to pay any deficiency
                    on this note on demand.
             	  
                    Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
                    rights under this Note, the unsuccessful party or parties to such litigation, as determined
                    by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
                    or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
                    party or parties (including, without limitation, such costs, expenses and fees on any
                    appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
                    judgment or decree.
             	  
                    General Provisions. Principal and interest evidenced hereby are payable only in lawful
                    money of the United States. The receipt of a check shall not, in itself, constitute payment
                    hereunder unless and until paid in good funds. Whenever any payment on this Note shall
                    be stated to be due on a day, which is not a business day, such payment shall be made on




                                                                                             Exhibit 4b Page 104
FOIA Confidential Treatment Requested                                                                       JJMT-SEC-0004927
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 106 of 245 Page ID #:827

                    the next succeeding business day and such extension of time shall be included in the
                    computation of the payment of interest of this Note. This Note is to be governed by and
                    construed in accordance with the laws of the State of California except to the extent
                    United States federal law permits the holder to contract for, charge or receive a greater
                    amount of interest. In any action brought under or arising out of this Note, the
                    undersigned hereby consents to the in personam jurisdiction of any state or federal court
                    sitting in the state of California, and waives any claim or defense that such forum is not
                    convenient or proper, and consents to service of process by any means authorized by
                    California and/or Federal law.
             	  
             	  
                    THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
                    UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
                    OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
                    RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
                    ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
                    HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE WHETHER
                    NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN CONTRACT OR IN
                    TORT OR OTHERWISE.
             	  
             	  
             	  
             	  
             	  
             	           	      	      	     	      	      	      	            09/27/19
             	  
                    1INMM Capital, LLC                                          Date
                    Zachary Horwitz, Manager
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  




                                                                                                  Exhibit 4b Page 105
FOIA Confidential Treatment Requested                                                                        JJMT-SEC-0004928
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 107 of 245 Page ID #:828



                                                        APPENDIX A


                                                       ASSIGNMENT

            This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at (3129-A S. La
            Cienega Blvd Los Angeles, CA 90016) (“Assignor”) and JJMT CAPITAL LLC, a Delaware
            Limited Liability company located at ( 541 N Fairbank Ct. STE 2200 Chicago, IL 60611)
            (“Assignee”) is dated effective as of (09/27/2019).
            	  
            For good and valuable consideration, the receipt and sufficiency of which hereby acknowledged,
            Assignor does hereby irrevocably and unconditionally sell, grant, convey, and assign unto Assignee
            all of Assignor’s rights, title and interest of every kind and nature, throughout the universe, until
            assignee is paid ($999,845.00) at to which time all rights, title and interest of every kind and nature
            revert back to Assignor and to that certain motion picture, currently entitled “BITTER HARVEST”
            (the “Picture”) based on the original screenplay entitled “BITTER HARVEST” written by Richard
            Hoover.

            1. Assignor hereby represents and warrants:

                    1.1.    That Assignor is the sole and exclusive owner of the rights and privileges granted
                            or to be granted to Assignee hereunder.
                    1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                            Assignment.
                    1.3.    That, as of the effective date hereof, no part of the rights herein conveyed has in
                            any way been encumbered, conveyed, assigned, transferred or otherwise disposed
                            of and all such rights are therefore free and clear of any and all liens, claims,
                            charges or encumbrances whatsoever in favor of any party whatsoever.

            2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and hold
               them harmless from and against any and all claims, liability, losses, damages, costs, expenses
               (including but not limited to attorney’s fees) arising out of any breach by Assignor of any
               warranty made by Assignor hereunder.

            3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor which
               accrue after the date hereof.

            4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or any
               similar law in any country of the world and agrees not to institute or permit any action or
               lawsuit on the ground that the Picture in any way constitutes an infringement of any “droit
               morale” and Assignor agrees that Assignor shall not, under any circumstances (including
               without limitation, the circumstances of a breach by Assignee) be entitled to enjoin the
               exhibition or other exploitation of the Picture, to terminate or rescind any rights granted to
               Assignee or to obtain any other form of equitable relief, specific performance or otherwise, any
               right to which Assignor expressly waives.

            5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to any
               person, firm or corporation. Assignee may assign this Assignment and the rights and services
               granted herein, together with the results and proceeds thereof, and the representations and
               warranties contained herein, to any person or entity.




                                                                                             Exhibit 4b Page 106
FOIA Confidential Treatment Requested                                                                       JJMT-SEC-0004929
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 108 of 245 Page ID #:829




             6. This Assignment shall be construed in accordance with the laws of the state of California and
                shall be binding upon and shall inure to the benefit of the parties hereto and their respective
                successors, licensees and assigns. This Assignment cannot be amended or modified except in a
                writing signed by all parties hereto.

             IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED
             THIS ASSIGNMENT AS OF THE (27)th DAY OF SEPTEMBER 2019.	  
             	  
             	  
             	  
             1INMM CAPITAL, LLC (“Assignor”)	   	                	   	  JJMT CAPITAL LLC (“Assignee”)
             	  
             	  
             	  
             By:	  __________________________________	      	   	   	  By:	  _________________________________	  
             	  
             Its:	  MANAGING	  PARTNER	  	  	  	   	   	   	                  Managing Partner
                                                                        	  Its:	  _________________________________	  
             	  
             	       	       	       	       	       	        	       	       	  
             	  
             	  
             	  
             	  
             	  
             	  
             	  




                                                                                                    Exhibit 4b Page 107
FOIA Confidential Treatment Requested                                                                                JJMT-SEC-0004930
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 109 of 245 Page ID #:830




                        Exhibit 4c




                                                             Exhibit 4c Page 108
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 110 of 245 Page ID #:831




                                                                   Exhibit 4c Page 109
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004931
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 111 of 245 Page ID #:832




                                                                   Exhibit 4c Page 110
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004932
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 112 of 245 Page ID #:833




                                                                   Exhibit 4c Page 111
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004933
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 113 of 245 Page ID #:834




                                                                   Exhibit 4c Page 112
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004934
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 114 of 245 Page ID #:835




                                                                   Exhibit 4c Page 113
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004935
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 115 of 245 Page ID #:836




                                                                   Exhibit 4c Page 114
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004936
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 116 of 245 Page ID #:837




                                                                   Exhibit 4c Page 115
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004937
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 117 of 245 Page ID #:838




                                                                   Exhibit 4c Page 116
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004938
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 118 of 245 Page ID #:839




                                                                   Exhibit 4c Page 117
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004939
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 119 of 245 Page ID #:840




                                                                   Exhibit 4c Page 118
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004940
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 120 of 245 Page ID #:841




                                                                   Exhibit 4c Page 119
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004941
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 121 of 245 Page ID #:842




                                                                   Exhibit 4c Page 120
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004942
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 122 of 245 Page ID #:843




                                                                   Exhibit 4c Page 121
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004943
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 123 of 245 Page ID #:844




                        Exhibit 5a




                                                             Exhibit 5a Page 122
         Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 124 of 245 Page ID #:845

                                            INTERNATIONAL LICENSE AGREEMENT

    THIS AGREEMENT (the "Agreement”) is made as of December 17, 2018, between SIERRA/AFFINITY ("Sales Agent"), whose
    address is 9378 Wilshire Blvd, Beverly Hills, CA 90212, as sales agent on behalf of Shooting Films (“Licensor”), and the party
    named below ("Distributor"). Licensor and Distributor each hereby agree as set forth herein below.

    1.       DISTRIBUTOR: 1INMM CAPITAL LLC
             Address: 3129-A S. La Cienega Blvd Los Angeles, CA
             Ph. No.: 773.724.0290
             Attn.: Zachary Horwitz
             Email: zach@1inmm.com

    2.       PICTURE:          “Active Measures (the “Picture”).
                               Featuring: Donald Trump and Vladimir Putin
                               Director: Jack Bryan
                               Writer: Jack Bryan

    3.       TERRITORY:

    (A)      The “Latin American Territory” shall be defined as Anguilla, Antigua, Argentina, Aruba, Bahamas (non-exclusive
    only), Barbados, Barbuda, Belize, Bolivia, Bonaire, Brazil, Cayman Islands, Chile, Colombia, Costa Rica, Cuba, Curacao,
    Dominica, Dominican Republic, Ecuador, El Salvador, French Guiana (non-exclusive only), Grenada, Guadeloupe, Guatemala,
    Guyana, Haiti (non-exclusive only), Honduras, Jamaica, Martinique (non-exclusive only), Mexico, Montserrat, Nicaragua,
    Panama, Paraguay, Peru, St. Barthelme, St. Lucia, St. Martin, St. Vincent & Grenadines, Suriname (non-exclusive only),
    Trinidad & Tobago, Turks & Caicos, Uruguay, Venezuela, Virgin Islands (British), and

    (B)    The “African Territory” shall be defined as South Africa, Angola, Cape Verde, Ethiopia, Lesotho,           Namibia,
    Zimbabwe, Botswana, Mozambique, Swaziland, Malawi, Zambia, Kenya, Uganda, Tanzania and Nigeria

    (the “Latin American Territory” and “African Territory” shall be collectively defined as the “Territory”).

    4.     TERM: For all Licensed Rights (as defined below) herein, the Term shall commence on full execution of this
    Agreement and expire Fifteen (15) years thereafter (the “Term”).

    5.       AUTHORIZED LANGUAGE (S):

    (A)     In the Latin American Territory: subtitled and/or dubbed in Spanish and Portuguese (the “Latin American
    Authorized Language(s)”).

    (B)     In the African Territory: subtitled and/or dubbed in local languages indigenous to the African Territory (the
    “African Authorized Language(s)”).

    (C)      The languages granted in Paragraphs 5(A) and (B) shall be collectively defined as the “Authorized Language(s)”.

    (D)     Any and all DVD or Home Video packaging shall be in the Authorized Language(s) only and not in the English
    language.

    6.       FLAT LICENSE FEE: Distributor shall pay Licensor a non-returnable License Fee in the amount of One Million Four
    Hundred Twenty-Five Thousand Five Hundred United States Dollars (US $1,425,500.00) net of all taxes and without deduction
    of any kind (the “License Fee”), payable as follows:

             One Hundred Percent (100%) [US$1,425,500.00] due on full execution of this Agreement.

    Distributor’s Licensed Rights do not vest until Licensor has received 100% of the License Fee and full payment for the costs of
    the Delivery Materials. Distributor is not licensed and shall not exploit any of the Licensed Rights until such amounts are paid in
    full. Sales Agent will not be obligated to deliver to Distributor any Delivery Materials until 100% of the License Fee and full
    payment for the costs for the Delivery Materials (including shipping) have been remitted by Distributor and received by Sales
    Agent. Distributor acknowledges and agrees that time is of the essence and the payment schedule set forth herein will be strictly
    enforced. Failure to pay by the due dates herein will result in Licensor or Sales Agent having the right to terminate this


                                                                                                      Exhibit 5a Page 123
FOIA Confidential Treatment Requested                                                                                 JJMT-SEC-0004944
        Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 125 of 245 Page ID #:846
   Agreement and pursue all legal and equitable remedies.

   All installments of the License Fee, as well as all other monies due to Licensor under this Agreement, including Delivery
   Materials costs, will be paid by wire transfer to the following account:

                                 [ACCOUNT INFORMATION TO BE PROVIDED WITH INVOICE]

   7.       MATERIALS / DELIVERY:

                      (A)      Distributor shall order and pay for the Initial Materials (as defined below) within thirty (30) days
   following the date that Sales Agent provides Distributor with notice that Sales Agent is ready to effect Delivery (as defined
   below) of such Initial Materials (“Notice of Delivery”). Distributor acknowledges that (i) there is no guaranteed outside
   completion date, (ii) the Picture will be ready for delivery to Distributor only when final and complete, and (iii) the determination
   of finality and related timing for Delivery (taking into account both the completion of the Picture and additional factors affecting
   the timing of international release such as festival and award considerations) shall be at Licensor's sole discretion).

                     (B)       Delivery as used herein means delivery (at Distributor's cost of materials and shipping to be fully paid
   prior to shipment) of the Initial Materials and Additional Materials set forth below and in the Delivery Schedule attached hereto
   and incorporated herein as Exhibit “A” ("Delivery Materials"). Distributor acknowledges and agrees that it has reviewed the
   Delivery Materials list below and that no other Delivery Materials are required in order for Distributor to exercise its rights under
   this Agreement.

                     Initial Materials:

                     •        Theatrical: 35 mm Print (which may be used);
                     •        Theatrical: Music Cue Sheet (which Sales Agent may provide electronically);
                     •        Video/DVD: Beta or Digital Betacam PAL or NTSC Master (Sales Agent’s election following
                              consultation with Distributor) of the Picture; and
                     •        Dialogue List (which Sales Agent may provide electronically)
                              Additional Materials (to be delivered only if and when available):

                     •        Key Art (which Sales Agent may provide electronically).

                     (C)     Distributor will have ten (10) days to review and evaluate the Delivery Materials, and each
   delivery item delivered hereunder will be deemed acceptable for all purposes hereunder unless Distributor gives Sales
   Agent written notice of rejection within ten (10) days after Distributor’s receipt or access to such item (“Notice of
   Rejection”). Distributor may only reject Delivery Materials on grounds of technical quality and not for any other reason,
   including probability of commercial success or artistic grounds. The Notice of Rejection must include a laboratory report
   from a reputable recognized laboratory in the theatrical motion picture business stating full details of the technical defects
   in any rejected item(s).

                     (D)      Sales Agent has thirty (30) days after receipt of a Notice of Rejection to cure such rejection by
   correcting the asserted defect(s) or delivering replacement item(s), or submit the issue of whether Delivery was effected
   to arbitration as set forth below. If Sales Agent elects to cure such rejection, then the time periods set forth above for
   review and cure will be applicable to the delivery of corrected and replaced Delivery Materials as well.

                     (E)     Distributor hereby acknowledges and agrees that no individual(s) or specification(s), including without
   limitation the any cast member or the director, and no other specifications is (are) essential for purposes of effectuating Delivery
   and Distributor may not refuse to accept Delivery should any individual(s) be replaced or specification changed for any reason
   whatsoever.

                    (F)      All disputes with regard to Delivery will be resolved by IFTA Arbitration (as further set forth
   herein). The sole remedy of Distributor in any such IFTA Arbitration for a failure for any reason to deliver the Delivery
   Materials will be the return of the License Fee or portion thereof previously paid, and under no circumstances will
   Distributor be entitled to interest, lost profits, consequential damages or any equitable or injunctive relief. Additionally,
   Distributor shall not be entitled to any such return of the License Fee if the Picture has been released in any medium in
   the Territory.


                                                                      2

                                                                                                       Exhibit 5a Page 124
FOIA Confidential Treatment Requested                                                                                   JJMT-SEC-0004945
         Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 126 of 245 Page ID #:847

                      (G)       Title to all materials delivered to Distributor in connection with the Picture will remain with
    Licensor or Sales Agent (as applicable). Distributor will exercise due care in safeguarding all materials and will assume
    all risk for theft or damage while they are in transit or Distributor's possession. In respect of all materials created or
    manufactured by Distributor (including without limitation all Picture copies, packaging, artwork, marketing, dub and sub-titled
    language tracks, so-called “bonus materials,” etc.), Licensor is the copyright owner from inception, provided that if such
    ownership is not allowed under a law in the Territory, Distributor hereby grants (and from creation of each such item shall
    by the terms hereof grant) to Sales Agent an irrevocable royalty-free license to use all such materials worldwide in
    perpetuity in all media now known or hereinafter devised. In all cases, Distributor shall only use such materials during
    the Term to exploit the Licensed Rights. The creation of dubbed and sub-titled language tracks and related versions of
    the Picture, the trailers thereof, and any other materials created or duplicated by Distributor hereunder are to be made at
    Distributor’s sole cost.

                     (H)      Upon termination of this Agreement, Distributor will, at Sales Agent’s election, either: (i) return
    to Sales Agent at Distributor’s expense all materials in connection with the Picture (including without limitation all film
    and digital pre-print and exhibition materials, video inventory, marketing materials, and language tracks), whether such
    materials were delivered to Distributor or created by Distributor or any of its sub -distributors or licensees; or (ii) destroy
    all such materials and provide Sales Agent with a customary certificate of destruction executed by an authorized officer of
    Distributor.

                     (I)      All costs of Delivery, return and destruction (including shipping charges, import fees, duties,
    brokerage fees, storage charges and related charges) will be Distributor's sole r e s p o n s i b i l i t y .

    8.       LICENSED RIGHTS / RESERVED RIGHTS / HOLDBACKS:

                      (A)       Subject to the condition precedent of timely payment in full of the License Fee without deduction or
    offset of any kind, Licensor shall license to Distributor the following exclusive distribution rights to the Picture for t h e Territory,
    for the duration of the Term, and in the Authorized Language(s) ("Licensed Rights”). All rights not specifically licensed herein
    whether now known or hereafter devised (including without limitation so-called “clip rights” to license excerpts of the Picture for
    unrelated third party use) are reserved to Licensor (“Reserved Rights”). Distributor is expressly prohibited from exploiting any
    of the Reserved Rights.

                                                   Licensed to        Reserved to        Distributor's
    Licensed Right                                 Distributor        Licensor           Holdback Period

    Cinematic Rights:
    Theatrical                                                        X
    Non-Theatrical                                  X
    (including Hotel/Motel Rights)
    Public Video                                    X
    Commercial Video                                X

    Home Video Rights:
    Home Video Rental                               X
    Home Video Sellthru                             X

    Ancillary Rights:
    Airline                                         X
    Ship                                            X

    Pay TV Rights:
    Terrestrial                                     X                                    *
    Cable                                           X                                    *
    Satellite                                       X                                    *

    Free TV Rights:
    Terrestrial                                     X                                    *
    Cable                                           X                                    *
    Satellite                                       X                                    *
                                                                          3

                                                                                                           Exhibit 5a Page 125
FOIA Confidential Treatment Requested                                                                                       JJMT-SEC-0004946
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 127 of 245 Page ID #:848
    Free Video-on-Demand                          _X

    Other TV Rights:
    Video-On-Demand (“VOD”)                       _X
    Subscription VOD (“SVOD”)                     _X
    Near VOD (“NVOD”)                             _X
    Pay-Per-View                                  _X

    Internet Rights: Post Home Video Window
    VOD (e.g., iTunes)                             X
    SVOD (e.g., Netflix)                           X _
    Transactional VOD (“TVOD”)                     X___
    Electronic Rental                              X                                   *
    Electronic Sell Thru (“EST”)                   X___                                *

                      (B)      Holdbacks:

    Distributor shall hold back its exploitation of the Licensed Rights marked “*” above until the initial release of the Picture in the
    United States (the “First US Theatrical Release”), unless otherwise waived or shortened by Sales Agent by written notice.
                       (C)        All transmissions of the Picture hereunder in exercise of the Pay TV, Satellite Free TV, Other TV, and
    Internet Rights as set forth herein shall be encrypted or encoded in such manner that may be decrypted or decoded only by the use of
    authorized decryption or decoding equipment, the sale and use of which equipment is limited to the Territory. Any exercise of the
    Other TV Rights is expressly conditioned upon Distributor providing Sales Agent with acceptable written documentation verifying
    implementation of such encryption protections for all exercise of such rights.

                      (D)      Intentionally deleted.

                      (E)      Television Runs:

    (i)       Pay TV: Unlimited runs.

    (ii)      Free TV: Unlimited runs.




                       (F)        The parties acknowledge that when the Picture is transmitted by satellite and/or cable for reception in
    the Territory, such transmission may be capable of reception outside the Territory due to the inherent technical capability of
    satellites to beam down signals and/or cable systems to transmit signals, which are not confined to territorial boundaries
    ("Distributor Overspill"). Sales Agent agrees that the occurrence of Distributor Overspill shall not constitute a breach of this
    Agreement, provided that (i) the transmission is not primarily intended for reception outside the Territory and (ii) Distributor
    receives no direct revenue from such overspill. Additionally, the parties acknowledge that when the Picture is transmitted by
    satellite and/or cable for reception outside the Territory, such transmission may be capable of reception inside the Territory due to
    the inherent technical capability of satellites to beam down signals and/or cable systems to transmit signals, which are not
    confined to territorial boundaries (“Overspill”). Distributor agrees that the occurrence of Overspill shall not constitute a breach
    of this Agreement by Sales Agent or Licensor, provided, that (i) the transmission is not primarily intended for reception inside the
    Territory and (ii) Sales Agent and/or Licensors (or their licensees) receive no direct revenue from such overspill.

                       (G)      Distributor’s right to exploit Internet Rights in the Picture are subject to the terms and conditions of
    the STCs (as hereafter defined), including without limitation a requirement to utilize current commercially reasonable
    technological safeguards to ensure that accessing, streaming or downloading of the Picture is limited solely to reasonably
    identifiable locations within the Territory (e.g., geofiltering). Notwithstanding the foregoing, to the extent Distributor is supplied
    approved promotional clips of the Picture formatted for use on the Internet, Distributor may use up to three (3) minutes in the
    aggregate of such clips on the Internet solely for purposes of promoting the Picture and provided such clips are posted solely
    within a domain bearing the identification code of one of the countries of the Territory.

                      (H)      Distributor shall use its best efforts and skill in the distribution and exploitation of the Picture, and
                                                                       4

                                                                                                        Exhibit 5a Page 126
FOIA Confidential Treatment Requested                                                                                    JJMT-SEC-0004947
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 128 of 245 Page ID #:849
    Distributor shall exercise its rights hereunder in a fair, reasonable, customary and non-discriminatory manner with respect to
    Licensor or Sales Agent.

    9.       NO DISPOSITION OF GROSS RECEIPTS: Licensor is licensing the Picture to Distributor on a so-called “flat”
    basis; therefore, subject to Sales Agent’s receipt of the License Fee in accordance with the terms of this Agreement, no other
    payments whatsoever shall be due to Sales Agent and/or Licensor hereunder.

    10.      ACCOUNTINGS: Intentionally deleted.

    11.      PAYMENT REQUIREMENTS:

                      (A)     The License Fee shall be paid in the amounts specified and required hereunder, which amounts as
    stated in this Agreement shall be deemed net sums in respect of which Distributor shall have separately paid at its own expense
    any required withholding and/or remittance taxes required by laws of the Territory such that no amounts shall be deducted from
    the payments to Licensor specified in this Agreement.

                       (B)      There will be no deductions from any payments due to Licensor, including the License Fee, because of
    any bank charges, conversion costs, sales use or VAT taxes, "contingents", quotas or any other taxes, levies or charges, all of
    which shall, if required, be paid separately by Distributor.

                     (C)       If it is legally impossible to transmit any monies due to Licensor, then Distributor will immediately so
    notify Sales Agent in writing. Distributor will then deposit such monies at Distributor’s expense in Sales Agent’s or Licensor’s
    name, as Sales Agent shall designate, in such depository as may be designated by Sales Agent.

                       (D)      All payments to Licensor will be in United States dollars computed at the prevailing exchange rate on
    the date due at Licensor’s bank, provided that the exchange rate for any late payments shall be the most favorable prevailing daily
    rate for Licensor between the due date and the date of payment.

                       (E)       Any payment due Licensor not made by its due date will, in addition to any other right or remedy of
    Licensor, incur a finance charge at the lesser of the prevailing US Prime rate plus three percent (3%) or the highest applicable
    legal contract rate until paid in full.

    12.      MARKETING / ADVERTISING:

                      (A)      Intentionally deleted.

                      (B)      Intentionally deleted.

                      (C)      Any marketing or advertising materials created by Distributor and any alterations by Distributor to
    any artwork or other marketing materials furnished by Sales Agent must satisfy all of Licensor’s and Sales Agent’s underlying
    contractual obligations and shall in all instances be subject to Sales Agent’s prior written approval before Distributor shall make
    any use of such materials.

                    (D)      Distributor shall comply with all contractual credit, likeness, dubbing, subtitling, editing,
    marketing, publicity, promotional or other similar restrictions or requirements provided to D i s t r i b u to r .

                      (E)      Intentionally deleted.

                      (F)      Intentionally deleted.

                      (G)      Intentionally deleted.

                      (H)      Intentionally deleted.

    13.      EDITING / BILLING:

                     (A)       Distributor may only cut and edit the Picture to the extent necessary to meet governmental censorship
    requirements. Any such cutting or editing shall only be permitted with Sales Agent's prior written approval and Distributor shall
    comply with all editing restrictions and requirements provided by Sales Agent. Except for such editing for censorship, the Picture
                                                                      5

                                                                                                       Exhibit 5a Page 127
FOIA Confidential Treatment Requested                                                                                  JJMT-SEC-0004948
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 129 of 245 Page ID #:850
    shall be exhibited and otherwise distributed only in its original continuity as supplied by Licensor without alteration,
    interpolation, cut or elimination.

                      (B)      Distributor may include, before or after the Picture and all credits thereof, the credit or logo of
    Distributor, which precise placement must be pre-approved in writing by Sales Agent.

                      (C)      Intentionally deleted.

                      (D)      Distributor shall not do any of the following:

                      (i)      Change the title of the Picture as it appears in the original language of the Picture (except that
                               Distributor may translate the title in the Authorized Language(s);

                      (ii)     Alter or delete any credit, logo, copyright notice or trademark notice, or anti-piracy warning appearing
                               on the Picture; and

                      (iii)    Include any advertisements or other material in the Picture, preceding the Picture, or following the
                               Picture in any medium including Home Video other than an approved anti-piracy warning and
                               commercials for Free TV exploitation (if Free TV rights are licensed herein).

                        (E)     Distributor’s obligations hereunder shall be binding on its subsidiaries, parents, affiliates, agents, sub-
    distributors and licensees.

             14.      15.      MUSIC CONTAINED IN THE PICTURE:

                      (A)      Licensor will be responsible for acquiring all rights necessary to synchronize the music contained in the
    Picture as delivered to Distributor and on all copies exploited by Distributor hereunder, and for paying all royalties or charges
    incurred in obtaining and maintaining such synchronization licenses in effect for the Term.

                       (B)       The Performance Rights with respect to the music contained in the Picture shall either be in the public
    domain in the Territory, be controlled by Licensor sufficient to allow Distributor to exploit all of Licensed Rights without the
    necessity of any additional payment, or be available by license from the local music performing rights society in the Territory
    affiliated with the American Society of Composers, Authors and Publishers (ASCAP), Broadcast Music, Inc. (BMl), or SESAC,
    Inc. (SESAC). Distributor will be solely responsible for any royalties, however denominated, which any mechanical, performing
    or authors right society in the Territory attempts to collect in connection with the exploitation of the Picture in the Territory.



    16.      ADDITIONAL TERMS:

             (A)      Distributor acknowledges that the financing for the Picture will be provided by financiers who may require a
    completion guarantee or other financial assurances. The Distributor agrees to execute within twenty-four (24) hours of receipt
    such further documentation as may be required by the Licensor to accommodate such interests, including, without limitation, an
    Acceptance and Acknowledgement of a Notice of Assignment in the form customarily required by such financiers and
    completion guarantor (if any), and any and all documents or other instruments and acts required by such financiers and/or
    completion guarantor in connection with the establishment of a collection account or otherwise. In the event Distributor fails to
    execute and deliver all such documentation within five (5) business days of receipt of written notice thereof, then Distributor
    agrees that Sales Agent may, as it may elect in its discretion, terminate this Agreement or execute such documentation in the
    name of Distributor, for which purpose Distributor hereby irrevocably appoints Sales Agent as Distributor's attorney-in-fact, a
    power coupled with an interest, with full right to execute any and all such documentation.

             (B)      Licensor may, in its absolute discretion, require Distributor to establish a Letter of Credit or other such form of
    payment (by way of example only, a bank guarantee) acceptable to Licensor to secure all or any part of the License Fee. In the
    event that the Licensor requests any such Letter of Credit(s), Distributor shall open the Letter of Credit and deliver same to Sales
    Agent within ten (10) working days following the Sales Agent’s request. The Letter of Credit and any confirmation which may
    be required by Licensor or Licensor’s bank must be irrevocable and in a format and issued by a bank acceptable to Licensor and
    Licensor’s bank. At Sales Agent’s election, any failure on Distributor’s part to deliver the Letter of Credit within such ten (10)
    day period may result in the termination of this Distribution Agreement by written notice to Distributor. All costs of the Letter of
    the Credit and of any required confirmation shall be paid by Distributor.
                                                                        6

                                                                                                         Exhibit 5a Page 128
FOIA Confidential Treatment Requested                                                                                     JJMT-SEC-0004949
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 130 of 245 Page ID #:851

             (C)     Neither Licensor nor Sales Agent can guarantee against piracy in the Territory and any piracy of the Picture,
    whether occurring before or after execution of this Agreement, shall not constitute a breach by Licensor nor a basis for damages
    claims, payment reductions, or termination hereunder.


             (D)      Any delay of action hereunder by Sales Agent shall not be construed as a waiver of any rights or remedies, and
    any express waiver by Sales Agent of any specific right or remedy hereunder shall not constitute a waiver of any other rights or
    remedies regarding the same issue (including without limitation any preceding, continuing, or succeeding breach) or any other
    matter arising under this Agreement.

              (E)      Any terms not set forth in this Agreement (including any capitalized words used herein without express
    definition) will be determined solely by reference to the most current IFTA Standard Terms and Conditions (“STCs”) as of the
    date of this Agreement, which STCs are incorporated in their entirety herein and thereby comprise an integral component of this
    Agreement. In the event of any inconsistency between the terms of this Agreement and the STCs, the terms of this Agreement
    prevail.

             (F)    Sales Agent is acting solely in its capacity as duly authorized agent on behalf of Licensor in connection with
    this Agreement.

    17.      NOTICES: All notices hereunder shall be in writing and shall be sent to the recipients at the address and/or fax
    number and/or email address set forth above (or such subsequently changed address of which the sending party has received
    notice hereunder). Notices to Licensor shall be sent to the attention of c/o SIERRA/AFFINITY, whose fax number is (310) 587-
    2381.

    18.      REPRESENTATIONS AND WARRANTIES: Distributor represents and warrants to Licensor that:

              (A)      It has full authority and capacity to execute this Agreement and full legal and financial ability to perform all of
    its obligations under this Agreement;

              (B)      There are no existing or threatened claims or litigation which would adversely affect or impair Distributor's
    ability to perform under this Agreement;

             (C)       No dubbed or subtitled version of the Picture created by or to be created by Distributor does or will: (a) defame,
    or hold in a false light, or infringe any privacy or publicity or other personal right of any person; or (b) infringe any copyrights,
    trademark, patent, trade secret, rights of ideas, or similar property rights of any person;

            (D)       It will employ at all times controls in accordance with prevailing customary standards in the Territory as used
    by major studios to prevent and deter theft, piracy, unauthorized copying, accessing, streaming or downloading (as applicable) of
    any copy of the Picture where the Picture is made available via any of the Licensed Rights granted herein;

             (E)      It will indemnify and hold harmless Licensor and Sales Agent, and their parents, officers, directors, owners,
    shareholders, employees, attorneys agents, and successors and assigns from all claims, loss, liability, damages or expenses,
    including reasonable attorney's fees and legal costs, but not including lost profits due to breach of any of Distributor's
    representations, warranties covenants or conditions under this Agreement.

            (F)       It will comply with all credit and talent obligations in connection with Picture as provided to Distributor by
    Sales Agent.

    19.      DEFAULT AND TERMINATION:

                      (A)      Distributor will be in default of this Agreement in the event of any of the following circumstances:




                                                                       7

                                                                                                         Exhibit 5a Page 129
FOIA Confidential Treatment Requested                                                                                    JJMT-SEC-0004950
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 131 of 245 Page ID #:852
             (i)      Distributor fails to pay any installment of the License Fee or any other amounts due under this Agreement or any
                      other agreement with Sales Agent when due;

             (ii)     Distributor becomes insolvent or fails to pay its debt obligations when due;

             (iii)    Distributor makes an assignment for the benefit of creditors, seeks relief under any bankruptcy law or similar
                      law for the protection of debtors, or allows a petition of bankruptcy to be filed against it, or a receiver or trustee
                      to be appointed for substantially all of its assets that is not removed within thirty (30) days;

             (iv)     Distributor breaches any material term, covenant or condition of this Agreement or any other agreement with
                      Sales Agent;

             (v)      Any affiliate, parent, subsidiary, sub-distributor, or licensee of Distributor breaches any material term, covenant
                      or condition of this Agreement or any other agreement with Sales Agent; term, covenant or condition of this
                      Agreement or any other agreement with Sales Agent;

             (vi)     Distributor attempts to make any assignment, transfer, sublicense or appointment of an agent without Sales
                      Agent’s prior written approval; or

             (vii)    Distributor fails timely to sign a Notice of Assignment as provided below.

                      (B)      Sales Agent will give Distributor notice of any claimed default. If the default is capable of cure, then
    Distributor will have ten (10) days after receipt of Sales Agent’s notice to cure a monetary default, and twenty (20) days after
    receipt of Sales Agent's notice to cure a non-monetary default. If the default is incapable of cure, or if Distributor fails to cure
    within the time provided, then Licensor may proceed against Distributor for available relief, including but not limited to
    terminating this Agreement or any other agreement with Sales Agent retroactive to the earliest date of default, suspending
    Delivery of the Picture, and declaring all unpaid amounts due Licensor immediately due and payable.

                     (C)       As a result of termination of this Agreement or any other agreement between Distributor and Sales
    Agent, with respect to those pictures as to which all rights are terminated:

             (i)      All licensed rights in and to such picture shall automatically revert to Licensor, free and clear of any and all
                      encumbrances and any sub-distribution agreements entered into by Distributor (other than those sub-
                      distribution agreements deemed assigned to Licensor as specified below);

             (ii)     All of Distributor's rights under any sub-distribution and license agreements that have been pre-approved in
                      writing by Sales Agent shall be deemed to have been assigned to Licensor (and any such sub-distribution
                      agreements not so approved, shall be deemed automatically terminated) and all payments to be made under
                      such agreements shall be paid directly to Licensor who may notify all relevant parties of such assignment to
                      Licensor;

             (iii)    All monies payable by exhibitors or sub-distributors to Distributor in respect to such picture shall be paid to
                      and retained by Licensor;

             (iv)     Any portion of the License Fee for this Picture and License Fee(s) for such other picture(s) theretofore paid by
                      Distributor shall be retained by Licensor or Sales Agent and any unpaid portion of the License Fee for this
                      Picture or for such other picture(s), if any, shall accelerate and immediately become due and payable to
                      Licensor or Sales Agent;

             (v)      Licensor shall be entitled to immediate possession of all digital and film pre-print and print elements and copies
                      of the Picture and such other picture(s), advertising materials and all other materials (including any Delivery
                      Materials) pertaining to same;

             (vi)     Distributor shall execute and deliver all instruments requested by Sales Agent to effectuate a termination of this
                      Agreement and its rights in the Picture or for such other picture(s) as applicable, including without limitation
                      instruments necessary or appropriate to reflect such termination on the public records of governmental agencies
                      and/or with industry organizations in the Territory which maintain records of a similar nature;

             (vii)    Distributor shall turn over all records, including books, billing and delivery records to the Picture or such other
                                                                        8

                                                                                                          Exhibit 5a Page 130
FOIA Confidential Treatment Requested                                                                                      JJMT-SEC-0004951
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 132 of 245 Page ID #:853
                      picture(s), and all monies on hand, if any, relating to the Picture or such other picture(s); and

             (viii)   Distributor hereby irrevocably appoints Sales Agent as Distributor's attorney-in-fact, a power coupled with an
                      interest, with full right to execute any and all assignments and other instruments deemed by Sales Agent to be
                      reasonably necessary or desirable to evidence the transactions provided hereunder and to protect its rights under
                      this Agreement or such other agreement(s) as applicable.

    20.      TERMINATION OTHER THAN FOR DEFAULT:

                       (A)     Upon written notice to Distributor, Sales Agent may in its sole discretion terminate this Agreement if
    principal photography of the Picture has not commenced within twelve (12) months following the date of this Agreement, the
    Picture is not ready for Delivery to Distributor within twenty-four (24) months following the date of this Agreement, or Licensor
    or Sales Agent abandons the Picture either prior to or after the commencement of principal photography.

                      (B)       In the event of such termination, Licensor shall return to Distributor such portion of the License Fee
    theretofore paid to Licensor by Distributor, and Distributor shall return to Sales Agent any and all materials, including, without
    limitation, all physical film materials, Delivery Materials, publicity materials and documents theretofore furnished by Sales
    Agent to Distributor in connection with the Picture. Neither Licensor nor Sales Agent shall have any additional obligation of any
    kind whatsoever to Distributor, or anyone claiming through Distributor, by reason of such termination.

                       (C)     Distributor shall execute and deliver all instruments requested by Sales Agent to effectuate a
    termination of this Agreement and its rights in the Picture, including without limitation instruments necessary or appropriate to
    reflect such termination on the public records of governmental agencies and/or with industry organizations in the Territory which
    maintain records of a similar nature. Distributor shall turn over all records, including books, billing and delivery records to the
    Picture and all monies on hand, if any, relating to the Picture. Distributor hereby irrevocably appoints Sales Agent as Distributor's
    attorney-in-fact, a power coupled with an interest, with full right to execute any and all assignments and other instruments
    deemed by Sales Agent to be reasonably necessary or desirable to evidence the transactions provided hereunder and to protect its
    rights under this Agreement.

    21.      CHOICE OF LAW / ARBITRATION / FORUM:

             (A)       This Agreement shall be subject to the laws of the State of California applicable to agreements wholly executed
    and performed therein, and all parties hereby irrevocably consent to the exclusive jurisdiction and venue of the Federal and State
    courts located in Los Angeles County for any court matters arising hereunder.

              (B)      Any and all disputes under this Agreement shall be submitted exclusively to binding arbitration ("IFTA
    Arbitration") in Los Angeles, California under the Rules of International Arbitration of the International Film and Television
    Alliance ("IFTA Arbitration Rules") in effect as of the date the request for arbitration is filed. Each party waives any righ t to
    adjudicate any such dispute in any other court or forum and Distributor waives any and all rights to seek equitable or injunctive
    relief or to rescind or terminate this Agreement or to seek such rescission or termination. Los Angeles County will be deemed
    the "Forum" under the IFTA Arbitration Rules. Licensor (and where applicable Sales Agent) and Distributor agree to accept
    service of process for IFTA Arbitration in accordance with such Rules and to accept service of process for any judicial or ot her
    proceedings provided for hereunder by certified mail, return receipt requested, courier, or other personal delivery at the address
    indicated on this Agreement. Licensor (and where applicable Sales Agent) and Distributor agree to abide by any decision
    rendered in an IFTA Arbitration, and that any court having jurisdiction may enter judgment affirming such decision and may
    enforce such judgment in accordance with its powers.

              (C)     Without limiting the aforesaid arbitration provisions and notwithstanding the exclusive jurisdiction provisions
    above, Licensor and Sales Agent shall additionally each have the right to proceed in any court of competent jurisdiction
    anywhere in the world to either (i) seek such interim protective relief, including equitable remedies as may be considered
    reasonably necessary to protect their rights and entitlements pursuant to this Agreement, or (ii) seek enforcement of any
    arbitration award or related judgment hereunder.

             (D)      The prevailing party or parties in any arbitration hereunder shall be entitled to an award in such arbitral
    proceeding for reimbursement of its or their (as applicable) legal fees (including attorneys fees) and costs of arbitration (including
    discovery and expert witness costs). The prevailing party or parties in any judicial action hereunder shall similarly be entitled to
    court order or judgment reimbursing it or them (as applicable) for all legal fees (including attorneys fees) and costs incurred in
    connection with such matter and in connection with any applicable arbitration as aforesaid.

                                                                        9

                                                                                                          Exhibit 5a Page 131
FOIA Confidential Treatment Requested                                                                                     JJMT-SEC-0004952
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 133 of 245 Page ID #:854
    22.      CONFIDENTIALITY: All terms of this Agreement shall be confidential and not disclosed to any third party except
    each party's accountants, attorneys and agents, and as necessary to perform each parties' rights and obligations hereunder, and
    except as required by law or judicial order.

    23.      COUNTERPARTS:              This Agreement may be executed in counterparts which may be delivered by ink-signed
    originals, fax or digital copy in pdf or tiff format, each of which shall be deemed to be an original and such counterparts of all
    parties when taken together shall constitute the fully binding and executed Agreement.

    24.       BINDING AGREEMENT: This Agreement, any exhibits attached hereto, and the STC’s incorporated herein sets
    forth the entire understanding and agreement between Licensor and Distributor as to the subject matter hereof and supersedes all
    previous discussions, correspondence, inducements, agreements, warranties or representations, whether oral or written. This
    Agreement is binding on each of the parties and their respective successors and assigns. Except as expressly provided herein, this
    Agreement may only be amended in writing signed by Sales Agent on behalf of Licensor and Distributor.

    THIS AGREEMENT is executed as of the parties as of the date first above written.

                                                   [signatures on the following page]




                                                                     10

                                                                                                     Exhibit 5a Page 132
FOIA Confidential Treatment Requested                                                                                JJMT-SEC-0004953
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 134 of 245 Page ID #:855


               AGREED AND ACCEPTED:

               SIERRA/AFFINITY (“Sales Agent”) as agent
               On behalf of Shooting Films (“Licensor”)   1inMM Capital LLC (“Distributor”)


               By:                                        By:

               Its: EVP International Sales               Its: MANAGING PARTNER




                                                            11


                                                                           Exhibit 5a Page 133
FOIA Confidential Treatment Requested                                                     JJMT-SEC-0004954
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 135 of 245 Page ID #:856

                                                              Exhibit “A”

  This Exhibit A is attached and incorporated into that certain International License Agreement dated as of December 17, 2018, by
  and between SIERRA/AFFINITY ("Sales Agent") as sales agent on behalf of Shooting Films (“Licensor”) and 1inMM Capital
  LLC (“Distributor”) whereby Licensor granted to Distributor certain distribution rights in and to the motion picture entitled
  “Active Measures” (the “Picture”).


  LEGAL DELIVERABLES

  1.   Clearly legible copies of all chain-of-title documents required by Distributor, evidencing Licensor’s proper ownership and
  permitting the use of any and all literary, dramatic, musical and other material used in the production of the Program or upon which
  the Program and/or screenplay may be based, together with certificates of authorship and proof of payment in connection with the
  acquisition of the necessary rights in and to such material and the exercise of all options related thereto.

  2.    Evidence satisfactory to Distributor that there is no lien, charge, encumbrance or security interest that would adversely interfere
  with the Licensed Rights granted to Distributor.

  3.   A (a) copyright report issued by a Thomson CompuMark, (b) title report and (c) opinion issued.

  4.    A complete typewritten statement of all third party screen and paid advertising credit, name and likeness, and other third party
  obligations, restrictions and approval rights including, without limitation, all dubbing obligations (if any), director’s editing rights,
  video mastering consultation or approval rights, etc. for each individual and entity named in the billing block with excerpts from each
  applicable third party agreement setting forth the precise extent and nature of such obligations, restrictions and/or approval rights, in
  the identical order as listed in the billing block.

  5.   The proposed paid ad/packaging summary, credit and billing block layout for both full- and small-sized paid ads.

  6.   The final copyright notice, as it appears on the billing block.

  7.    Clearly legible copies of fully-executed agreements for all key actors and key production personnel (e.g., director, producer,
  writer, etc.) and any other talent and/or crew agreements requested by Distributor.

  8.    If the Program or underlying materials or properties are based upon or related to events in the real life of real persons, living or
  dead, or portrays real persons, true and correct copies of all personal releases and other documentation showing that Licensor has all
  rights necessary to permit Distributor to exploit the Picture in the manner provided herein without violating any third party rights or
  incurring any obligations to any third party.

  9.   A complete written statement showing the exact form and manner of the main and end titles of the Picture.

  10. One (1) typewritten (or computer generated) hard copy and one (1) copy in digital format of a music cue sheet in standard form
  showing the particulars of all music synchronized with the Program (all versions) and additional cue sheets for the trailer(s) and any
  other materials in connection with the Program containing original and/or licensed music. All such cue sheets will include for each
  cue: (i) the title of song; (ii) the name of the songwriter/composer; (iii) the songwriter’s/composer’s performing rights affiliation (e.g.,
  ASCAP, BMI or SESAC); (iv) the name of publisher; (v) the publisher’s performing rights affiliation; (vi) the type of use; (vii) the
  length of the use; and (viii) an indication of whether or not a master recording was licensed.

  11. Clearly legible, fully-executed copies and proof of payment for any and all synchronization licenses and master use licenses, all
  valid and sufficient to provide Distributor with the right to use and perform all musical compositions and master recordings contained
  in the Picture and trailer (if available).

  12. Clearly legible copies of the copyright registration certificate(s) with the US Copyright Office for both the screenplay and
  Picture.




                                                                      12

                                                                                                         Exhibit 5a Page 134
FOIA Confidential Treatment Requested                                                                                     JJMT-SEC-0004955
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 136 of 245 Page ID #:857




                        Exhibit 5b




                                                             Exhibit 5b Page 135
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 137 of 245 Page ID #:858




              PROMISSORY NOTE

              $ (1,998,825.00)                                                        (12/17/2018)

              Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
              California, (the ''Maker''), hereby promises to pay to Lender, JJMT CAPITAL LLC, a
              Delaware Limited Liability company located at (840 West Blackhawk, Unit #2205,
              Chicago, IL 60642), (the ''Payee'') an amount equal to (ONE MILLION NINE
              HUNDRED NINETY-EIGHT THOUSAND EIGHT HUNDRED TWENTY-FIVE)
              Dollars ($1,998,825.00) in lawful money of the United States of America, which sum
              shall be due and payable on (12/17/2019) (the ''Maturity Date''), in one (1) balloon
              payment, in like money at said office. Payment date shall be no later than TWELVE
              (12) months post confirmed funds transfer from Payee to Maker in the amount of
              (ONE MILLION FOUR HUNDRED TWENTY-FIVE THOUSAND FIVE
              HUNDRED) Dollars ($1,425,500.00).


             Prepayment Option. Maker may pay down at any time any portion of the principal sum
             outstanding without any prepayment penalty.

             Assignment of Rights. See Appendix A

              Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
              and that in the event payment of principal or interest due under this Note is not made
              when due, giving effect to any grace period which maybe applicable, the outstanding
              balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
              percent per month, for so long as such event of default continues.

              Validity of Agreement to Conform to Law. All agreements between the undersigned and
              the holder of this Note are expressly limited so that in no contingency or event
              whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
              maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
              be paid to the holder hereof for the use, forbearance or detention of money advanced
              hereunder exceed the highest lawful rate permissible under any law which a court of
              competent jurisdiction may deem applicable hereto. If, from any circumstances
              whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
              any other agreement referred to herein, at the time performance of such provision shall be
              due, shall involve transcending the limit of validity prescribed by law which a court of
              competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
              fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
              holder hereof shall ever receive as interest an amount which would exceed the highest
              lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                      Exhibit 5b Page 136
FOIA Confidential Treatment Requested                                                              JJMT-SEC-0004956
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 138 of 245 Page ID #:859



             reduction of the unpaid principal balance due hereunder and not to the payment of
             interest. This provision shall control every other provision of all agreements between the
             undersigned and the holder hereof.

              Maker’s Default. At the option of the holder hereof exercised by written notice to the
              undersigned, this Note shall become immediately due and payable upon the maker's
              failure to pay when due any payment of principal, interest or expenses due hereunder; or
              (b) failure in the performance or observance of any of the terms or conditions of any
              mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
              otherwise pertaining to this Note after giving effect to any applicable curative period
              which may be contained therein. Upon the occurrence of any of the following specified
              Events of Default, as defined under the standard conventions and terminology prescribed
              for promissory notes drafted under Warren’s California Forms for Principal, Interest,
              Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
              called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
              any Event of Default shall then be continuing, the Payee may, by written notice to the
              Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
              due and payable, whereupon the principal of and such unpaid accrued interest in respect
              of this Note shall become forthwith due and payable without presentment, demand,
              protest or other notice of any kind, all of which are hereby expressly waived by the
              Maker. Furthermore, This note shall become due and payable before the above-
              mentioned maturity date immediately upon the happening of any of the following events
              affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
              petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
              creditors, calling meeting of creditors, appointment of liquidating agent or committee,
              offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
              or for over 30 days, application for appointment or appointment of any receiver, issuance
              of warrant of attachment or death of any maker or indorser or on default of any other
              obligations to the Maker.

              Collection Costs. If this Note or any installment of principal or interest is not paid when
              due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
              collection, including without limitation, actual attorneys' fees, and all expenses in
              connection with the protection or realization of the assets and proceeds available this
              Note or the enforcement of any subsequent memorandum or agreement created in
              conjunction with this Note incurred by the holder hereof on account of such collection,
              whether or not suit is filed hereon or thereon; such costs and expenses shall include,
              without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
              hereof in connection with any insolvency, bankruptcy, arrangement or other similar
              proceedings involving the undersigned, or involving any endorser or guarantor hereof,
              which in anyway affects the exercise by the holder hereof of its rights and remedies under
              this Note or under any mortgage, deed of trust, security agreement, guaranty or other
              agreement securing or pertaining to this Note.

              Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
              nonpayment of this Note and all notices of every kind are hereby waived by all parties to




                                                                                      Exhibit 5b Page 137
FOIA Confidential Treatment Requested                                                               JJMT-SEC-0004957
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 139 of 245 Page ID #:860




              this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
              provided herein. To the extent permitted by applicable law, the defense of the statute of
              limitations is hereby waived by the undersigned.

              Death of Maker. Maker of this note hereby waives all notice and demand and consent that
              this note shall become due and payable immediately upon the happening of any of said
              events. This note shall become due and payable on the Maturity Date, but payment shall
              be accelerated and become due and payable immediately if the Maker shall die. For the
              further security of the holder thereof, the undersigned covenants that so long as any part
              of the principal or interest of this note is outstanding and unpaid, it will not grant any
              security interest to any third party upon its property, or create any lien whatsoever
              thereon, without also thereby including therein this note, equally and ratably with every
              other evidence of debt, secured by any of the undersigned's property. If, while any part of
              the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
              then the holder hereof may at his or its election, declare and make this note at once due
              and payable by written notice delivered to maker, and this remedy will be deemed
              cumulative and in addition to any other remedy available to the holder hereof. This note
              shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
              cause whatsoever.

              Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
              case of non-payment thereof at maturity, or of any installment thereof when due, may
              grant to the maker or any indorser of said note any extension or extensions of time of
              payment thereof, in whole or in part, without notice to said indorsers or any of them and
              any such extension or extensions shall not affect in any way said indorsers' liability upon
              note, such indorsers hereby waiving demand, presentment of payment, notice of
              nonpayment and protest and do further agree that any holder of this note may in the event
              of default in the payment of principal of, or interest upon, this note or any installment
              thereof repossess and/or sell the (collateral) held as collateral security for the payment of
              this note without in any way relieving said indorsers, or any of them, of any liability by
              reason of such repossession and/or sale, applying the proceeds of sale of any such asset
              less all costs to amount due under this note, and all indorsers agree to pay any deficiency
              on this note on demand.

              Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
              rights under this Note, the unsuccessful party or parties to such litigation, as determined
              by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
              or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
              party or parties (including, without limitation, such costs, expenses and fees on any
              appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
              judgment or decree.

              General Provisions. Principal and interest evidenced hereby are payable only in lawful
              money of the United States. The receipt of a check shall not, in itself, constitute payment
              hereunder unless and until paid in good funds. Whenever any payment on this Note shall
              be stated to be due on a day, which is not a business day, such payment shall be made on




                                                                                       Exhibit 5b Page 138
FOIA Confidential Treatment Requested                                                                 JJMT-SEC-0004958
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 140 of 245 Page ID #:861


               the next succeeding business day and such extension of time shall be included in the
               computation of the payment of interest of this Note. This Note is to be governed by and
               construed in accordance with the laws of the State of California except to the extent
               United States federal law permits the holder to contract for, charge or receive a greater
               amount of interest. In any action brought under or arising out of this Note, the
               undersigned hereby consents to the in personam jurisdiction of any state or federal
               court sitting in the state of California, and waives any claim or defense that such forum
               is not convenient or proper, and consents to service of process by any means
               authorized by California and/or Federal law.


               THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
               UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
               OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
               RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
               ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
               HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
               WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
               CONTRACT OR IN TORT OR OTHERWISE.



                                                                     12/20/18

               1INMM Capital, LLC                                   Date
               Zachary Horwitz, Manager




                                                                                     Exhibit 5b Page 139
FOIA Confidential Treatment Requested                                                              JJMT-SEC-0004959
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 141 of 245 Page ID #:862




                                                    APPENDIX A


                                                   ASSIGNMENT

            This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at 5550 Wilshire
            Blvd #523 Los Angeles, CA 90036 (“Assignor”) and JJMT CAPITAL LLC, a Delaware Limited
            Liability company located at 840 West Blackhawk, Unit #2205, Chicago, IL 60642
            (“Assignee”) is dated effective as of ( 12 / 17 / 2018).

            For good and valuable consideration, the receipt and sufficiency of which hereby
            acknowledged, Assignor does hereby irrevocably and unconditionally sell, grant, convey,
            and assign unto Assignee all of Assignor’s rights, title and interest of every kind and nature,
            throughout the universe, until assignee is paid ($1,998,825.00) at to which time all rights,
            title and interest of every kind and nature revert back to Assignor and to that certain
            motion picture, currently entitled “ACTIVE MEASURES” (the “Picture”) based on the original
            screenplay entitled “ACTIVE MEASURES” directed by Jack Bryan.

            1. Assignor hereby represents and warrants:

                   1.1.    That Assignor is the sole and exclusive owner of the rights and privileges
                           granted or to be granted to Assignee hereunder.
                   1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                           Assignment.
                   1.3.    That, as of the effective date hereof, no part of the rights herein conveyed
                           has in any way been encumbered, conveyed, assigned, transferred or
                           otherwise disposed of and all such rights are therefore free and clear of any
                           and all liens, claims, charges or encumbrances whatsoever in favor of any
                           party whatsoever.

            2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and
               hold them harmless from and against any and all claims, liability, losses, damages, costs,
               expenses (including but not limited to attorney’s fees) arising out of any breach by
               Assignor of any warranty made by Assignor hereunder.

            3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor
               which accrue after the date hereof.

            4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or
               any similar law in any country of the world and agrees not to institute or permit any
               action or lawsuit on the ground that the Picture in any way constitutes an infringement
               of any “droit morale” and Assignor agrees that Assignor shall not, under any
               circumstances (including without limitation, the circumstances of a breach by Assignee)
               be entitled to enjoin the exhibition or other exploitation of the Picture, to terminate or
               rescind any rights granted to Assignee or to obtain any other form of equitable relief,
               specific performance or otherwise, any right to which Assignor expressly waives.

            5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to
               any person, firm or corporation. Assignee may assign this Assignment and the rights




                                                                                         Exhibit 5b Page 140
FOIA Confidential Treatment Requested                                                                   JJMT-SEC-0004960
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 142 of 245 Page ID #:863




                and services granted herein, together with the results and proceeds thereof, and the
                representations and warranties contained herein, to any person or entity.

            6. This Assignment shall be construed in accordance with the laws of the state of California
               and shall be binding upon and shall inure to the benefit of the parties hereto and their
               respective successors, licensees and assigns. This Assignment cannot be amended or
               modified except in a writing signed by all parties hereto.

            IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED THIS
            ASSIGNMENT AS OF THE (17)th DAY OF December 2018.



            1INMM CAPITAL, LLC (“Assignor”)               JJMT CAPITAL LLC (“Assignee”)



            By: __________________________________        By: _________________________________

            Its: __________________________________       Its: _________________________________




                                                                                           Exhibit 5b Page 141
FOIA Confidential Treatment Requested                                                                  JJMT-SEC-0004961
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 143 of 245 Page ID #:864




                        Exhibit 5c




                                                             Exhibit 5c Page 142
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 144 of 245 Page ID #:865
                                               LICENSE AGREEMENT
         This License Agreement (“Agreement”) is entered into as of December 21th, 2018 (the
         “Effective Date”) by and between 1inMM Capital LLC, with its principal place of business
         at 5550 Wilshire Blvd #523 Los Angeles, CA 90036 (“Licensor”) and NETFLIX, INC., a
         California Corporation, with its principal place of business at 335 N Maple Dr. #353,
         Beverly Hills, CA 90210 (“Netflix”).
                                                         Recitals
         Licensor is a Distributor and owner of all rights hereby granted for “Active Measures” (the
         “Title”), directed by Jack Bryan and “Divide and Conquer: The Story of Roger Ailes” (the
         “title”), directed by Alexis Bloom.
         Netflix is a digital platform.
         Licensor and Netflix desire to enter into a relationship whereby Licensor will grant Netflix,
         among other things, a license to distribute the Title to subscribers within the Territory, as defined
         below, all in accordance with the terms and conditions set forth below.
                                                       Agreement
         In consideration of the mutual promises contained herein and such other good and valuable
         consideration, the parties agree as follows:
         1. Definitions.
             1.1.     “Affiliate” shall mean any business entity which Licensor and Netflix directly or
                      indirectly controls, is controlled by, or is under common control with, where
                      “control” is defined as the ownership of at least fifty percent (50%) of the equity or
                      beneficial interest of such entity or the right to vote for or appoint a majority of the
                      board of directors or other governing body of such entity or otherwise possesses the
                      power to direct the affairs of the entity.
             1.2.     “Basic TV” shall mean the delivery and/or exhibition of a motion picture, television
                      show or other entertainment product by means of cable, satellite or any other
                      electronic or non-tangible means (whether analog or digital, or via the Internet or any
                      other electronic or non-tangible medium now known or hereafter devised) where the
                      consumer is charged a recurring fee and/or periodic access charge for the first or
                      lowest tier(s) of service (including a tier that is required to be purchased or accessed
                      before access to other programming services is permitted), regardless of whether such
                      exhibition is on a regularly scheduled basis or made available to the viewer on an on
                      demand basis at the consumer’s discretion.
             1.3.      “Electronic Sell-Through” or “EST” shall mean the delivery and/or exhibition of a
                      motion picture, television show or other entertainment product, solely on a non-ad
                      supported basis, where the timing and/or selection of same is not pre-determined, but
                      rather is at the consumer’s discretion, and for which, and the right to permanently
                      download, retain and/or have access to same, the consumer is charged a transactional
                      fee.
             1.4.     “Free TV” shall mean the delivery and/or exhibition of a motion picture, television
                      show or other entertainment product by means of over the air signals (including the
                      retransmission of such signals by cable, satellite or any other electronic or non-
                      tangible means) whether analog or digital, or via the Internet solely on one (1)
                      website owned and operated by one (1) free-to-air broadcaster and branded as such
                      broadcaster’s website, where the consumer (i) is not charged a fee (except for the
                      license fee, if any, payable for the right to use a television set in certain territories)
                      and (ii) is required to view or is otherwise exposed to commercial interruptions
                      (display or interstitial).
             1.5.     “High Definition” shall mean a resolution of greater than or equal to 720p.




                                                             1                                Exhibit 5c Page 143
FOIA Confidential Treatment Requested                                                                        JJMT-SEC-0004962
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 145 of 245 Page ID #:866
             1.6.    “Home Video” shall mean the commercial release of a motion picture, television
                     show or other entertainment product for purchase and/or rent on optical media, such
                     as DVD and/or Blu-ray disc.
             1.7.    “Internet Transmission” shall mean the transmission of data via Internet Protocol,
                     including without limitation through use of client software contained on a Blu-ray
                     disc or other optical media.
             1.8.    “License Fees” shall mean, collectively, as set forth in more detail in Section 4.1.
             1.9.    “Licensed Languages” shall mean, for each Title hereunder, (i) its original language,
                     (ii) neutral or Mexican Spanish (in subtitled form (and, if available, dubbed form) if
                     the original language is other than Spanish), and (iii) Brazilian Portuguese (in
                     subtitled form, if available (and, if available, dubbed form) if the original language is
                     other than Brazilian Portuguese).
             1.10.   “Netflix-Enabled Device” or “NED” shall mean any device capable of receiving data
                     via Internet Transmission, subject to the security and copy protection specifications
                     set forth in Section 2.5 or otherwise agreed to by the parties, including without
                     limitation (i) a desktop or laptop computer; (ii) a television set; (iii) a set top box,
                     including a box that offers an integrated personal digital video recorder (DVR); (iv) a
                     DVD and/or Blu-ray player; (v) a game console; (vi) a portable device, including
                     without limitation a mobile phone or tablet; or (vii) a device with a web browser
                     interface or other like capability.
             1.11.   “Netflix Service” shall mean a global subscription service that provides subscribers
                     with on-demand access to movies and television content, and delivers such content
                     through Internet Transmission to NEDs (including User Interfaces on same) and/or,
                     currently in the United States only, in optical disc format (e.g., DVD, Blu-ray).
             1.12.   “Pay Per View” or “PPV” shall mean the delivery and/or exhibition of a motion
                     picture, television show or other entertainment product, where the timing and/or
                     selection of same is pre-determined, and not at the consumer’s discretion, where the
                     consumer is required to view the content over a limited period of time, and for which
                     the consumer is charged a transactional fee.
             1.13.   “Pay TV” shall mean the delivery and/or exhibition of a motion picture, television
                     show or other entertainment product by means of cable, satellite or any other
                     electronic or non-tangible means (whether analog or digital, or via the Internet or any
                     other electronic or non-tangible medium now known or hereafter devised) where the
                     consumer is charged a recurring fee and/or periodic access charge in addition to or in
                     a greater amount than any fee payable in order to receive Basic TV, regardless of
                     whether such exhibition is on a regularly scheduled basis or made available to the
                     viewer on an on demand basis at the consumer’s discretion.
             1.14.   “Source Material” shall mean the source files for the Titles and associated trailers,
                     artwork, promotional materials and metadata (including without limitation audio and
                     closed captioning files), the delivery specifications for which are detailed in Schedule
                     B attached hereto.
             1.15.   “Start Date” shall mean, for each Title, the date such Title may first be made
                     available for exhibition on and distribution, as detailed on Schedule A attached hereto
                     or, on the notifications Licensor shall provide to Netflix pursuant to Section 3.1.3.
             1.16.   “Subscription Video-on-Demand” or “SVOD” shall mean the delivery and/or
                     exhibition of motion pictures, television and/or other entertainment products on a
                     commercially uninterrupted basis where the consumer is charged a recurring fee
                     and/or periodic access charge for the service.
             1.17.   “Taxes” shall mean all federal, state, local, foreign and other net income, gross
                     income, gross receipts, sales, use, value added, goods and services, consumption, ad
                     valorem, transfer, franchise, profits, withholding, payroll, excise, stamp, real or
                     personal property, customs, duties or other taxes, fees, assessments or charges of any




                                                          2
                                                                                         Exhibit 5c Page 144
FOIA Confidential Treatment Requested                                                                   JJMT-SEC-0004963
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 146 of 245 Page ID #:867
                        kind whatsoever, including any related penalties and interest, imposed by any federal,
                        territorial, state, local, or foreign government or any agency or political subdivision
                        of any such government.
             1.18.      “Term” shall mean the period commencing on the Effective Date and ending on the
                        expiration date of the last to expire Title License Period.
             1.19.      “Territory” shall mean the following countries and each of their respective territories,
                        possessions, commonwealths, and trusteeships:
                        Mexico;

                        Central America, including Belize, Costa Rica, Guatemala, El Salvador, Honduras,
                        Nicaragua and Panamá;

                        South America, including Argentina, Bolivia, Brazil, Chile, Colombia, Ecuador,
                        Paraguay, Peru, Uruguay and Venezuela; and

                        The Caribbean Basin Islands, including Anguilla, Antigua, Barbuda, Aruba,
                        Barbados, British Virgin Islands, Dominica, Dominican Republic, Grenada,
                        Guadeloupe, Haiti, Jamaica, Martinique, Montserrat, the Netherland Antilles, St.
                        Kitts and Nevis, St. Lucia, St. Vincent and the Grenadines, Trinidad, Tobago, and the
                        Turk and Caicos Islands.
             1.20.      “Theatrical” shall mean the exhibition of a motion picture, television show or other
                        entertainment product or program (regardless of the means of delivery) in
                        conventional, drive-in or special format (e.g., iMax) theaters that are open to the
                        general public and for which an admission fee is charged.
             1.21.      “User Interfaces” shall mean web applications built using Application Programming
                        Interfaces (commonly known as APIs) released by Netflix, which applications enable
                        subscribers and potential subscribers to link to or otherwise use the Netflix Service on
                        NEDs.
             1.22.      “Video-on-Demand” or “VOD” shall mean the delivery and exhibition of a motion
                        picture, television show or other entertainment product, where the timing and/or
                        selection of same is not scheduled, but rather is at the consumer’s discretion, where
                        the consumer can view the content over a limited period of time, and for which the
                        consumer is charged a transactional fee.
             1.23.      “Years” shall mean three (3) successive periods of twelve (12) calendar months
                        during the Term, the first of which shall begin on as detailed on Schedule A.


          2. Grant of Licenses.
             2.1.       Title License.
                    2.1.1. Licensor grants to Netflix during the Term the exclusive right and license to exhibit
                           and distribute the Title (and associated Source Material) in any or all of the
                           Licensed Languages within the Territory solely by way of Internet Transmission via
                           SVOD and AVOD, the Netflix Service to NEDs (including User Interfaces on
                           same).
                    2.1.2. Licensor also grants to Netflix during the Term a limited, non-exclusive right and
                           license to copy, install, compress, uncompress, encode, encrypt, decode, decrypt,
                           display, use, cache, store and transmit the Titles (and associated Source Material)
                           for purposes of such approved exhibition and distribution.
             2.2.        Marketing and Promotion.
                    2.2.1.   Trademark License. Licensor grants to Netflix during the Term a limited, non-
                             exclusive right and license to copy, install, display, use, cache, store, transmit,
                             exhibit and distribute Licensor’s trademark(s) and logo(s) identified on Schedule




                                                             3
                                                                                            Exhibit 5c Page 145
FOIA Confidential Treatment Requested                                                                     JJMT-SEC-0004964
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 147 of 245 Page ID #:868
                             C (collectively, “Licensor Marks”) for purposes of exercising its rights under this
                             Section 2.
                    2.2.2.   Marketing; Pre-promotion. Subject to Section 5.4, Netflix may, commencing
                             sixty (60) calendar days prior to each Title’s Start Date, market and promote the
                             availability of such Title through the any Service here granted.
                    2.2.3.   Introductory Segments; Promotion To Non-Subscribers. Licensor grants to
                             Netflix during the Term a limited, non-exclusive right and license to cut each
                             Title to create short promotional clips, each of which shall consist of no more
                             than three (3) consecutive minutes in length of a Title, an “Introductory
                             Segment”. Licensor further grants to Netflix during the Term a limited, non-
                             exclusive right and license to (a) exhibit and distribute, solely by way of Internet
                             Transmission, Source Material (excluding Titles) and Introductory Segments to
                             subscribers and potential subscribers for purposes of marketing and promoting
                             the availability of the Titles through the Netflix Service and (b) copy, install,
                             compress, uncompress, encode, decode, encrypt, decrypt, display, use, cache,
                             store and transmit such materials for purposes of such approved exhibition and
                             distribution. For the avoidance of doubt, Netflix need not encrypt Introductory
                             Segments or trailers.
             2.3.       Encryption; Copy Protection. Netflix shall, at all times during the Term, implement
                        security and copy protection technologies with respect to each Title, including geo-
                        filtering and encryption technologies, that are at least as protective as the then-current
                        industry standard in the Territory and which shall be no less protective than those
                        provided by Netflix to other platforms in the Territory. Once terminated this
                        Agreement by any cause, Netflix shall destroy, eliminate and/or return to Licensee
                        any and all protection copy.
             2.4.       Geo-filtering. Netflix shall, at all times during the Term, implement geo-filtering
                        technology to restrict access to Titles, via the Netflix Service, to subscribers within
                        the Territory that is at least as protective as the then-current industry standard in the
                        Territory and which shall be no less protective than those provided by Netflix to other
                        platforms in the Territory. Notwithstanding the foregoing, Licensor acknowledges
                        that Netflix cannot guarantee that current geo-filtering technology shall be effective
                        in every instance.
             2.5.       For the avoidance of doubt, Netflix may offer the Netflix Service, including the Titles
                        licensed hereunder, on NEDs where a subscriber is required to use a third party
                        service (including without limitation a User Interface) and/or make payment to such
                        third party to use the Netflix Service (whether such payment is for an additional
                        charge in order to access the Netflix Service and/or for the relevant subscription fee
                        for the Netflix Service itself). Such third parties may also offer interactive features,
                        such as on-screen chat functionality or simultaneous or coordinated viewing. By way
                        of example only, the Netflix Service may be offered through a game console such as
                        the Microsoft Xbox, wherein use of the Netflix Service by subscribers through such
                        NED requires the payment of a recurring, material fee to Microsoft Corporation
                        and/or payment of the relevant Netflix Service subscription fee to Microsoft
                        Corporation.
             2.6.       Notwithstanding anything to the contrary in this Agreement, but without in any way
                        limiting Netflix’s security and related obligations pursuant to Sections 2.5 and 2.6 or
                        Netflix’s indemnification obligations pursuant to Section 6.3, Netflix shall not be
                        responsible or liable for any acts or omissions of, or resulting from a consumer’s use
                        of, a third party NED and/or any third party software (including any User Interface).
             2.7.       Exclusivity; Holdbacks. Netflix shall be the exclusive SVOD and AVOD licensee in
                        the Territory during such Title’s Title License Period. Further, during the period
                        commencing on the first day of the Term and continuing through the expiration of the
                        Title License Period, as applicable, Licensor (and its Affiliates) shall not, and shall
                        not license or permit any third party to, license, exhibit, distribute or otherwise




                                                              4
                                                                                             Exhibit 5c Page 146
FOIA Confidential Treatment Requested                                                                       JJMT-SEC-0004965
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 148 of 245 Page ID #:869
                  exploit such Title in the Territory other than on a Theatrical, Home Video, VOD, or
                  purely EST, (e.g., no Basic TV exploitation, no Pay TV exploitation, no SVOD
                  exploitation, no AVOD). Holdback against Free TV and Basic Cable only during the
                  first 18 months. Licensor acknowledges that this provision and Licensor’s
                  performance of its obligations under this Section is essential to Netflix and its
                  willingness to enter into this Agreement.
       3. License Fees.
           3.1.   License Fees. Netflix shall pay Licensor the License Net Fee of $4,200,000.00 (Four
                  Million Two Hundred Thousand US Dollars and 00/100), including Taxes and
                  withholdings, agreeing both parties that any and all discounts, withholdings, taxes or
                  similar will be absorbed by the Netflix.
           3.2.   Payment Details. License Fee shall be due and payable as follows: the amount of
                  $4,200,000.00 (100%) for two (2) Titles due 365 days after the delivery of the
                  required materials as established in this Agreement and as defined on Schedule A.
           3.3.   Taxes. Each party shall, as set forth in more detail in Section 5, indemnify the other
                  for failure to pay any Taxes payable by such party pursuant to this Section and/or
                  applicable law.
       4. Delivery.
                  4.1. Source Material. Licensor shall create and deliver, at its sole expense, Source
                       Material for each Title set forth on Schedule A as of the Effective Date to
                       Netflix no later than ninety (90) calendar days prior to the applicable Start Date
                       or such other date agreed to in writing by the parties. Source Material shall be
                       loaned to Netflix for the purpose of encoding and shall be, at Licensor’s option,
                       either destroyed or, with written notice, returned to Licensor within ninety (90)
                       calendar days of accepted delivery. Licensor shall also provide, at Netflix’s
                       request, accurate music cue sheets for each Title.
                  4.2. Specifications. All Source Material shall be provided to Netflix in accordance
                       with the specifications set forth in, and accompanied by all information required
                       by, Schedule B. For the avoidance of doubt, in the event that Source Material is
                       provided in encrypted format, including for example on DVD, Netflix shall be
                       permitted to decrypt such media as necessary prior to encoding and/or encode
                       directly from such media. Notwithstanding anything to the contrary in this
                       Agreement, no advertising elements (pre-roll, bugs, bumpers, placards, etc.) or
                       overlay branding (either Licensor’s or any other third party’s) shall be included
                       before, after or within any Source Material for a Title delivered hereunder.
                       Source Material shall be delivered in the highest quality and resolution available
                       to Licensor (e.g., if not available in 1080p, then delivered in 1080i, or if not
                       available in 1080i, then delivered in 720p), including without limitation High
                       Definition
                  4.3. Acceptance. Upon Netflix's receipt of the Source Material for a Title, Netflix
                       shall have thirty (30) calendar days in which to send Licensor written notice of
                       its acceptance ("Notice of Acceptance") or rejection ("Notice of Rejection") of
                       the Source Material for that Title, such acceptance or rejection to be determined
                       by Netflix based solely upon whether such material complies with Schedule B.
                  4.4. Rejection. Upon Licensor’s receipt of a Notice of Rejection, if any, Licensor
                       shall, without delay and at its sole expense, replace the defective Source
                       Material. In the event that Licensor is unable to provide an acceptable Source
                       Material replacement, Netflix shall not be obligated to pay any License Fee with
                       respect to the relevant Title.




                                                       5
                                                                                         Exhibit 5c Page 147
FOIA Confidential Treatment Requested                                                                  JJMT-SEC-0004966
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 149 of 245 Page ID #:870
          5. Representations and Warranties; Indemnification; Limitation on Liability.
             5.1.      Netflix. Netflix represents, warrants and covenants that (i) it has the full right,
                       power, legal capacity and authority to enter into and fully perform its obligations
                       under this Agreement; (ii) there are not now any liens, claims, encumbrances, legal
                       proceedings, agreements or understandings which might conflict or interfere with,
                       limit, derogate from, be inconsistent with any of Netflix’s representations, warranties
                       or covenants contained in this Section 6.1. (iii) it has satisfied and shall satisfy during
                       the Term all third party obligations of any kind with respect to the obligations
                       acquired by this Agreement and with any third party, including the viewers of
                       Netflix; (iv) Netflix’s distribution and other exploitation of the Titles (and associated
                       Source Material and Introductory Segments) granted by this Agreement to Netflix
                       shall not violate or infringe any rights of any third party, including without limitation
                       any third party intellectual property rights, contract rights, moral rights, rights of
                       publicity, and rights of privacy, or defame or constitute unfair competition against
                       such third party; and (v) Netflix’s distribution and other exploitation of same in
                       accordance with this Agreement shall not violate any applicable law, rule or
                       regulation.
             5.2.      Licensor. Licensor represents, warrants and covenants that (i) it has the full right,
                       power, legal capacity and authority to enter into and fully perform its obligations
                       under this Agreement, and neither it nor an Affiliate has entered into an agreement
                       with another party which is inconsistent with the terms of this Agreement or would
                       otherwise prevent Licensor from fulfilling its obligations as to the Titles or under this
                       Agreement; (ii) it has and shall maintain during the Term all necessary rights, titles,
                       authorizations, consents and interests, including without limitation from all third
                       party rights holders for each Title, necessary to grant Netflix the licenses granted in
                       this Agreement, including without limitation the right to license to Netflix, on an
                       exclusive basis in accordance with Section 3.2, the Titles designated and delivered by
                       Licensor hereunder; (iii) it has satisfied and shall satisfy during the Term all third
                       party obligations of any kind with respect to the Titles (and associated Source
                       Material and Introductory Segments) and their distribution and exploitation in
                       accordance with this Agreement, including without limitation all guild residuals and
                       participations, and Netflix shall have no obligation for any such past, current or future
                       charges or similar payments; (iv) Netflix’s distribution and other exploitation of the
                       Titles (and associated Source Material and Introductory Segments) and Licensor
                       Marks in accordance with this Agreement shall not violate or infringe any rights of
                       any third party, including without limitation any third party intellectual property
                       rights, contract rights, moral rights, rights of publicity, and rights of privacy, or
                       defame or constitute unfair competition against such third party; and (v) the Titles
                       (and associated Source Material and Introductory Segments) and Netflix’s
                       distribution and other exploitation of same in accordance with this Agreement shall
                       not violate any applicable law, rule or regulation.
             5.3.      Indemnification.
                    5.3.1. Licensor will defend, indemnify and hold harmless Netflix, its directors,
                           officers and employees from any and all loss, damage, claim, liability or
                           expense (including legal fees and costs) actually incurred as a result of a
                           third party claim (“Claim”) to the extent arising out of a breach or alleged
                           breach of the representations and warranties made in Section 6.1 or (ii)
                           any failure by Licensor to pay any Taxes required to be paid to any
                           governmental entity on monies earned by Licensor hereunder or as a result
                           of Licensor’s performance of its obligations hereunder.
                    5.3.2. Netflix will defend, indemnify and hold harmless Licensor, its directors,
                           officers, employees from any and all Claim to the extent arising out of a
                           breach or alleged breach of (i) the representations and warranties made in
                           Section 6.2 and/or (ii) any failure by Netflix to pay any Taxes required to




                                                             6
                                                                                            Exhibit 5c Page 148
FOIA Confidential Treatment Requested                                                                       JJMT-SEC-0004967
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 150 of 245 Page ID #:871
                      be paid by Netflix to any governmental entity on monies earned by Netflix
                      hereunder or as a result of Netflix’s performance of its obligations
                      hereunder.
          6. Confidentiality.
          6.1 Confidential Information. Each party acknowledges and agrees that all business and
              technical information provided to it by the other party pursuant to this Agreement
              constitutes confidential and/or proprietary information of the other party
              (“Confidential Information”). Confidential Information shall includes all oral,
              written or recorded confidential and/or proprietary information about or related to the
              disclosing party or its business, including without limitation the terms and conditions
              of this Agreement. Notwithstanding the foregoing, Confidential Information does not
              include information that (i) is or becomes publicly available without breach of this
              Agreement; (ii) can be shown by documentation to have been known to the receiving
              party prior to its receipt from the disclosing party; (iii) is rightfully received from a
              third party who did not acquire or disclose such information by a wrongful or tortious
              act; (iv) can be shown by documentation to have been developed by the receiving
              party without reference to any Confidential Information; or (v) that the receiving
              party becomes legally obligated to disclose to a governmental entity with jurisdiction
              over it.
          6.2 Use of Confidential Information. Neither party shall use the other’s Confidential
              Information for its own use or for any purpose other than as necessary to perform or
              enforce its rights and/or obligations under this Agreement or as required by law, or
              disclose such information to any third party (except for attorneys, accountants, and/or
              the third party contractors identified in Section 9.3, provided such parties have reason
              to know such information and are bound to a confidentiality agreement at least as
              protective as this Section 7). Each party shall take all reasonable measures to protect
              the secrecy of and avoid disclosure of Confidential Information, which measures shall
              be no less than reasonable care and shall include all of those measures that the
              receiving party uses to protect its own Confidential Information. This Section 7 shall
              survive expiration or earlier termination of this Agreement.
          7. Termination.
             7.1.    Either party may terminate this Agreement:
                 7.1.1. in the event of a material uncured breach or default by the other party of
                        any of its obligations under this Agreement, provided that (i) notice is
                        provided to the other party in writing and (ii) such breach or default is not
                        cured within thirty (30) calendar days following the date such notice is
                        deemed given, unless such breach or default is by nature uncurable in
                        which case this Agreement shall be terminable on the date of notice; or
                 7.1.2. in the event that the other party (i) institutes or otherwise becomes a party,
                        voluntarily or involuntarily, to a proceeding alleging or pertaining to the
                        insolvency or bankruptcy of that party; (ii) is dissolved or liquidated; (iii)
                        makes an assignment of its material assets for the benefit of creditors;
                        and/or (iv) initiates or is subject to reorganization proceedings. This
                        Agreement shall be terminable on the date written notice is deemed given
                        to such party.
             7.2.    No Waiver. Waiver by either party of a single breach or default or a
                     succession of breaches or defaults shall not deprive such party of the right to
                     terminate this Agreement by reason of any subsequent breach or default.




                                                        7
                                                                                    Exhibit 5c Page 149
FOIA Confidential Treatment Requested                                                            JJMT-SEC-0004968
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 151 of 245 Page ID #:872
             7.3.  Effect of Termination or Expiration. Upon termination or expiration of this
                   Agreement, the licenses granted hereunder shall immediately terminate.
                   Nothing herein shall be construed to release either party from any obligation
                   that matured prior to the effective date of such termination or expiration (or
                   which may continue beyond such termination or expiration) or to relieve the
                   defaulting party from any and all liabilities at law or in equity to the other for
                   breach of this Agreement. Further, in the event that this Agreement is
                   terminated due to a material breach or default of Licensor, Licensor shall
                   refund or credit to Netflix, at Netflix’s option and within thirty (30) calendar
                   days of the effective date of such termination, a prorated amount of the
                   aggregate License Fees paid to Licensor, calculated as of the effective date of
                   such termination and based upon the amount of time remaining in the relevant
                   Title License Periods.
              7.4.   Survival. Those rights and obligations, which by their very nature are
                     intended to survive termination or expiration of this Agreement, shall survive,
                     including without limitation Sections 1, 2.8, 4.3, 6.3, 6.4, 7, and 8.
          8. General Provisions.
              8.1.   Governing Law; Dispute Resolution. This Agreement was fully negotiated
                     and entered into in, and shall be governed by and construed and enforced in
                     accordance with the federal laws of United States of Mexico without regard to
                     its rules on conflict of laws or any other rules that would result in the
                     application of a different body of law. The parties consent to the exclusive
                     jurisdiction and venue of the Federal and State Courts located in Mexico,
                     Federal District for purposes of any proceeding arising out of or relating to
                     this Agreement.
              8.2.   Third Party Contractors. Netflix may use third party contractors (e.g.,
                     backend fulfillment providers that encode, encrypt, store and/or host content)
                     to exercise its rights and fulfill its obligations pursuant to Section 2; provided,
                     however, that Netflix shall be fully responsible for any act or omission, or
                     failure of any right or obligation of this Agreement by such a contractor in the
                     event that such an act, failure or omission, if performed by Netflix instead of
                     such contractor, would constitute a breach by Netflix of this Agreement.
              8.3.   Notice. Notices and other communications required or permitted to be given
                     hereunder shall be given in writing and delivered in person, sent via certified
                     mail or email, or delivered by nationally-recognized courier service, properly
                     addressed and stamped with the required postage, if applicable, to the
                     applicable individuals and addresses specified in the signature block below.
                     Notice shall be deemed effective upon receipt.
              8.4.   Assignment. Neither this Agreement nor any rights, licenses or obligations
                     hereunder may be assigned by either party without the prior written approval
                     of the non-assigning party, which shall not be unreasonably withheld or
                     delayed. Notwithstanding the foregoing, either party may assign this
                     Agreement to any parent of such party, wholly-owned subsidiary of such
                     party, or any acquirer of all or of substantially all of such party's equity
                     securities or assets, provided that such party provides the non-assigning party
                     with prompt written notice. Any purported assignment not in accordance with
                     this section shall be void. Subject to the foregoing, this Agreement will
                     benefit and bind the parties' successors and assigns.
              8.5.   Severability. If any provision of this Agreement, other than a provision going
                     to the essence of the Agreement, is held to be unenforceable pursuant to



                                                        8
                                                                                     Exhibit 5c Page 150
FOIA Confidential Treatment Requested                                                              JJMT-SEC-0004969
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 152 of 245 Page ID #:873
                   Section 9.1, such decision shall not affect the validity or enforceability of any
                   other provision of this Agreement. Any provision of this Agreement held
                   invalid or unenforceable shall, to the extent practicable, be substituted with a
                   valid and enforceable provision that achieves the results contemplated by the
                   parties in the original provision.
             8.6.   Headings. The headings of Sections and subsections in this Agreement are
                    provided for convenience only and shall not affect its construction or
                    interpretation.
             8.7.   Counterparts. This Agreement may be executed in two counterparts, each of
                    which will be deemed to be an original copy of this Agreement and all of
                    which together shall constitute one and the same Agreement.
             8.8.   Entire Agreement. This Agreement supersedes all prior or contemporaneous
                    negotiations and agreements (whether oral or written) between the parties with
                    respect to the subject matter thereof and constitutes, along with its Exhibits, a
                    complete and exclusive statement of the terms and conditions of the
                    Agreement between the parties with respect to such subject matter. This
                    Agreement may not be amended or modified except by the written agreement
                    of both parties. The language of this Agreement is English, and any
                    translations shall have no effect and shall not be binding.


          IN WITNESS WHEREOF, the parties have caused this Agreement to be executed by
          their duly authorized representatives as of the date first written above.
          1INMM CAPITAL LLC                               NETFLIX INC.



          By:                                             By:
          Name: Zachary Horwitz                           Name: Funa Maduka
          Title: MANAGING PARTNER____                     Title: VP, Content Acquisition




                                                      9
                                                                                  Exhibit 5c Page 151
FOIA Confidential Treatment Requested                                                          JJMT-SEC-0004970
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 153 of 245 Page ID #:874
                                                Schedule A-1
                                                   Titles


          TITLE:                      ACTIVE MEASURES

          YEAR:                       2018

          START DATE:                 DECEMBER 21ST, 2018

          LICENSE PERIOD:             36 MONTHS EXCLUSIVE for AVOD and SVOD; 18 months for any
                                      other licensed right according to the terms conditions of the Agreement.

          LICENSE PLATFORM:           SVOD, PAY TV, BASIC TV, AVOD

          LICENSE NET FEE:            $2,100,000.00

          FORMAT:                     HD

          TERRYTORY:                   ALL LATIN AMERICA INCLUDING BRAZIL
          ___________________________________________________________________

          TITLE:                      DIVIDE AND CONQUER: THE STORY OF ROGER AILES

          YEAR:                       2018

          START DATE:                 DECEMBER 21ST, 2018

          LICENSE PERIOD:             36 MONTHS EXCLUSIVE for AVOD and SVOD; 18 months for any
                                      other licensed right according to the terms conditions of the Agreement.

          LICENSE PLATFORM:           SVOD, PAY TV, BASIC TV, AVOD

          LICENSE NET FEE:            $2,100,000.00

          FORMAT:                     HD

          TERRYTORY:                   ALL LATIN AMERICA INCLUDING BRAZIL
          ___________________________________________________________________




                                                      10
                                                                                        Exhibit 5c Page 152
FOIA Confidential Treatment Requested                                                                   JJMT-SEC-0004971
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 154 of 245 Page ID #:875
                                                      Schedule B
                                    Source Material Requirements and Specifications
           NETFLIX, INC (“NTFLX”) will determine the appropriate source for it’s encoding.
           Examples of sources are listed below. If Content Provider does not have the source
           NTFLX requests, then NTFLX and Content Provider will mutually agree upon the source.

           Per the agreement, it is the Content Provider’s obligation to deliver Source Material
           compliant with the specifications below to NTFLX.
           Requirements

           Primary Digital Assets

                                                      File Type
                                              (in order of preference)
                                         1. High Definition – MPEG-2 (80
                                            Mbps)
                                         2. Standard Definition – MPEG-2 (50
                                            Mbps)

           We accept .mpg for MPEG-2 files. For a given title, only one contiguous file can be
           delivered. Titles cannot be delivered as multi-part files, i.e., if a title is 90 minutes in
           duration, a single file with 90-minute duration must be delivered. Two (2) files with 45-
           minute durations will not be accepted. Below in section 3 Primary Digital Asset
           Specifications are the technical details for the acceptable formats.

           Please ensure that all files do not contain bars and tones, advertisements, slates,
           ratings cards, FBI warning cards, placards, overlay branding or website link callouts
           before, during and/or after the program. Also, no commercial blacks can be contained
           in the program. There are no exceptions to these requirements. All files must consist
           of the feature program with one (1) second of black at the head and tail of the
           program.




                                                          11
                                                                                      Exhibit 5c Page 153
FOIA Confidential Treatment Requested                                                            JJMT-SEC-0004972
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 155 of 245 Page ID #:876
            Digital Video Prerequisites
            We require 16x9 (1:1 PAR for HD, 32:27 PAR for SD) versions if available. The following
            information and table specify the priority order in which NTFLX will accept content.
                    1. 16x9 (1:1 PAR for HD, 32:27 PAR for SD)
                    2. We will only accept 4x3 content if 16x9 (1:1 PAR for HD, 32:27 for SD)
                         sources do not exist.
                    3. HD sources must be in 23.976p format. 60i or 50i sources will only be
                         accepted if feature was originally shot in 60i or 50i.
                    4. Please refer to the table below for quick reference.
              Preference        Format       DAR PAR            Frame Rate            Scan Type
                Priority
                   1              HD         16x9     1:1          23.976            Progressive
                              1920x1080
                   2              HD         16x9     1:1      25 or 29.97 or       Interlaced or
                              1920x1080                             59.94            Progressive
                   3         HD 1280x720 16x9         1:1          23.976            Progressive
                   4         HD 1280x720 16x9         1:1      25 or 29.97 or        Progressive
                                                                    59.94
                   5          SD 720x480 16x9 32:27                23.976            Progressive
                   6          SD 720x480 16x9 32:27             25 or 29.97         Interlaced or
                                                                                     Progressive
                   7          SD 720x480      4x3     8:9          23.976            Progressive
                   8          SD 720x480      4x3     8:9       25 or 29.97         Interlaced or
                                                                                     Progressive


            Digital Audio Prerequisites
            Titles with surround sound require 5.1 audio. When 5.1 audio is supplied an additional
            2-channel Left Total + Right Total mix (2-channel stereo mix) must be supplied on the
            same audio track as well. We require a single audio track that contains all 8 channels (6
            channels for the 5.1 and 2 channels for the LT/RT mix). We do not accept multi-track
            audio files.

            If a conformed 5.1 audio source is not available, stereo audio (or mono audio if the
            program is an old black-and-white movie, documentary, etc., as long as the original
            source was mono) will be accepted.

            We use standard channel assignments as shown below:
              1. 5.1 audio + 2.0 audio channel assignments
                      a. Channel 1 – Left
                      b. Channel 2 – Right
                      c. Channel 3 – Center
                      d. Channel 4 – LFE
                      e. Channel 5 – Left Surround
                      f. Channel 6 – Right Surround
                      g. Channel 7 – Left Total
                      h. Channel 8 – Right Total




                                                        12
                                                                                 Exhibit 5c Page 154
FOIA Confidential Treatment Requested                                                          JJMT-SEC-0004973
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 156 of 245 Page ID #:877
                2. Stereo Comp audio only
                      a. Channel 1 – Left Total
                      b. Channel 2 – Right Total

                 3. Mono Comp audio (usually old black-and-white movies, etc.)
                      a. Channel 1 – Mono Comp
                      b. Channel 2 – Mono Comp

             Primary Digital Asset Specifications

             MPEG-2 Specifications

             High Definition – MPEG-2 (80 Mbps)
                    1. Video Codec: MPEG-2
                    2. Profile ID: High Profile
                    3. Level ID: High Level
                    4. Video Bitrate: 80 megabits
                    5. Resolution:
                          a. 1920x1080
                          b. 1280x720
                    6. Audio Codec:
                               a. Multi-Channel Assignment (if available)
                                    i. Acceptable audio codecs
                                          1. Multi-channel PCM – 16bit, 48 kHz (Little Endian)
                                          2. Multi-channel AES3 LPCM (302m) – 16 bit, 48 kHz
                                   ii. Channel Mapping
                                          1. Channel 1 – Left
                                          2. Channel 2 – Right
                                          3. Channel 3 – Center
                                          4. Channel 4 – LFE
                                          5. Channel 5 – Left Surround
                                          6. Channel 6 – Right Surround
                                          7. Channel 7 – Left Total
                                          8. Channel 8 – Right Total
                               b. Stereo Assignment (if multi-channel does not exist)
                                    i. Acceptable stereo audio codecs
                                          1. PCM – 16 bit, 48 kHz (Little Endian)
                                          2. Stereo AES3 LPCM (302m) – 16 bit, 48 kHz
                                          3. DVD LPCM – 16 bit, 48 kHz
                                          4. MPEG Layer 1 – 48 kHz, 448 kbps
                                   ii. Channel Mapping
                                          1. Channel 1 – Left Total
                                          2. Channel 2 – Right Total
                    7. Frame rate: (frame rate should match source)
                          a. 23.976 progressive
                          b. 25.00 progressive
                          c. 25.00 interlaced
                          d. 29.97 progressive
                          e. 29.97 interlaced
                          f. 59.94 progressive




                                                       13
                                                                              Exhibit 5c Page 155
FOIA Confidential Treatment Requested                                                     JJMT-SEC-0004974
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 157 of 245 Page ID #:878
                 8. Aspect Ratio:
                         a. 1:1 square pixels
                 9. Intra DC Precision: 10-bit
                 10. Chroma Format: 4:2:2
                 11. GOP Structure: I-frame ONLY
                 12. Closed Captioning: As defined in section 3.3 Closed Captioning below
                 13. Stream Type: Transport Stream

           Standard Definition – MPEG-2 (50 Mbps)
                   1.  Video Codec: MPEG-2
                   2.  Profile ID: High Profile
                   3.  Level ID: High Level
                   4.  Video Bitrate: 50 megabits
                   5.  Resolution:
                           a. NTSC or Film: 720x480
                           b. PAL: 720x576
                   6. Audio Codec:
                           a. PCM – 48 kHz or 44.1 kHz, 16-bit, stereo (Little Endian)
                           b. DVD LPCM – 48 kHz, 16-bit, stereo
                           c. MPEG Layer 1 – 48 kHz or 44.1 kHz, 16-bit, stereo with minimum data
                               rate of 128 kbps
                   7. Frame rate: (please ensure all files are de-interlaced, or have had Inverse-
                       Telecine applied, to make sure the content is progressive and not interlaced)
                           a. 23.976 progressive
                           b. 25.00 progressive
                           c. 25.00 interlaced
                           d. 29.97 progressive
                           e. 29.97 interlaced
                   8. Aspect Ratio:
                           a. 4x3 if standard
                           b. 16x9 if anamorphic
                   9. Intra DC Precision: 10-bit
                   10. Chroma Format: 4:2:2
                   11. GOP Structure: I-frame ONLY
                   12. Closed Captioning: As defined in section 3.3 Closed Captioning below
                   13. Stream Type: Transport Stream

           Subtitle as a Separate File
           The preferred formats for subtitles are text-based WC3 Timed Text Markup Language
           (.dfxp) or SubRip (.srt) formats; otherwise they must be one of the acceptable formats
           listed below. The subtitle file must have time code that is conformed (synced) to the
           digital video file asset. Raster image-based subtitles will not be accepted.

           Acceptable Text-Based Subtitle Files:
              • DFXP
              • SRT
              • SAMI
              • DailyScripts
              • DVD Nav




                                                      14
                                                                                 Exhibit 5c Page 156
FOIA Confidential Treatment Requested                                                         JJMT-SEC-0004975
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 158 of 245 Page ID #:879
              • Softitler

           Please ensure all subtitle files do not contain advertisements, placards, overlay branding
           or website link callouts.

           If your text-based subtitle format is not listed above please contact NTFLX to discuss
           other options.

           Please follow the file-naming convention specified in section 5 File-Naming Conventions

           Closed Captioning

           Closed Captions as Ancillary Data
           This is the preferred method of delivery. The primary closed caption data must be
           carried within the video stream as Line21 data. For MPEG-2 video, the Line21 captions
           must be carried in the picture user data, as defined in “ATSC Standard: Digital Television
           Standard (A/53), Revision D, section 5.2.”

           Please ensure all caption files do not contain advertisements, placards, overlay branding
           or website link callouts.

           Closed Captioning as Separate File
           If closed captioning must be delivered as a separate file, it must be submitted in one of
           the acceptable formats listed below. The closed caption file must have time code that is
           conformed (synced) to the digital video file asset. Raster image-based closed captioning
           will not be accepted.

           Acceptable Closed Caption Files:
              • SCC
              • DFXP
              • DailyScripts
              • SDI Media
              • Softitler
              • DVD Nav

           Please ensure all caption files do not contain advertisements, placards, overlay branding
           or website link callouts.

           If your closed caption format is not listed above please contact NTFLX to discuss other
           options.

           Please follow the file-naming convention specified in section 5 File Naming Conventions


           Secondary Digital Assets Specifications

           Alternate Language Audio as a Separate File
           If alternate language audio tracks are available, then they should be conformed to the
           primary digital audio/video asset delivered. Acceptable formats for alternate language
           audio tracks are stereo or multichannel AAC (in an MP4 wrapper) or AES3 LPCM audio




                                                         15
                                                                                 Exhibit 5c Page 157
FOIA Confidential Treatment Requested                                                          JJMT-SEC-0004976
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 159 of 245 Page ID #:880
           (in a MPEG-2 Transport Stream, .mpg). Either format should be encoded at the highest
           possible bitrate to maintain fidelity. Please follow the file-naming convention described
           below.

           Acceptable Alternate Language Audio Formats
                   1. Audio Codec and Container:
                          a. AAC (Low Complexity) in an MP4 container (.mp4)
                   2. Bitrate: Highest bitrate possible
                   3. Sample rate: 44.1 kHz or 48 kHz
                   4. 5.1 Audio Channel Mapping:
                          a. Channel 1 – Left
                          b. Channel 2 – Right
                          c. Channel 3 – Center
                          d. Channel 4 – LFE
                          e. Channel 5 – Left Surround
                          f. Channel 6 – Right Surround
                   5. 2.0 Audio Channel Mapping:
                          a. Channel 1 – Left Total
                          b. Channel 2 – Right Total
           File-Naming Conventions

           Primary Video Asset File-Naming
           The file-naming convention for the MPEG-2 file is as follows:
           [movieID]_[framerate]_[aspectratio]_[bitrate]_[countrycode].mpg

           The country code is used to specify for which country the asset has rights. If the asset
           has rights for a specific country, then the 2-letter country code should be used as
           defined by the ISO 3166-1-alpha-2 code specifications
           (http://www.iso.org/iso/english_country_names_and_code_elements). If the asset has
           global rights, then the word “global” should be used in place of the 2-letter country
           code.

           Example for High-Definition Files
           60011152_24_178_80_us.mpg
           60028202_60i_185_80_ca.mpg
           60028204_60p_178_80_global.mpg


           Example for Standard-Definition Files
           60028202_24_235_50_fr.mpg


           Alternate Language Audio File-Naming
           The audio filename should follow the same file-naming convention as the primary asset
           file name, with the addition of channel mapping with the file name:

           [movieID]_[framerate]_[aspectratio]_[channel1]_[channel2]_..._[channelX]_[2letterLa
           nguageCode].[ext]




                                                      16
                                                                                Exhibit 5c Page 158
FOIA Confidential Treatment Requested                                                        JJMT-SEC-0004977
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 160 of 245 Page ID #:881
           Please use the 2-letter language codes as defined in the ISO 639-1 specifications
           (http://www.loc.gov/standards/iso639-2/php/code_list.php).

           The filename should match the channel mapping of the audio file.

           Examples:
           70106666_24_178_80_L_R_C_Lfe_Ls_Rs_ca.mp4
           70106666_24_178_80_LT_RT_fr.mpg
           70106667_30_178_80_L_R_C_Lfe_Ls_Rs_es.mp4


           Subtitle File-Naming
           The file-naming convention of closed caption file is as follows:

           [movieID]_[framerate]_[aspectratio]_[2letterLanguageCode].scc
           or named exactly the same as the video asset except with “_2letterLanguageCode” post-
           fixed to the filename of the secondary Closed Caption (CC) file.

           Please use the 2-letter language codes as defined in the ISO 639-1 specifications
           (http://www.loc.gov/standards/iso639-2/php/code_list.php).

           Example:
           60028202_24_235_es.scc
           60028202_24_235_en.srt
           72343234_30_133_fr.smi
           72342123_24_178_pt.smi



           Closed Caption File-Naming
           The file-naming convention of the secondary closed caption file is as follows:

           [movieID]_[framerate]_[aspectratio]_[2letterLanguageCode].scc

           Or named exactly the same as the video asset except with “_2letterLanguageCode”
           post-fixed to the filename of the secondary Closed Caption (CC) file.

           Please use the 2-letter language codes as defined in the ISO 639-1 specifications
           (http://www.loc.gov/standards/iso639-2/php/code_list.php).

           Example:
           60028202_24_235_es.scc
           60028202_24_235_en.scc
           60028202_24_235_fr.scc
           60028202_24_235_pt.scc




                                                       17
                                                                                 Exhibit 5c Page 159
FOIA Confidential Treatment Requested                                                          JJMT-SEC-0004978
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 161 of 245 Page ID #:882
           Metadata

           Movie Content Metadata
           Movie metadata is required for all content and is to be submitted via the approved
           NTFLX Metadata Template to NTFLX@NTFLX.TV

           All dubbed and/or subtitled content is to be accompanied with the relevant metadata in
           the original and alternate language to support the source delivered.

           Sample metadata files via XMLs may also be submitted and require NTFLX approval prior
           to acceptance.

           Primary and Secondary Assets Metadata
           If metadata for the primary and secondary assets is available via vendor API or file
           (XML,TXT, etc.), NTFLX will require access to the API or sample file for approval prior to
           acceptance.
           Delivery

           Network Delivery via Aspera
           Currently, NTFLX uses Aspera exclusively for network delivery. The Content Supplier
           must push content to NTFLX via Aspera. NTFLX will not pull content.

           Please be prepared to provide the following information in order to set up an Aspera
           account.
               •      Public outbound IP address(es) for which your host(s) will use for transferring
                      files to us via Aspera.
               •      Technical contact (name, e-mail and phone number) of the person responsible
                      for setting up the Aspera connection on your end.


           Directory Structure and File Organization
           The following folder structure must be followed to organize each group of conformed
           assets. A group of conformed assets must consist of one audio/video muxed primary
           digital asset and any of its other conformed digital assets.

           Folder Structure of external hard drive:

           E:.
           +---[NFLXMovieID] – (directory)
                  [DigitalAsset1a] – (file)
                  [DigitalAsset1b] – (file)
                  [DigitalAsset1c] – (file)

           Example:
           E:.
           +---61234123
           | 61234123_24_178_80_us.mpg
           | 61234123_24_178_80_en.scc
           |




                                                          18
                                                                                    Exhibit 5c Page 160
FOIA Confidential Treatment Requested                                                            JJMT-SEC-0004979
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 162 of 245 Page ID #:883
        +---62345234
        | 62345234_24_235_80_us.mpg
        |
        +---7712332
        | 7712332_60i_133_80_en.scc
        | 7712332_60i_133_80_es.srt
        | 7712332_60i_133_80_us.mpg
        |
        +---79661231
          79661231_30_178_50_ca.mpg
          79661231_30_178_50_en.scc
          79661231_30_178_50_fr.srt
          79661231_30_178_50_LT_RT_es.mp4
          79661231_30_178_50_L_R_C_Lfe_Ls_Rs_fr.mp4
        Artwork
        High-resolution images are required for every title and must be submitted a minimum of
        30 days in advance of licensing start date to NTFLX via any of these options:
                   a. Vendor-provided website
                   b. FTP (must request access from NTFLX)
                   c. Email: alebrije@alebrije.tv

        Artwork is accepted in original and bilingual language formats for all content.

        File-naming convention:
        [NTFLXMovieID].png (or .tiff or .jpg)

        If NTFLX movie ID not known, use movie title:
        [MovieTitle].png (or .tiff or .jpg)

        Examples:
        60028202.jpg
        Terminator2.jpg

        Below are the requirements for submitting artwork to NTFLX. We seek the highest
        quality possible to ensure optimal display for the website and NTFLX-ready devices.



         Artwork Attribute            Description
                                      Box art: 1:1.40 (w:h) aspect ratio. Aspect ratio tolerance: 1:35
         Image Aspect Ratio           through 1:1.45.
         Image Height (h)             Box art: 800 pixels minimum. Higher is better.
                                      Box art: Depends on image height. For example, 570 (w) x 800 (h)
         Image Width (w)              when art is 1:1.40.
         Image Resolution             150 dpi
         Pixel Aspect Ratio           Square (1.0)
                                      RGB Color (8-bits/channel). Conversions from CMYK are
         Color Mode                   undesirable.
         File Format                  Uncompressed (.png, .tiff, etc.). JPEGs acceptable with “maximum



                                                    19
                                                                                  Exhibit 5c Page 161
FOIA Confidential Treatment Requested                                                         JJMT-SEC-0004980
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 163 of 245 Page ID #:884
                               quality” compression.
         Black Point           RGB 0 - 0 - 0
         White Point           RGB 255 - 255 - 255
                               No color profiles assigned (a 2.1/2.2 gamma setting on calibrated
         Color Profile         monitors is assumed).
                               Artwork should be two-dimensional and extend over entire image
         Image Area            area. No extraneous graphics (borders, frames, drop shadows).
                               Art should not have graphical elements (such as Now on DVD,
         Graphical Elements    Widescreen, Coming Soon, Available on Blu-ray, etc.).




                                              20
                                                                       Exhibit 5c Page 162
FOIA Confidential Treatment Requested                                              JJMT-SEC-0004981
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 164 of 245 Page ID #:885




                        Exhibit 6a




                                                             Exhibit 6a Page 163
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 165 of 245 Page ID #:886




                                                                   Exhibit 6a Page 164
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004982
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 166 of 245 Page ID #:887




                                                                   Exhibit 6a Page 165
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004983
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 167 of 245 Page ID #:888




                                                                   Exhibit 6a Page 166
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004984
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 168 of 245 Page ID #:889




                                                                   Exhibit 6a Page 167
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004985
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 169 of 245 Page ID #:890




                                                                   Exhibit 6a Page 168
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004986
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 170 of 245 Page ID #:891




                                                                   Exhibit 6a Page 169
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004987
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 171 of 245 Page ID #:892




                                                                   Exhibit 6a Page 170
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004988
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 172 of 245 Page ID #:893




                                                                   Exhibit 6a Page 171
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004989
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 173 of 245 Page ID #:894




                                                                   Exhibit 6a Page 172
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004990
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 174 of 245 Page ID #:895




                                                                   Exhibit 6a Page 173
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004991
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 175 of 245 Page ID #:896




                                                                   Exhibit 6a Page 174
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004992
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 176 of 245 Page ID #:897




                                                                   Exhibit 6a Page 175
FOIA Confidential Treatment Requested                                         JJMT-SEC-0004993
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 177 of 245 Page ID #:898




                        Exhibit 6b




                                                             Exhibit 6b Page 176
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 178 of 245 Page ID #:899




              PROMISSORY NOTE

              $ (1,994,700.00)                                                        (12/17/2018)

              Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
              California, (the ''Maker''), hereby promises to pay to Lender, JJMT CAPITAL LLC, a
              Delaware Limited Liability company located at (840 West Blackhawk, Unit #2205,
              Chicago, IL 60642), (the ''Payee'') an amount equal to (ONE MILLION NINE
              HUNDRED NINETY-FOUR THOUSAND SEVEN HUNDRED) Dollars
              ($1,994,700.00) in lawful money of the United States of America, which sum shall be
              due and payable on (12/17/2019) (the ''Maturity Date''), in one (1) balloon payment,
              in like money at said office. Payment date shall be no later than TWELVE (12)
              months post confirmed funds transfer from Payee to Maker in the amount of (ONE
              MILLION THREE HUNDRED NINETY-EIGHT THOUSAND) Dollars
              ($1,398,000.00).


             Prepayment Option. Maker may pay down at any time any portion of the principal sum
             outstanding without any prepayment penalty.

             Assignment of Rights. See Appendix A

              Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
              and that in the event payment of principal or interest due under this Note is not made
              when due, giving effect to any grace period which maybe applicable, the outstanding
              balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
              percent per month, for so long as such event of default continues.

              Validity of Agreement to Conform to Law. All agreements between the undersigned and
              the holder of this Note are expressly limited so that in no contingency or event
              whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
              maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
              be paid to the holder hereof for the use, forbearance or detention of money advanced
              hereunder exceed the highest lawful rate permissible under any law which a court of
              competent jurisdiction may deem applicable hereto. If, from any circumstances
              whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
              any other agreement referred to herein, at the time performance of such provision shall be
              due, shall involve transcending the limit of validity prescribed by law which a court of
              competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
              fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
              holder hereof shall ever receive as interest an amount which would exceed the highest
              lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                      Exhibit 6b Page 177
FOIA Confidential Treatment Requested                                                              JJMT-SEC-0004994
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 179 of 245 Page ID #:900



             reduction of the unpaid principal balance due hereunder and not to the payment of
             interest. This provision shall control every other provision of all agreements between the
             undersigned and the holder hereof.

              Maker’s Default. At the option of the holder hereof exercised by written notice to the
              undersigned, this Note shall become immediately due and payable upon the maker's
              failure to pay when due any payment of principal, interest or expenses due hereunder; or
              (b) failure in the performance or observance of any of the terms or conditions of any
              mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
              otherwise pertaining to this Note after giving effect to any applicable curative period
              which may be contained therein. Upon the occurrence of any of the following specified
              Events of Default, as defined under the standard conventions and terminology prescribed
              for promissory notes drafted under Warren’s California Forms for Principal, Interest,
              Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
              called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
              any Event of Default shall then be continuing, the Payee may, by written notice to the
              Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
              due and payable, whereupon the principal of and such unpaid accrued interest in respect
              of this Note shall become forthwith due and payable without presentment, demand,
              protest or other notice of any kind, all of which are hereby expressly waived by the
              Maker. Furthermore, This note shall become due and payable before the above-
              mentioned maturity date immediately upon the happening of any of the following events
              affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
              petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
              creditors, calling meeting of creditors, appointment of liquidating agent or committee,
              offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
              or for over 30 days, application for appointment or appointment of any receiver, issuance
              of warrant of attachment or death of any maker or indorser or on default of any other
              obligations to the Maker.

              Collection Costs. If this Note or any installment of principal or interest is not paid when
              due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
              collection, including without limitation, actual attorneys' fees, and all expenses in
              connection with the protection or realization of the assets and proceeds available this
              Note or the enforcement of any subsequent memorandum or agreement created in
              conjunction with this Note incurred by the holder hereof on account of such collection,
              whether or not suit is filed hereon or thereon; such costs and expenses shall include,
              without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
              hereof in connection with any insolvency, bankruptcy, arrangement or other similar
              proceedings involving the undersigned, or involving any endorser or guarantor hereof,
              which in anyway affects the exercise by the holder hereof of its rights and remedies under
              this Note or under any mortgage, deed of trust, security agreement, guaranty or other
              agreement securing or pertaining to this Note.

              Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
              nonpayment of this Note and all notices of every kind are hereby waived by all parties to




                                                                                      Exhibit 6b Page 178
FOIA Confidential Treatment Requested                                                               JJMT-SEC-0004995
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 180 of 245 Page ID #:901




              this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
              provided herein. To the extent permitted by applicable law, the defense of the statute of
              limitations is hereby waived by the undersigned.

              Death of Maker. Maker of this note hereby waives all notice and demand and consent that
              this note shall become due and payable immediately upon the happening of any of said
              events. This note shall become due and payable on the Maturity Date, but payment shall
              be accelerated and become due and payable immediately if the Maker shall die. For the
              further security of the holder thereof, the undersigned covenants that so long as any part
              of the principal or interest of this note is outstanding and unpaid, it will not grant any
              security interest to any third party upon its property, or create any lien whatsoever
              thereon, without also thereby including therein this note, equally and ratably with every
              other evidence of debt, secured by any of the undersigned's property. If, while any part of
              the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
              then the holder hereof may at his or its election, declare and make this note at once due
              and payable by written notice delivered to maker, and this remedy will be deemed
              cumulative and in addition to any other remedy available to the holder hereof. This note
              shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
              cause whatsoever.

              Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
              case of non-payment thereof at maturity, or of any installment thereof when due, may
              grant to the maker or any indorser of said note any extension or extensions of time of
              payment thereof, in whole or in part, without notice to said indorsers or any of them and
              any such extension or extensions shall not affect in any way said indorsers' liability upon
              note, such indorsers hereby waiving demand, presentment of payment, notice of
              nonpayment and protest and do further agree that any holder of this note may in the event
              of default in the payment of principal of, or interest upon, this note or any installment
              thereof repossess and/or sell the (collateral) held as collateral security for the payment of
              this note without in any way relieving said indorsers, or any of them, of any liability by
              reason of such repossession and/or sale, applying the proceeds of sale of any such asset
              less all costs to amount due under this note, and all indorsers agree to pay any deficiency
              on this note on demand.

              Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
              rights under this Note, the unsuccessful party or parties to such litigation, as determined
              by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
              or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
              party or parties (including, without limitation, such costs, expenses and fees on any
              appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
              judgment or decree.

              General Provisions. Principal and interest evidenced hereby are payable only in lawful
              money of the United States. The receipt of a check shall not, in itself, constitute payment
              hereunder unless and until paid in good funds. Whenever any payment on this Note shall
              be stated to be due on a day, which is not a business day, such payment shall be made on




                                                                                       Exhibit 6b Page 179
FOIA Confidential Treatment Requested                                                                 JJMT-SEC-0004996
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 181 of 245 Page ID #:902


               the next succeeding business day and such extension of time shall be included in the
               computation of the payment of interest of this Note. This Note is to be governed by and
               construed in accordance with the laws of the State of California except to the extent
               United States federal law permits the holder to contract for, charge or receive a greater
               amount of interest. In any action brought under or arising out of this Note, the
               undersigned hereby consents to the in personam jurisdiction of any state or federal
               court sitting in the state of California, and waives any claim or defense that such forum
               is not convenient or proper, and consents to service of process by any means
               authorized by California and/or Federal law.


               THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
               UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
               OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
               RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
               ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
               HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
               WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
               CONTRACT OR IN TORT OR OTHERWISE.



                                                                     12/20/18

               1INMM Capital, LLC                                   Date
               Zachary Horwitz, Manager




                                                                                     Exhibit 6b Page 180
FOIA Confidential Treatment Requested                                                              JJMT-SEC-0004997
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 182 of 245 Page ID #:903




                                                     APPENDIX A


                                                    ASSIGNMENT

            This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at 5550 Wilshire
            Blvd #523 Los Angeles, CA 90036 (“Assignor”) and JJMT CAPITAL LLC, a Delaware Limited
            Liability company located at 840 West Blackhawk, Unit #2205, Chicago, IL 60642
            (“Assignee”) is dated effective as of ( 12 / 17 / 2018).

            For good and valuable consideration, the receipt and sufficiency of which hereby
            acknowledged, Assignor does hereby irrevocably and unconditionally sell, grant, convey,
            and assign unto Assignee all of Assignor’s rights, title and interest of every kind and nature,
            throughout the universe, until assignee is paid ($1,994,700.00) at to which time all rights,
            title and interest of every kind and nature revert back to Assignor and to that certain
            motion picture, currently entitled “DIVIDE AND CONQUER: THE STORY OF ROGER AILES”
            (the “Picture”) based on the original screenplay entitled “ACTIVE MEASURES” directed by
            Alexis Bloom.

            1. Assignor hereby represents and warrants:

                    1.1.    That Assignor is the sole and exclusive owner of the rights and privileges
                            granted or to be granted to Assignee hereunder.
                    1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                            Assignment.
                    1.3.    That, as of the effective date hereof, no part of the rights herein conveyed
                            has in any way been encumbered, conveyed, assigned, transferred or
                            otherwise disposed of and all such rights are therefore free and clear of any
                            and all liens, claims, charges or encumbrances whatsoever in favor of any
                            party whatsoever.

            2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and
               hold them harmless from and against any and all claims, liability, losses, damages, costs,
               expenses (including but not limited to attorney’s fees) arising out of any breach by
               Assignor of any warranty made by Assignor hereunder.

            3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor
               which accrue after the date hereof.

            4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or
               any similar law in any country of the world and agrees not to institute or permit any
               action or lawsuit on the ground that the Picture in any way constitutes an infringement
               of any “droit morale” and Assignor agrees that Assignor shall not, under any
               circumstances (including without limitation, the circumstances of a breach by Assignee)
               be entitled to enjoin the exhibition or other exploitation of the Picture, to terminate or
               rescind any rights granted to Assignee or to obtain any other form of equitable relief,
               specific performance or otherwise, any right to which Assignor expressly waives.




                                                                                          Exhibit 6b Page 181
FOIA Confidential Treatment Requested                                                                    JJMT-SEC-0004998
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 183 of 245 Page ID #:904




            5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to
               any person, firm or corporation. Assignee may assign this Assignment and the rights
               and services granted herein, together with the results and proceeds thereof, and the
               representations and warranties contained herein, to any person or entity.

            6. This Assignment shall be construed in accordance with the laws of the state of California
               and shall be binding upon and shall inure to the benefit of the parties hereto and their
               respective successors, licensees and assigns. This Assignment cannot be amended or
               modified except in a writing signed by all parties hereto.

            IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED THIS
            ASSIGNMENT AS OF THE (17)th DAY OF December 2018.



            1INMM CAPITAL, LLC (“Assignor”)               JJMT CAPITAL LLC (“Assignee”)



            By: __________________________________        By: _________________________________

            Its: __________________________________       Its: _________________________________




                                                                                           Exhibit 6b Page 182
FOIA Confidential Treatment Requested                                                                 JJMT-SEC-0004999
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 184 of 245 Page ID #:905




                        Exhibit 6c




                                                             Exhibit 6c Page 183
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 185 of 245 Page ID #:906
                                               LICENSE AGREEMENT
         This License Agreement (“Agreement”) is entered into as of December 21th, 2018 (the
         “Effective Date”) by and between 1inMM Capital LLC, with its principal place of business
         at 5550 Wilshire Blvd #523 Los Angeles, CA 90036 (“Licensor”) and NETFLIX, INC., a
         California Corporation, with its principal place of business at 335 N Maple Dr. #353,
         Beverly Hills, CA 90210 (“Netflix”).
                                                         Recitals
         Licensor is a Distributor and owner of all rights hereby granted for “Active Measures” (the
         “Title”), directed by Jack Bryan and “Divide and Conquer: The Story of Roger Ailes” (the
         “title”), directed by Alexis Bloom.
         Netflix is a digital platform.
         Licensor and Netflix desire to enter into a relationship whereby Licensor will grant Netflix,
         among other things, a license to distribute the Title to subscribers within the Territory, as defined
         below, all in accordance with the terms and conditions set forth below.
                                                       Agreement
         In consideration of the mutual promises contained herein and such other good and valuable
         consideration, the parties agree as follows:
         1. Definitions.
             1.1.     “Affiliate” shall mean any business entity which Licensor and Netflix directly or
                      indirectly controls, is controlled by, or is under common control with, where
                      “control” is defined as the ownership of at least fifty percent (50%) of the equity or
                      beneficial interest of such entity or the right to vote for or appoint a majority of the
                      board of directors or other governing body of such entity or otherwise possesses the
                      power to direct the affairs of the entity.
             1.2.     “Basic TV” shall mean the delivery and/or exhibition of a motion picture, television
                      show or other entertainment product by means of cable, satellite or any other
                      electronic or non-tangible means (whether analog or digital, or via the Internet or any
                      other electronic or non-tangible medium now known or hereafter devised) where the
                      consumer is charged a recurring fee and/or periodic access charge for the first or
                      lowest tier(s) of service (including a tier that is required to be purchased or accessed
                      before access to other programming services is permitted), regardless of whether such
                      exhibition is on a regularly scheduled basis or made available to the viewer on an on
                      demand basis at the consumer’s discretion.
             1.3.      “Electronic Sell-Through” or “EST” shall mean the delivery and/or exhibition of a
                      motion picture, television show or other entertainment product, solely on a non-ad
                      supported basis, where the timing and/or selection of same is not pre-determined, but
                      rather is at the consumer’s discretion, and for which, and the right to permanently
                      download, retain and/or have access to same, the consumer is charged a transactional
                      fee.
             1.4.     “Free TV” shall mean the delivery and/or exhibition of a motion picture, television
                      show or other entertainment product by means of over the air signals (including the
                      retransmission of such signals by cable, satellite or any other electronic or non-
                      tangible means) whether analog or digital, or via the Internet solely on one (1)
                      website owned and operated by one (1) free-to-air broadcaster and branded as such
                      broadcaster’s website, where the consumer (i) is not charged a fee (except for the
                      license fee, if any, payable for the right to use a television set in certain territories)
                      and (ii) is required to view or is otherwise exposed to commercial interruptions
                      (display or interstitial).
             1.5.     “High Definition” shall mean a resolution of greater than or equal to 720p.




                                                             1                                Exhibit 6c Page 184
FOIA Confidential Treatment Requested                                                                        JJMT-SEC-0005000
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 186 of 245 Page ID #:907
             1.6.    “Home Video” shall mean the commercial release of a motion picture, television
                     show or other entertainment product for purchase and/or rent on optical media, such
                     as DVD and/or Blu-ray disc.
             1.7.    “Internet Transmission” shall mean the transmission of data via Internet Protocol,
                     including without limitation through use of client software contained on a Blu-ray
                     disc or other optical media.
             1.8.    “License Fees” shall mean, collectively, as set forth in more detail in Section 4.1.
             1.9.    “Licensed Languages” shall mean, for each Title hereunder, (i) its original language,
                     (ii) neutral or Mexican Spanish (in subtitled form (and, if available, dubbed form) if
                     the original language is other than Spanish), and (iii) Brazilian Portuguese (in
                     subtitled form, if available (and, if available, dubbed form) if the original language is
                     other than Brazilian Portuguese).
             1.10.   “Netflix-Enabled Device” or “NED” shall mean any device capable of receiving data
                     via Internet Transmission, subject to the security and copy protection specifications
                     set forth in Section 2.5 or otherwise agreed to by the parties, including without
                     limitation (i) a desktop or laptop computer; (ii) a television set; (iii) a set top box,
                     including a box that offers an integrated personal digital video recorder (DVR); (iv) a
                     DVD and/or Blu-ray player; (v) a game console; (vi) a portable device, including
                     without limitation a mobile phone or tablet; or (vii) a device with a web browser
                     interface or other like capability.
             1.11.   “Netflix Service” shall mean a global subscription service that provides subscribers
                     with on-demand access to movies and television content, and delivers such content
                     through Internet Transmission to NEDs (including User Interfaces on same) and/or,
                     currently in the United States only, in optical disc format (e.g., DVD, Blu-ray).
             1.12.   “Pay Per View” or “PPV” shall mean the delivery and/or exhibition of a motion
                     picture, television show or other entertainment product, where the timing and/or
                     selection of same is pre-determined, and not at the consumer’s discretion, where the
                     consumer is required to view the content over a limited period of time, and for which
                     the consumer is charged a transactional fee.
             1.13.   “Pay TV” shall mean the delivery and/or exhibition of a motion picture, television
                     show or other entertainment product by means of cable, satellite or any other
                     electronic or non-tangible means (whether analog or digital, or via the Internet or any
                     other electronic or non-tangible medium now known or hereafter devised) where the
                     consumer is charged a recurring fee and/or periodic access charge in addition to or in
                     a greater amount than any fee payable in order to receive Basic TV, regardless of
                     whether such exhibition is on a regularly scheduled basis or made available to the
                     viewer on an on demand basis at the consumer’s discretion.
             1.14.   “Source Material” shall mean the source files for the Titles and associated trailers,
                     artwork, promotional materials and metadata (including without limitation audio and
                     closed captioning files), the delivery specifications for which are detailed in Schedule
                     B attached hereto.
             1.15.   “Start Date” shall mean, for each Title, the date such Title may first be made
                     available for exhibition on and distribution, as detailed on Schedule A attached hereto
                     or, on the notifications Licensor shall provide to Netflix pursuant to Section 3.1.3.
             1.16.   “Subscription Video-on-Demand” or “SVOD” shall mean the delivery and/or
                     exhibition of motion pictures, television and/or other entertainment products on a
                     commercially uninterrupted basis where the consumer is charged a recurring fee
                     and/or periodic access charge for the service.
             1.17.   “Taxes” shall mean all federal, state, local, foreign and other net income, gross
                     income, gross receipts, sales, use, value added, goods and services, consumption, ad
                     valorem, transfer, franchise, profits, withholding, payroll, excise, stamp, real or
                     personal property, customs, duties or other taxes, fees, assessments or charges of any




                                                          2
                                                                                         Exhibit 6c Page 185
FOIA Confidential Treatment Requested                                                                   JJMT-SEC-0005001
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 187 of 245 Page ID #:908
                        kind whatsoever, including any related penalties and interest, imposed by any federal,
                        territorial, state, local, or foreign government or any agency or political subdivision
                        of any such government.
             1.18.      “Term” shall mean the period commencing on the Effective Date and ending on the
                        expiration date of the last to expire Title License Period.
             1.19.      “Territory” shall mean the following countries and each of their respective territories,
                        possessions, commonwealths, and trusteeships:
                        Mexico;

                        Central America, including Belize, Costa Rica, Guatemala, El Salvador, Honduras,
                        Nicaragua and Panamá;

                        South America, including Argentina, Bolivia, Brazil, Chile, Colombia, Ecuador,
                        Paraguay, Peru, Uruguay and Venezuela; and

                        The Caribbean Basin Islands, including Anguilla, Antigua, Barbuda, Aruba,
                        Barbados, British Virgin Islands, Dominica, Dominican Republic, Grenada,
                        Guadeloupe, Haiti, Jamaica, Martinique, Montserrat, the Netherland Antilles, St.
                        Kitts and Nevis, St. Lucia, St. Vincent and the Grenadines, Trinidad, Tobago, and the
                        Turk and Caicos Islands.
             1.20.      “Theatrical” shall mean the exhibition of a motion picture, television show or other
                        entertainment product or program (regardless of the means of delivery) in
                        conventional, drive-in or special format (e.g., iMax) theaters that are open to the
                        general public and for which an admission fee is charged.
             1.21.      “User Interfaces” shall mean web applications built using Application Programming
                        Interfaces (commonly known as APIs) released by Netflix, which applications enable
                        subscribers and potential subscribers to link to or otherwise use the Netflix Service on
                        NEDs.
             1.22.      “Video-on-Demand” or “VOD” shall mean the delivery and exhibition of a motion
                        picture, television show or other entertainment product, where the timing and/or
                        selection of same is not scheduled, but rather is at the consumer’s discretion, where
                        the consumer can view the content over a limited period of time, and for which the
                        consumer is charged a transactional fee.
             1.23.      “Years” shall mean three (3) successive periods of twelve (12) calendar months
                        during the Term, the first of which shall begin on as detailed on Schedule A.


          2. Grant of Licenses.
             2.1.       Title License.
                    2.1.1. Licensor grants to Netflix during the Term the exclusive right and license to exhibit
                           and distribute the Title (and associated Source Material) in any or all of the
                           Licensed Languages within the Territory solely by way of Internet Transmission via
                           SVOD and AVOD, the Netflix Service to NEDs (including User Interfaces on
                           same).
                    2.1.2. Licensor also grants to Netflix during the Term a limited, non-exclusive right and
                           license to copy, install, compress, uncompress, encode, encrypt, decode, decrypt,
                           display, use, cache, store and transmit the Titles (and associated Source Material)
                           for purposes of such approved exhibition and distribution.
             2.2.        Marketing and Promotion.
                    2.2.1.   Trademark License. Licensor grants to Netflix during the Term a limited, non-
                             exclusive right and license to copy, install, display, use, cache, store, transmit,
                             exhibit and distribute Licensor’s trademark(s) and logo(s) identified on Schedule




                                                             3
                                                                                            Exhibit 6c Page 186
FOIA Confidential Treatment Requested                                                                     JJMT-SEC-0005002
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 188 of 245 Page ID #:909
                             C (collectively, “Licensor Marks”) for purposes of exercising its rights under this
                             Section 2.
                    2.2.2.   Marketing; Pre-promotion. Subject to Section 5.4, Netflix may, commencing
                             sixty (60) calendar days prior to each Title’s Start Date, market and promote the
                             availability of such Title through the any Service here granted.
                    2.2.3.   Introductory Segments; Promotion To Non-Subscribers. Licensor grants to
                             Netflix during the Term a limited, non-exclusive right and license to cut each
                             Title to create short promotional clips, each of which shall consist of no more
                             than three (3) consecutive minutes in length of a Title, an “Introductory
                             Segment”. Licensor further grants to Netflix during the Term a limited, non-
                             exclusive right and license to (a) exhibit and distribute, solely by way of Internet
                             Transmission, Source Material (excluding Titles) and Introductory Segments to
                             subscribers and potential subscribers for purposes of marketing and promoting
                             the availability of the Titles through the Netflix Service and (b) copy, install,
                             compress, uncompress, encode, decode, encrypt, decrypt, display, use, cache,
                             store and transmit such materials for purposes of such approved exhibition and
                             distribution. For the avoidance of doubt, Netflix need not encrypt Introductory
                             Segments or trailers.
             2.3.       Encryption; Copy Protection. Netflix shall, at all times during the Term, implement
                        security and copy protection technologies with respect to each Title, including geo-
                        filtering and encryption technologies, that are at least as protective as the then-current
                        industry standard in the Territory and which shall be no less protective than those
                        provided by Netflix to other platforms in the Territory. Once terminated this
                        Agreement by any cause, Netflix shall destroy, eliminate and/or return to Licensee
                        any and all protection copy.
             2.4.       Geo-filtering. Netflix shall, at all times during the Term, implement geo-filtering
                        technology to restrict access to Titles, via the Netflix Service, to subscribers within
                        the Territory that is at least as protective as the then-current industry standard in the
                        Territory and which shall be no less protective than those provided by Netflix to other
                        platforms in the Territory. Notwithstanding the foregoing, Licensor acknowledges
                        that Netflix cannot guarantee that current geo-filtering technology shall be effective
                        in every instance.
             2.5.       For the avoidance of doubt, Netflix may offer the Netflix Service, including the Titles
                        licensed hereunder, on NEDs where a subscriber is required to use a third party
                        service (including without limitation a User Interface) and/or make payment to such
                        third party to use the Netflix Service (whether such payment is for an additional
                        charge in order to access the Netflix Service and/or for the relevant subscription fee
                        for the Netflix Service itself). Such third parties may also offer interactive features,
                        such as on-screen chat functionality or simultaneous or coordinated viewing. By way
                        of example only, the Netflix Service may be offered through a game console such as
                        the Microsoft Xbox, wherein use of the Netflix Service by subscribers through such
                        NED requires the payment of a recurring, material fee to Microsoft Corporation
                        and/or payment of the relevant Netflix Service subscription fee to Microsoft
                        Corporation.
             2.6.       Notwithstanding anything to the contrary in this Agreement, but without in any way
                        limiting Netflix’s security and related obligations pursuant to Sections 2.5 and 2.6 or
                        Netflix’s indemnification obligations pursuant to Section 6.3, Netflix shall not be
                        responsible or liable for any acts or omissions of, or resulting from a consumer’s use
                        of, a third party NED and/or any third party software (including any User Interface).
             2.7.       Exclusivity; Holdbacks. Netflix shall be the exclusive SVOD and AVOD licensee in
                        the Territory during such Title’s Title License Period. Further, during the period
                        commencing on the first day of the Term and continuing through the expiration of the
                        Title License Period, as applicable, Licensor (and its Affiliates) shall not, and shall
                        not license or permit any third party to, license, exhibit, distribute or otherwise




                                                              4
                                                                                             Exhibit 6c Page 187
FOIA Confidential Treatment Requested                                                                       JJMT-SEC-0005003
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 189 of 245 Page ID #:910
                  exploit such Title in the Territory other than on a Theatrical, Home Video, VOD, or
                  purely EST, (e.g., no Basic TV exploitation, no Pay TV exploitation, no SVOD
                  exploitation, no AVOD). Holdback against Free TV and Basic Cable only during the
                  first 18 months. Licensor acknowledges that this provision and Licensor’s
                  performance of its obligations under this Section is essential to Netflix and its
                  willingness to enter into this Agreement.
       3. License Fees.
           3.1.   License Fees. Netflix shall pay Licensor the License Net Fee of $4,200,000.00 (Four
                  Million Two Hundred Thousand US Dollars and 00/100), including Taxes and
                  withholdings, agreeing both parties that any and all discounts, withholdings, taxes or
                  similar will be absorbed by the Netflix.
           3.2.   Payment Details. License Fee shall be due and payable as follows: the amount of
                  $4,200,000.00 (100%) for two (2) Titles due 365 days after the delivery of the
                  required materials as established in this Agreement and as defined on Schedule A.
           3.3.   Taxes. Each party shall, as set forth in more detail in Section 5, indemnify the other
                  for failure to pay any Taxes payable by such party pursuant to this Section and/or
                  applicable law.
       4. Delivery.
                  4.1. Source Material. Licensor shall create and deliver, at its sole expense, Source
                       Material for each Title set forth on Schedule A as of the Effective Date to
                       Netflix no later than ninety (90) calendar days prior to the applicable Start Date
                       or such other date agreed to in writing by the parties. Source Material shall be
                       loaned to Netflix for the purpose of encoding and shall be, at Licensor’s option,
                       either destroyed or, with written notice, returned to Licensor within ninety (90)
                       calendar days of accepted delivery. Licensor shall also provide, at Netflix’s
                       request, accurate music cue sheets for each Title.
                  4.2. Specifications. All Source Material shall be provided to Netflix in accordance
                       with the specifications set forth in, and accompanied by all information required
                       by, Schedule B. For the avoidance of doubt, in the event that Source Material is
                       provided in encrypted format, including for example on DVD, Netflix shall be
                       permitted to decrypt such media as necessary prior to encoding and/or encode
                       directly from such media. Notwithstanding anything to the contrary in this
                       Agreement, no advertising elements (pre-roll, bugs, bumpers, placards, etc.) or
                       overlay branding (either Licensor’s or any other third party’s) shall be included
                       before, after or within any Source Material for a Title delivered hereunder.
                       Source Material shall be delivered in the highest quality and resolution available
                       to Licensor (e.g., if not available in 1080p, then delivered in 1080i, or if not
                       available in 1080i, then delivered in 720p), including without limitation High
                       Definition
                  4.3. Acceptance. Upon Netflix's receipt of the Source Material for a Title, Netflix
                       shall have thirty (30) calendar days in which to send Licensor written notice of
                       its acceptance ("Notice of Acceptance") or rejection ("Notice of Rejection") of
                       the Source Material for that Title, such acceptance or rejection to be determined
                       by Netflix based solely upon whether such material complies with Schedule B.
                  4.4. Rejection. Upon Licensor’s receipt of a Notice of Rejection, if any, Licensor
                       shall, without delay and at its sole expense, replace the defective Source
                       Material. In the event that Licensor is unable to provide an acceptable Source
                       Material replacement, Netflix shall not be obligated to pay any License Fee with
                       respect to the relevant Title.




                                                       5
                                                                                         Exhibit 6c Page 188
FOIA Confidential Treatment Requested                                                                  JJMT-SEC-0005004
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 190 of 245 Page ID #:911
          5. Representations and Warranties; Indemnification; Limitation on Liability.
             5.1.      Netflix. Netflix represents, warrants and covenants that (i) it has the full right,
                       power, legal capacity and authority to enter into and fully perform its obligations
                       under this Agreement; (ii) there are not now any liens, claims, encumbrances, legal
                       proceedings, agreements or understandings which might conflict or interfere with,
                       limit, derogate from, be inconsistent with any of Netflix’s representations, warranties
                       or covenants contained in this Section 6.1. (iii) it has satisfied and shall satisfy during
                       the Term all third party obligations of any kind with respect to the obligations
                       acquired by this Agreement and with any third party, including the viewers of
                       Netflix; (iv) Netflix’s distribution and other exploitation of the Titles (and associated
                       Source Material and Introductory Segments) granted by this Agreement to Netflix
                       shall not violate or infringe any rights of any third party, including without limitation
                       any third party intellectual property rights, contract rights, moral rights, rights of
                       publicity, and rights of privacy, or defame or constitute unfair competition against
                       such third party; and (v) Netflix’s distribution and other exploitation of same in
                       accordance with this Agreement shall not violate any applicable law, rule or
                       regulation.
             5.2.      Licensor. Licensor represents, warrants and covenants that (i) it has the full right,
                       power, legal capacity and authority to enter into and fully perform its obligations
                       under this Agreement, and neither it nor an Affiliate has entered into an agreement
                       with another party which is inconsistent with the terms of this Agreement or would
                       otherwise prevent Licensor from fulfilling its obligations as to the Titles or under this
                       Agreement; (ii) it has and shall maintain during the Term all necessary rights, titles,
                       authorizations, consents and interests, including without limitation from all third
                       party rights holders for each Title, necessary to grant Netflix the licenses granted in
                       this Agreement, including without limitation the right to license to Netflix, on an
                       exclusive basis in accordance with Section 3.2, the Titles designated and delivered by
                       Licensor hereunder; (iii) it has satisfied and shall satisfy during the Term all third
                       party obligations of any kind with respect to the Titles (and associated Source
                       Material and Introductory Segments) and their distribution and exploitation in
                       accordance with this Agreement, including without limitation all guild residuals and
                       participations, and Netflix shall have no obligation for any such past, current or future
                       charges or similar payments; (iv) Netflix’s distribution and other exploitation of the
                       Titles (and associated Source Material and Introductory Segments) and Licensor
                       Marks in accordance with this Agreement shall not violate or infringe any rights of
                       any third party, including without limitation any third party intellectual property
                       rights, contract rights, moral rights, rights of publicity, and rights of privacy, or
                       defame or constitute unfair competition against such third party; and (v) the Titles
                       (and associated Source Material and Introductory Segments) and Netflix’s
                       distribution and other exploitation of same in accordance with this Agreement shall
                       not violate any applicable law, rule or regulation.
             5.3.      Indemnification.
                    5.3.1. Licensor will defend, indemnify and hold harmless Netflix, its directors,
                           officers and employees from any and all loss, damage, claim, liability or
                           expense (including legal fees and costs) actually incurred as a result of a
                           third party claim (“Claim”) to the extent arising out of a breach or alleged
                           breach of the representations and warranties made in Section 6.1 or (ii)
                           any failure by Licensor to pay any Taxes required to be paid to any
                           governmental entity on monies earned by Licensor hereunder or as a result
                           of Licensor’s performance of its obligations hereunder.
                    5.3.2. Netflix will defend, indemnify and hold harmless Licensor, its directors,
                           officers, employees from any and all Claim to the extent arising out of a
                           breach or alleged breach of (i) the representations and warranties made in
                           Section 6.2 and/or (ii) any failure by Netflix to pay any Taxes required to




                                                             6
                                                                                            Exhibit 6c Page 189
FOIA Confidential Treatment Requested                                                                       JJMT-SEC-0005005
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 191 of 245 Page ID #:912
                      be paid by Netflix to any governmental entity on monies earned by Netflix
                      hereunder or as a result of Netflix’s performance of its obligations
                      hereunder.
          6. Confidentiality.
          6.1 Confidential Information. Each party acknowledges and agrees that all business and
              technical information provided to it by the other party pursuant to this Agreement
              constitutes confidential and/or proprietary information of the other party
              (“Confidential Information”). Confidential Information shall includes all oral,
              written or recorded confidential and/or proprietary information about or related to the
              disclosing party or its business, including without limitation the terms and conditions
              of this Agreement. Notwithstanding the foregoing, Confidential Information does not
              include information that (i) is or becomes publicly available without breach of this
              Agreement; (ii) can be shown by documentation to have been known to the receiving
              party prior to its receipt from the disclosing party; (iii) is rightfully received from a
              third party who did not acquire or disclose such information by a wrongful or tortious
              act; (iv) can be shown by documentation to have been developed by the receiving
              party without reference to any Confidential Information; or (v) that the receiving
              party becomes legally obligated to disclose to a governmental entity with jurisdiction
              over it.
          6.2 Use of Confidential Information. Neither party shall use the other’s Confidential
              Information for its own use or for any purpose other than as necessary to perform or
              enforce its rights and/or obligations under this Agreement or as required by law, or
              disclose such information to any third party (except for attorneys, accountants, and/or
              the third party contractors identified in Section 9.3, provided such parties have reason
              to know such information and are bound to a confidentiality agreement at least as
              protective as this Section 7). Each party shall take all reasonable measures to protect
              the secrecy of and avoid disclosure of Confidential Information, which measures shall
              be no less than reasonable care and shall include all of those measures that the
              receiving party uses to protect its own Confidential Information. This Section 7 shall
              survive expiration or earlier termination of this Agreement.
          7. Termination.
             7.1.    Either party may terminate this Agreement:
                 7.1.1. in the event of a material uncured breach or default by the other party of
                        any of its obligations under this Agreement, provided that (i) notice is
                        provided to the other party in writing and (ii) such breach or default is not
                        cured within thirty (30) calendar days following the date such notice is
                        deemed given, unless such breach or default is by nature uncurable in
                        which case this Agreement shall be terminable on the date of notice; or
                 7.1.2. in the event that the other party (i) institutes or otherwise becomes a party,
                        voluntarily or involuntarily, to a proceeding alleging or pertaining to the
                        insolvency or bankruptcy of that party; (ii) is dissolved or liquidated; (iii)
                        makes an assignment of its material assets for the benefit of creditors;
                        and/or (iv) initiates or is subject to reorganization proceedings. This
                        Agreement shall be terminable on the date written notice is deemed given
                        to such party.
             7.2.    No Waiver. Waiver by either party of a single breach or default or a
                     succession of breaches or defaults shall not deprive such party of the right to
                     terminate this Agreement by reason of any subsequent breach or default.




                                                        7
                                                                                    Exhibit 6c Page 190
FOIA Confidential Treatment Requested                                                            JJMT-SEC-0005006
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 192 of 245 Page ID #:913
             7.3.  Effect of Termination or Expiration. Upon termination or expiration of this
                   Agreement, the licenses granted hereunder shall immediately terminate.
                   Nothing herein shall be construed to release either party from any obligation
                   that matured prior to the effective date of such termination or expiration (or
                   which may continue beyond such termination or expiration) or to relieve the
                   defaulting party from any and all liabilities at law or in equity to the other for
                   breach of this Agreement. Further, in the event that this Agreement is
                   terminated due to a material breach or default of Licensor, Licensor shall
                   refund or credit to Netflix, at Netflix’s option and within thirty (30) calendar
                   days of the effective date of such termination, a prorated amount of the
                   aggregate License Fees paid to Licensor, calculated as of the effective date of
                   such termination and based upon the amount of time remaining in the relevant
                   Title License Periods.
              7.4.   Survival. Those rights and obligations, which by their very nature are
                     intended to survive termination or expiration of this Agreement, shall survive,
                     including without limitation Sections 1, 2.8, 4.3, 6.3, 6.4, 7, and 8.
          8. General Provisions.
              8.1.   Governing Law; Dispute Resolution. This Agreement was fully negotiated
                     and entered into in, and shall be governed by and construed and enforced in
                     accordance with the federal laws of United States of Mexico without regard to
                     its rules on conflict of laws or any other rules that would result in the
                     application of a different body of law. The parties consent to the exclusive
                     jurisdiction and venue of the Federal and State Courts located in Mexico,
                     Federal District for purposes of any proceeding arising out of or relating to
                     this Agreement.
              8.2.   Third Party Contractors. Netflix may use third party contractors (e.g.,
                     backend fulfillment providers that encode, encrypt, store and/or host content)
                     to exercise its rights and fulfill its obligations pursuant to Section 2; provided,
                     however, that Netflix shall be fully responsible for any act or omission, or
                     failure of any right or obligation of this Agreement by such a contractor in the
                     event that such an act, failure or omission, if performed by Netflix instead of
                     such contractor, would constitute a breach by Netflix of this Agreement.
              8.3.   Notice. Notices and other communications required or permitted to be given
                     hereunder shall be given in writing and delivered in person, sent via certified
                     mail or email, or delivered by nationally-recognized courier service, properly
                     addressed and stamped with the required postage, if applicable, to the
                     applicable individuals and addresses specified in the signature block below.
                     Notice shall be deemed effective upon receipt.
              8.4.   Assignment. Neither this Agreement nor any rights, licenses or obligations
                     hereunder may be assigned by either party without the prior written approval
                     of the non-assigning party, which shall not be unreasonably withheld or
                     delayed. Notwithstanding the foregoing, either party may assign this
                     Agreement to any parent of such party, wholly-owned subsidiary of such
                     party, or any acquirer of all or of substantially all of such party's equity
                     securities or assets, provided that such party provides the non-assigning party
                     with prompt written notice. Any purported assignment not in accordance with
                     this section shall be void. Subject to the foregoing, this Agreement will
                     benefit and bind the parties' successors and assigns.
              8.5.   Severability. If any provision of this Agreement, other than a provision going
                     to the essence of the Agreement, is held to be unenforceable pursuant to



                                                        8
                                                                                     Exhibit 6c Page 191
FOIA Confidential Treatment Requested                                                              JJMT-SEC-0005007
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 193 of 245 Page ID #:914
                   Section 9.1, such decision shall not affect the validity or enforceability of any
                   other provision of this Agreement. Any provision of this Agreement held
                   invalid or unenforceable shall, to the extent practicable, be substituted with a
                   valid and enforceable provision that achieves the results contemplated by the
                   parties in the original provision.
             8.6.   Headings. The headings of Sections and subsections in this Agreement are
                    provided for convenience only and shall not affect its construction or
                    interpretation.
             8.7.   Counterparts. This Agreement may be executed in two counterparts, each of
                    which will be deemed to be an original copy of this Agreement and all of
                    which together shall constitute one and the same Agreement.
             8.8.   Entire Agreement. This Agreement supersedes all prior or contemporaneous
                    negotiations and agreements (whether oral or written) between the parties with
                    respect to the subject matter thereof and constitutes, along with its Exhibits, a
                    complete and exclusive statement of the terms and conditions of the
                    Agreement between the parties with respect to such subject matter. This
                    Agreement may not be amended or modified except by the written agreement
                    of both parties. The language of this Agreement is English, and any
                    translations shall have no effect and shall not be binding.


          IN WITNESS WHEREOF, the parties have caused this Agreement to be executed by
          their duly authorized representatives as of the date first written above.
          1INMM CAPITAL LLC                               NETFLIX INC.



          By:                                             By:
          Name: Zachary Horwitz                           Name: Funa Maduka
          Title: MANAGING PARTNER____                     Title: VP, Content Acquisition




                                                      9
                                                                                  Exhibit 6c Page 192
FOIA Confidential Treatment Requested                                                          JJMT-SEC-0005008
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 194 of 245 Page ID #:915
                                                Schedule A-1
                                                   Titles


          TITLE:                      ACTIVE MEASURES

          YEAR:                       2018

          START DATE:                 DECEMBER 21ST, 2018

          LICENSE PERIOD:             36 MONTHS EXCLUSIVE for AVOD and SVOD; 18 months for any
                                      other licensed right according to the terms conditions of the Agreement.

          LICENSE PLATFORM:           SVOD, PAY TV, BASIC TV, AVOD

          LICENSE NET FEE:            $2,100,000.00

          FORMAT:                     HD

          TERRYTORY:                   ALL LATIN AMERICA INCLUDING BRAZIL
          ___________________________________________________________________

          TITLE:                      DIVIDE AND CONQUER: THE STORY OF ROGER AILES

          YEAR:                       2018

          START DATE:                 DECEMBER 21ST, 2018

          LICENSE PERIOD:             36 MONTHS EXCLUSIVE for AVOD and SVOD; 18 months for any
                                      other licensed right according to the terms conditions of the Agreement.

          LICENSE PLATFORM:           SVOD, PAY TV, BASIC TV, AVOD

          LICENSE NET FEE:            $2,100,000.00

          FORMAT:                     HD

          TERRYTORY:                   ALL LATIN AMERICA INCLUDING BRAZIL
          ___________________________________________________________________




                                                      10
                                                                                        Exhibit 6c Page 193
FOIA Confidential Treatment Requested                                                                   JJMT-SEC-0005009
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 195 of 245 Page ID #:916
                                                      Schedule B
                                    Source Material Requirements and Specifications
           NETFLIX, INC (“NTFLX”) will determine the appropriate source for it’s encoding.
           Examples of sources are listed below. If Content Provider does not have the source
           NTFLX requests, then NTFLX and Content Provider will mutually agree upon the source.

           Per the agreement, it is the Content Provider’s obligation to deliver Source Material
           compliant with the specifications below to NTFLX.
           Requirements

           Primary Digital Assets

                                                      File Type
                                              (in order of preference)
                                         1. High Definition – MPEG-2 (80
                                            Mbps)
                                         2. Standard Definition – MPEG-2 (50
                                            Mbps)

           We accept .mpg for MPEG-2 files. For a given title, only one contiguous file can be
           delivered. Titles cannot be delivered as multi-part files, i.e., if a title is 90 minutes in
           duration, a single file with 90-minute duration must be delivered. Two (2) files with 45-
           minute durations will not be accepted. Below in section 3 Primary Digital Asset
           Specifications are the technical details for the acceptable formats.

           Please ensure that all files do not contain bars and tones, advertisements, slates,
           ratings cards, FBI warning cards, placards, overlay branding or website link callouts
           before, during and/or after the program. Also, no commercial blacks can be contained
           in the program. There are no exceptions to these requirements. All files must consist
           of the feature program with one (1) second of black at the head and tail of the
           program.




                                                          11
                                                                                      Exhibit 6c Page 194
FOIA Confidential Treatment Requested                                                            JJMT-SEC-0005010
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 196 of 245 Page ID #:917
            Digital Video Prerequisites
            We require 16x9 (1:1 PAR for HD, 32:27 PAR for SD) versions if available. The following
            information and table specify the priority order in which NTFLX will accept content.
                    1. 16x9 (1:1 PAR for HD, 32:27 PAR for SD)
                    2. We will only accept 4x3 content if 16x9 (1:1 PAR for HD, 32:27 for SD)
                         sources do not exist.
                    3. HD sources must be in 23.976p format. 60i or 50i sources will only be
                         accepted if feature was originally shot in 60i or 50i.
                    4. Please refer to the table below for quick reference.
              Preference        Format       DAR PAR            Frame Rate            Scan Type
                Priority
                   1              HD         16x9     1:1          23.976            Progressive
                              1920x1080
                   2              HD         16x9     1:1      25 or 29.97 or       Interlaced or
                              1920x1080                             59.94            Progressive
                   3         HD 1280x720 16x9         1:1          23.976            Progressive
                   4         HD 1280x720 16x9         1:1      25 or 29.97 or        Progressive
                                                                    59.94
                   5          SD 720x480 16x9 32:27                23.976            Progressive
                   6          SD 720x480 16x9 32:27             25 or 29.97         Interlaced or
                                                                                     Progressive
                   7          SD 720x480      4x3     8:9          23.976            Progressive
                   8          SD 720x480      4x3     8:9       25 or 29.97         Interlaced or
                                                                                     Progressive


            Digital Audio Prerequisites
            Titles with surround sound require 5.1 audio. When 5.1 audio is supplied an additional
            2-channel Left Total + Right Total mix (2-channel stereo mix) must be supplied on the
            same audio track as well. We require a single audio track that contains all 8 channels (6
            channels for the 5.1 and 2 channels for the LT/RT mix). We do not accept multi-track
            audio files.

            If a conformed 5.1 audio source is not available, stereo audio (or mono audio if the
            program is an old black-and-white movie, documentary, etc., as long as the original
            source was mono) will be accepted.

            We use standard channel assignments as shown below:
              1. 5.1 audio + 2.0 audio channel assignments
                      a. Channel 1 – Left
                      b. Channel 2 – Right
                      c. Channel 3 – Center
                      d. Channel 4 – LFE
                      e. Channel 5 – Left Surround
                      f. Channel 6 – Right Surround
                      g. Channel 7 – Left Total
                      h. Channel 8 – Right Total




                                                        12
                                                                                 Exhibit 6c Page 195
FOIA Confidential Treatment Requested                                                          JJMT-SEC-0005011
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 197 of 245 Page ID #:918
                2. Stereo Comp audio only
                      a. Channel 1 – Left Total
                      b. Channel 2 – Right Total

                 3. Mono Comp audio (usually old black-and-white movies, etc.)
                      a. Channel 1 – Mono Comp
                      b. Channel 2 – Mono Comp

             Primary Digital Asset Specifications

             MPEG-2 Specifications

             High Definition – MPEG-2 (80 Mbps)
                    1. Video Codec: MPEG-2
                    2. Profile ID: High Profile
                    3. Level ID: High Level
                    4. Video Bitrate: 80 megabits
                    5. Resolution:
                          a. 1920x1080
                          b. 1280x720
                    6. Audio Codec:
                               a. Multi-Channel Assignment (if available)
                                    i. Acceptable audio codecs
                                          1. Multi-channel PCM – 16bit, 48 kHz (Little Endian)
                                          2. Multi-channel AES3 LPCM (302m) – 16 bit, 48 kHz
                                   ii. Channel Mapping
                                          1. Channel 1 – Left
                                          2. Channel 2 – Right
                                          3. Channel 3 – Center
                                          4. Channel 4 – LFE
                                          5. Channel 5 – Left Surround
                                          6. Channel 6 – Right Surround
                                          7. Channel 7 – Left Total
                                          8. Channel 8 – Right Total
                               b. Stereo Assignment (if multi-channel does not exist)
                                    i. Acceptable stereo audio codecs
                                          1. PCM – 16 bit, 48 kHz (Little Endian)
                                          2. Stereo AES3 LPCM (302m) – 16 bit, 48 kHz
                                          3. DVD LPCM – 16 bit, 48 kHz
                                          4. MPEG Layer 1 – 48 kHz, 448 kbps
                                   ii. Channel Mapping
                                          1. Channel 1 – Left Total
                                          2. Channel 2 – Right Total
                    7. Frame rate: (frame rate should match source)
                          a. 23.976 progressive
                          b. 25.00 progressive
                          c. 25.00 interlaced
                          d. 29.97 progressive
                          e. 29.97 interlaced
                          f. 59.94 progressive




                                                       13
                                                                              Exhibit 6c Page 196
FOIA Confidential Treatment Requested                                                     JJMT-SEC-0005012
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 198 of 245 Page ID #:919
                 8. Aspect Ratio:
                         a. 1:1 square pixels
                 9. Intra DC Precision: 10-bit
                 10. Chroma Format: 4:2:2
                 11. GOP Structure: I-frame ONLY
                 12. Closed Captioning: As defined in section 3.3 Closed Captioning below
                 13. Stream Type: Transport Stream

           Standard Definition – MPEG-2 (50 Mbps)
                   1.  Video Codec: MPEG-2
                   2.  Profile ID: High Profile
                   3.  Level ID: High Level
                   4.  Video Bitrate: 50 megabits
                   5.  Resolution:
                           a. NTSC or Film: 720x480
                           b. PAL: 720x576
                   6. Audio Codec:
                           a. PCM – 48 kHz or 44.1 kHz, 16-bit, stereo (Little Endian)
                           b. DVD LPCM – 48 kHz, 16-bit, stereo
                           c. MPEG Layer 1 – 48 kHz or 44.1 kHz, 16-bit, stereo with minimum data
                               rate of 128 kbps
                   7. Frame rate: (please ensure all files are de-interlaced, or have had Inverse-
                       Telecine applied, to make sure the content is progressive and not interlaced)
                           a. 23.976 progressive
                           b. 25.00 progressive
                           c. 25.00 interlaced
                           d. 29.97 progressive
                           e. 29.97 interlaced
                   8. Aspect Ratio:
                           a. 4x3 if standard
                           b. 16x9 if anamorphic
                   9. Intra DC Precision: 10-bit
                   10. Chroma Format: 4:2:2
                   11. GOP Structure: I-frame ONLY
                   12. Closed Captioning: As defined in section 3.3 Closed Captioning below
                   13. Stream Type: Transport Stream

           Subtitle as a Separate File
           The preferred formats for subtitles are text-based WC3 Timed Text Markup Language
           (.dfxp) or SubRip (.srt) formats; otherwise they must be one of the acceptable formats
           listed below. The subtitle file must have time code that is conformed (synced) to the
           digital video file asset. Raster image-based subtitles will not be accepted.

           Acceptable Text-Based Subtitle Files:
              • DFXP
              • SRT
              • SAMI
              • DailyScripts
              • DVD Nav




                                                      14
                                                                                 Exhibit 6c Page 197
FOIA Confidential Treatment Requested                                                         JJMT-SEC-0005013
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 199 of 245 Page ID #:920
              • Softitler

           Please ensure all subtitle files do not contain advertisements, placards, overlay branding
           or website link callouts.

           If your text-based subtitle format is not listed above please contact NTFLX to discuss
           other options.

           Please follow the file-naming convention specified in section 5 File-Naming Conventions

           Closed Captioning

           Closed Captions as Ancillary Data
           This is the preferred method of delivery. The primary closed caption data must be
           carried within the video stream as Line21 data. For MPEG-2 video, the Line21 captions
           must be carried in the picture user data, as defined in “ATSC Standard: Digital Television
           Standard (A/53), Revision D, section 5.2.”

           Please ensure all caption files do not contain advertisements, placards, overlay branding
           or website link callouts.

           Closed Captioning as Separate File
           If closed captioning must be delivered as a separate file, it must be submitted in one of
           the acceptable formats listed below. The closed caption file must have time code that is
           conformed (synced) to the digital video file asset. Raster image-based closed captioning
           will not be accepted.

           Acceptable Closed Caption Files:
              • SCC
              • DFXP
              • DailyScripts
              • SDI Media
              • Softitler
              • DVD Nav

           Please ensure all caption files do not contain advertisements, placards, overlay branding
           or website link callouts.

           If your closed caption format is not listed above please contact NTFLX to discuss other
           options.

           Please follow the file-naming convention specified in section 5 File Naming Conventions


           Secondary Digital Assets Specifications

           Alternate Language Audio as a Separate File
           If alternate language audio tracks are available, then they should be conformed to the
           primary digital audio/video asset delivered. Acceptable formats for alternate language
           audio tracks are stereo or multichannel AAC (in an MP4 wrapper) or AES3 LPCM audio




                                                         15
                                                                                 Exhibit 6c Page 198
FOIA Confidential Treatment Requested                                                          JJMT-SEC-0005014
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 200 of 245 Page ID #:921
           (in a MPEG-2 Transport Stream, .mpg). Either format should be encoded at the highest
           possible bitrate to maintain fidelity. Please follow the file-naming convention described
           below.

           Acceptable Alternate Language Audio Formats
                   1. Audio Codec and Container:
                          a. AAC (Low Complexity) in an MP4 container (.mp4)
                   2. Bitrate: Highest bitrate possible
                   3. Sample rate: 44.1 kHz or 48 kHz
                   4. 5.1 Audio Channel Mapping:
                          a. Channel 1 – Left
                          b. Channel 2 – Right
                          c. Channel 3 – Center
                          d. Channel 4 – LFE
                          e. Channel 5 – Left Surround
                          f. Channel 6 – Right Surround
                   5. 2.0 Audio Channel Mapping:
                          a. Channel 1 – Left Total
                          b. Channel 2 – Right Total
           File-Naming Conventions

           Primary Video Asset File-Naming
           The file-naming convention for the MPEG-2 file is as follows:
           [movieID]_[framerate]_[aspectratio]_[bitrate]_[countrycode].mpg

           The country code is used to specify for which country the asset has rights. If the asset
           has rights for a specific country, then the 2-letter country code should be used as
           defined by the ISO 3166-1-alpha-2 code specifications
           (http://www.iso.org/iso/english_country_names_and_code_elements). If the asset has
           global rights, then the word “global” should be used in place of the 2-letter country
           code.

           Example for High-Definition Files
           60011152_24_178_80_us.mpg
           60028202_60i_185_80_ca.mpg
           60028204_60p_178_80_global.mpg


           Example for Standard-Definition Files
           60028202_24_235_50_fr.mpg


           Alternate Language Audio File-Naming
           The audio filename should follow the same file-naming convention as the primary asset
           file name, with the addition of channel mapping with the file name:

           [movieID]_[framerate]_[aspectratio]_[channel1]_[channel2]_..._[channelX]_[2letterLa
           nguageCode].[ext]




                                                      16
                                                                                Exhibit 6c Page 199
FOIA Confidential Treatment Requested                                                        JJMT-SEC-0005015
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 201 of 245 Page ID #:922
           Please use the 2-letter language codes as defined in the ISO 639-1 specifications
           (http://www.loc.gov/standards/iso639-2/php/code_list.php).

           The filename should match the channel mapping of the audio file.

           Examples:
           70106666_24_178_80_L_R_C_Lfe_Ls_Rs_ca.mp4
           70106666_24_178_80_LT_RT_fr.mpg
           70106667_30_178_80_L_R_C_Lfe_Ls_Rs_es.mp4


           Subtitle File-Naming
           The file-naming convention of closed caption file is as follows:

           [movieID]_[framerate]_[aspectratio]_[2letterLanguageCode].scc
           or named exactly the same as the video asset except with “_2letterLanguageCode” post-
           fixed to the filename of the secondary Closed Caption (CC) file.

           Please use the 2-letter language codes as defined in the ISO 639-1 specifications
           (http://www.loc.gov/standards/iso639-2/php/code_list.php).

           Example:
           60028202_24_235_es.scc
           60028202_24_235_en.srt
           72343234_30_133_fr.smi
           72342123_24_178_pt.smi



           Closed Caption File-Naming
           The file-naming convention of the secondary closed caption file is as follows:

           [movieID]_[framerate]_[aspectratio]_[2letterLanguageCode].scc

           Or named exactly the same as the video asset except with “_2letterLanguageCode”
           post-fixed to the filename of the secondary Closed Caption (CC) file.

           Please use the 2-letter language codes as defined in the ISO 639-1 specifications
           (http://www.loc.gov/standards/iso639-2/php/code_list.php).

           Example:
           60028202_24_235_es.scc
           60028202_24_235_en.scc
           60028202_24_235_fr.scc
           60028202_24_235_pt.scc




                                                       17
                                                                                 Exhibit 6c Page 200
FOIA Confidential Treatment Requested                                                          JJMT-SEC-0005016
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 202 of 245 Page ID #:923
           Metadata

           Movie Content Metadata
           Movie metadata is required for all content and is to be submitted via the approved
           NTFLX Metadata Template to NTFLX@NTFLX.TV

           All dubbed and/or subtitled content is to be accompanied with the relevant metadata in
           the original and alternate language to support the source delivered.

           Sample metadata files via XMLs may also be submitted and require NTFLX approval prior
           to acceptance.

           Primary and Secondary Assets Metadata
           If metadata for the primary and secondary assets is available via vendor API or file
           (XML,TXT, etc.), NTFLX will require access to the API or sample file for approval prior to
           acceptance.
           Delivery

           Network Delivery via Aspera
           Currently, NTFLX uses Aspera exclusively for network delivery. The Content Supplier
           must push content to NTFLX via Aspera. NTFLX will not pull content.

           Please be prepared to provide the following information in order to set up an Aspera
           account.
               •      Public outbound IP address(es) for which your host(s) will use for transferring
                      files to us via Aspera.
               •      Technical contact (name, e-mail and phone number) of the person responsible
                      for setting up the Aspera connection on your end.


           Directory Structure and File Organization
           The following folder structure must be followed to organize each group of conformed
           assets. A group of conformed assets must consist of one audio/video muxed primary
           digital asset and any of its other conformed digital assets.

           Folder Structure of external hard drive:

           E:.
           +---[NFLXMovieID] – (directory)
                  [DigitalAsset1a] – (file)
                  [DigitalAsset1b] – (file)
                  [DigitalAsset1c] – (file)

           Example:
           E:.
           +---61234123
           | 61234123_24_178_80_us.mpg
           | 61234123_24_178_80_en.scc
           |




                                                          18
                                                                                    Exhibit 6c Page 201
FOIA Confidential Treatment Requested                                                            JJMT-SEC-0005017
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 203 of 245 Page ID #:924
        +---62345234
        | 62345234_24_235_80_us.mpg
        |
        +---7712332
        | 7712332_60i_133_80_en.scc
        | 7712332_60i_133_80_es.srt
        | 7712332_60i_133_80_us.mpg
        |
        +---79661231
          79661231_30_178_50_ca.mpg
          79661231_30_178_50_en.scc
          79661231_30_178_50_fr.srt
          79661231_30_178_50_LT_RT_es.mp4
          79661231_30_178_50_L_R_C_Lfe_Ls_Rs_fr.mp4
        Artwork
        High-resolution images are required for every title and must be submitted a minimum of
        30 days in advance of licensing start date to NTFLX via any of these options:
                   a. Vendor-provided website
                   b. FTP (must request access from NTFLX)
                   c. Email: alebrije@alebrije.tv

        Artwork is accepted in original and bilingual language formats for all content.

        File-naming convention:
        [NTFLXMovieID].png (or .tiff or .jpg)

        If NTFLX movie ID not known, use movie title:
        [MovieTitle].png (or .tiff or .jpg)

        Examples:
        60028202.jpg
        Terminator2.jpg

        Below are the requirements for submitting artwork to NTFLX. We seek the highest
        quality possible to ensure optimal display for the website and NTFLX-ready devices.



         Artwork Attribute            Description
                                      Box art: 1:1.40 (w:h) aspect ratio. Aspect ratio tolerance: 1:35
         Image Aspect Ratio           through 1:1.45.
         Image Height (h)             Box art: 800 pixels minimum. Higher is better.
                                      Box art: Depends on image height. For example, 570 (w) x 800 (h)
         Image Width (w)              when art is 1:1.40.
         Image Resolution             150 dpi
         Pixel Aspect Ratio           Square (1.0)
                                      RGB Color (8-bits/channel). Conversions from CMYK are
         Color Mode                   undesirable.
         File Format                  Uncompressed (.png, .tiff, etc.). JPEGs acceptable with “maximum



                                                    19
                                                                                  Exhibit 6c Page 202
FOIA Confidential Treatment Requested                                                         JJMT-SEC-0005018
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 204 of 245 Page ID #:925
                               quality” compression.
         Black Point           RGB 0 - 0 - 0
         White Point           RGB 255 - 255 - 255
                               No color profiles assigned (a 2.1/2.2 gamma setting on calibrated
         Color Profile         monitors is assumed).
                               Artwork should be two-dimensional and extend over entire image
         Image Area            area. No extraneous graphics (borders, frames, drop shadows).
                               Art should not have graphical elements (such as Now on DVD,
         Graphical Elements    Widescreen, Coming Soon, Available on Blu-ray, etc.).




                                              20
                                                                       Exhibit 6c Page 203
FOIA Confidential Treatment Requested                                              JJMT-SEC-0005019
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 205 of 245 Page ID #:926




                        Exhibit 7a




                                                             Exhibit 7a Page 204
         Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 206 of 245 Page ID #:927

                                            INTERNATIONAL LICENSE AGREEMENT

    THIS AGREEMENT (the "Agreement”) is made as of February 27, 2019, between SIERRA/AFFINITY ("Sales Agent"), whose
    address is 9378 Wilshire Blvd, Beverly Hills, CA 90212, as sales agent on behalf of Pupkin Productions (“Licensor”), and the
    party named below ("Distributor"). Licensor and Distributor each hereby agree as set forth herein below.

    1.       DISTRIBUTOR: 1INMM CAPITAL LLC
             Address: 3129-A S. La Cienega Blvd Los Angeles, CA
             Ph. No.: 773.724.0290
             Attn.: Zachary Horwitz
             Email: zach@1inmm.com

    2.       PICTURE:          “Lucia’s Grace (the “Picture”).
                               Starring: Alba Rohrwacher and Elio Germano
                               Director: Gianni Zanasi
                               Writer: Michele Pellegrini

    3.       TERRITORY:

    (A)      The “Latin American Territory” shall be defined as Anguilla, Antigua, Argentina, Aruba, Bahamas (non-exclusive
    only), Barbados, Barbuda, Belize, Bolivia, Bonaire, Brazil, Cayman Islands, Chile, Colombia, Costa Rica, Cuba, Curacao,
    Dominica, Dominican Republic, Ecuador, El Salvador, French Guiana (non-exclusive only), Grenada, Guadeloupe, Guatemala,
    Guyana, Haiti (non-exclusive only), Honduras, Jamaica, Martinique (non-exclusive only), Mexico, Montserrat, Nicaragua,
    Panama, Paraguay, Peru, St. Barthelme, St. Lucia, St. Martin, St. Vincent & Grenadines, Suriname (non-exclusive only),
    Trinidad & Tobago, Turks & Caicos, Uruguay, Venezuela, Virgin Islands (British), and

    (B)    The “African Territory” shall be defined as South Africa, Angola, Cape Verde, Ethiopia, Lesotho,           Namibia,
    Zimbabwe, Botswana, Mozambique, Swaziland, Malawi, Zambia, Kenya, Uganda, Tanzania and Nigeria

    (the “Latin American Territory” and “African Territory” shall be collectively defined as the “Territory”).

    4.     TERM: For all Licensed Rights (as defined below) herein, the Term shall commence on full execution of this
    Agreement and expire Fifteen (15) years thereafter (the “Term”).

    5.       AUTHORIZED LANGUAGE (S):

    (A)     In the Latin American Territory: subtitled and/or dubbed in Spanish and Portuguese (the “Latin American
    Authorized Language(s)”).

    (B)     In the African Territory: subtitled and/or dubbed in local languages indigenous to the African Territory (the
    “African Authorized Language(s)”).

    (C)      The languages granted in Paragraphs 5(A) and (B) shall be collectively defined as the “Authorized Language(s)”.

    (D)     Any and all DVD or Home Video packaging shall be in the Authorized Language(s) only and not in the English
    language.

    6.       FLAT LICENSE FEE: Distributor shall pay Licensor a non-returnable License Fee in the amount of One Million Three
    Hundred Ninety-Seven Thousand Five Hundred United States Dollars (US $1,397,500.00) net of all taxes and without deduction
    of any kind (the “License Fee”), payable as follows:

             One Hundred Percent (100%) [US$1,397,500.00] due on full execution of this Agreement.

    Distributor’s Licensed Rights do not vest until Licensor has received 100% of the License Fee and full payment for the costs of
    the Delivery Materials. Distributor is not licensed and shall not exploit any of the Licensed Rights until such amounts are paid in
    full. Sales Agent will not be obligated to deliver to Distributor any Delivery Materials until 100% of the License Fee and full
    payment for the costs for the Delivery Materials (including shipping) have been remitted by Distributor and received by Sales
    Agent. Distributor acknowledges and agrees that time is of the essence and the payment schedule set forth herein will be strictly
    enforced. Failure to pay by the due dates herein will result in Licensor or Sales Agent having the right to terminate this


                                                                                                      Exhibit 7a Page 205
FOIA Confidential Treatment Requested                                                                                 JJMT-SEC-0005020
        Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 207 of 245 Page ID #:928
   Agreement and pursue all legal and equitable remedies.

   All installments of the License Fee, as well as all other monies due to Licensor under this Agreement, including Delivery
   Materials costs, will be paid by wire transfer to the following account:

                                 [ACCOUNT INFORMATION TO BE PROVIDED WITH INVOICE]

   7.       MATERIALS / DELIVERY:

                      (A)      Distributor shall order and pay for the Initial Materials (as defined below) within thirty (30) days
   following the date that Sales Agent provides Distributor with notice that Sales Agent is ready to effect Delivery (as defined
   below) of such Initial Materials (“Notice of Delivery”). Distributor acknowledges that (i) there is no guaranteed outside
   completion date, (ii) the Picture will be ready for delivery to Distributor only when final and complete, and (iii) the determination
   of finality and related timing for Delivery (taking into account both the completion of the Picture and additional factors affecting
   the timing of international release such as festival and award considerations) shall be at Licensor's sole discretion).

                     (B)       Delivery as used herein means delivery (at Distributor's cost of materials and shipping to be fully paid
   prior to shipment) of the Initial Materials and Additional Materials set forth below and in the Delivery Schedule attached hereto
   and incorporated herein as Exhibit “A” ("Delivery Materials"). Distributor acknowledges and agrees that it has reviewed the
   Delivery Materials list below and that no other Delivery Materials are required in order for Distributor to exercise its rights under
   this Agreement.

                     Initial Materials:

                     •        Theatrical: 35 mm Print (which may be used);
                     •        Theatrical: Music Cue Sheet (which Sales Agent may provide electronically);
                     •        Video/DVD: Beta or Digital Betacam PAL or NTSC Master (Sales Agent’s election following
                              consultation with Distributor) of the Picture; and
                     •        Dialogue List (which Sales Agent may provide electronically)
                              Additional Materials (to be delivered only if and when available):

                     •        Key Art (which Sales Agent may provide electronically).

                     (C)      Distributor will have ten (10) days to review and evaluate the Delivery Materials, and each
   delivery item delivered hereunder will be deemed acceptable for all purposes hereunder unless Distributor gives Sales
   Agent written notice of rejection within ten (10) days after Distributor’s receipt or access to such item (“Notice of
   Rejection”). Distributor may only reject Delivery Materials on grounds of technical quality and not for any other reason,
   including probability of commercial success or artistic grounds. The Notice of Rejection must include a laboratory report
   from a reputable recognized laboratory in the theatrical motion picture business stating full details of the technical
   defects in any rejected item(s).

                     (D)      Sales Agent has thirty (30) days after receipt of a Notice of Rejection to cure such rejection by
   correcting the asserted defect(s) or delivering replacement item(s), or submit the issue of whether Delivery was effected
   to arbitration as set forth below. If Sales Agent elects to cure such rejection, then the time periods set forth above for
   review and cure will be applicable to the delivery of corrected and replaced Delivery Materials as well.

                     (E)     Distributor hereby acknowledges and agrees that no individual(s) or specification(s), including without
   limitation the any cast member or the director, and no other specifications is (are) essential for purposes of effectuating Delivery
   and Distributor may not refuse to accept Delivery should any individual(s) be replaced or specification changed for any reason
   whatsoever.

                    (F)      All disputes with regard to Delivery will be resolved by IFTA Arbitration (as further set forth
   herein). The sole remedy of Distributor in any such IFTA Arbitration for a failure for any reason to deliver the Delivery
   Materials will be the return of the License Fee or portion thereof previously paid, and under no circumstances will
   Distributor be entitled to interest, lost profits, consequential damages or any equitable or injunctive relief. Additionally,
   Distributor shall not be entitled to any such return of the License Fee if the Picture has been released in any medium in
   the Territory.


                                                                      2

                                                                                                       Exhibit 7a Page 206
FOIA Confidential Treatment Requested                                                                                   JJMT-SEC-0005021
         Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 208 of 245 Page ID #:929

                      (G)       Title to all materials delivered to Distributor in connection with the Picture will remain with
    Licensor or Sales Agent (as applicable). Distributor will exercise due care in safeguarding all materials and will assume
    all risk for theft or damage while they are in transit or Distributor's possession. In respect of all materials created or
    manufactured by Distributor (including without limitation all Picture copies, packaging, artwork, marketing, dub and sub-titled
    language tracks, so-called “bonus materials,” etc.), Licensor is the copyright owner from inception, provided that if such
    ownership is not allowed under a law in the Territory, Distributor hereby grants (and from creation of each such item shall
    by the terms hereof grant) to Sales Agent an irrevocable royalty-free license to use all such materials worldwide in
    perpetuity in all media now known or hereinafter devised. In all cases, Distributor shall only use such materials during
    the Term to exploit the Licensed Rights. The creation of dubbed and sub-titled language tracks and related versions of
    the Picture, the trailers thereof, and any other materials created or duplicated by Distributor hereunder are to be made at
    Distributor’s sole cost.

                     (H)      Upon termination of this Agreement, Distributor will, at Sales Agent’s election, either: (i) return
    to Sales Agent at Distributor’s expense all materials in connection with the Picture (including without limitation all film
    and digital pre-print and exhibition materials, video inventory, marketing materials, and language tracks), whether such
    materials were delivered to Distributor or created by Distributor or any of its sub -distributors or licensees; or (ii) destroy
    all such materials and provide Sales Agent with a customary certificate of destruction executed by an authorized officer of
    Distributor.

                     (I)      All costs of Delivery, return and destruction (including shipping charges, import fees, duties,
    brokerage fees, storage charges and related charges) will be Distributor's sole r e s p o n s i b i l i t y .

    8.       LICENSED RIGHTS / RESERVED RIGHTS / HOLDBACKS:

                      (A)       Subject to the condition precedent of timely payment in full of the License Fee without deduction or
    offset of any kind, Licensor shall license to Distributor the following exclusive distribution rights to the Picture for t h e Territory,
    for the duration of the Term, and in the Authorized Language(s) ("Licensed Rights”). All rights not specifically licensed herein
    whether now known or hereafter devised (including without limitation so-called “clip rights” to license excerpts of the Picture for
    unrelated third party use) are reserved to Licensor (“Reserved Rights”). Distributor is expressly prohibited from exploiting any
    of the Reserved Rights.

                                                   Licensed to        Reserved to        Distributor's
    Licensed Right                                 Distributor        Licensor           Holdback Period

    Cinematic Rights:
    Theatrical                                      X
    Non-Theatrical                                  X
    (including Hotel/Motel Rights)
    Public Video                                    X
    Commercial Video                                X

    Home Video Rights:
    Home Video Rental                               X
    Home Video Sellthru                             X

    Ancillary Rights:
    Airline                                         X
    Ship                                            X

    Pay TV Rights:
    Terrestrial                                     X                                    *
    Cable                                           X                                    *
    Satellite                                       X                                    *

    Free TV Rights:
    Terrestrial                                     X                                    *
    Cable                                           X                                    *
    Satellite                                       X                                    *
                                                                         3

                                                                                                           Exhibit 7a Page 207
FOIA Confidential Treatment Requested                                                                                       JJMT-SEC-0005022
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 209 of 245 Page ID #:930
    Free Video-on-Demand                          _X

    Other TV Rights:
    Video-On-Demand (“VOD”)                       _X
    Subscription VOD (“SVOD”)                     _X
    Near VOD (“NVOD”)                             _X
    Pay-Per-View                                  _X

    Internet Rights: Post Home Video Window
    VOD (e.g., iTunes)                      X
    SVOD (e.g., Netflix)                    X _
    Transactional VOD (“TVOD”)              X___
    Electronic Rental                       X                                          *
    Electronic Sell Thru (“EST”)            X___                                       *

                      (B)      Holdbacks:

    Distributor shall hold back its exploitation of the Licensed Rights marked “*” above until the initial release of the Picture in the
    United States (the “First US Theatrical Release”), unless otherwise waived or shortened by Sales Agent by written notice.
                       (C)        All transmissions of the Picture hereunder in exercise of the Pay TV, Satellite Free TV, Other TV, and
    Internet Rights as set forth herein shall be encrypted or encoded in such manner that may be decrypted or decoded only by the use of
    authorized decryption or decoding equipment, the sale and use of which equipment is limited to the Territory. Any exercise of the
    Other TV Rights is expressly conditioned upon Distributor providing Sales Agent with acceptable written documentation verifying
    implementation of such encryption protections for all exercise of such rights.

                      (D)      Intentionally deleted.

                      (E)      Television Runs:

    (i)       Pay TV: Unlimited runs.

    (ii)      Free TV: Unlimited runs.




                       (F)        The parties acknowledge that when the Picture is transmitted by satellite and/or cable for reception in
    the Territory, such transmission may be capable of reception outside the Territory due to the inherent technical capability of
    satellites to beam down signals and/or cable systems to transmit signals, which are not confined to territorial boundaries
    ("Distributor Overspill"). Sales Agent agrees that the occurrence of Distributor Overspill shall not constitute a breach of this
    Agreement, provided that (i) the transmission is not primarily intended for reception outside the Territory and (ii) Distributor
    receives no direct revenue from such overspill. Additionally, the parties acknowledge that when the Picture is transmitted by
    satellite and/or cable for reception outside the Territory, such transmission may be capable of reception inside the Territory due to
    the inherent technical capability of satellites to beam down signals and/or cable systems to transmit signals, which are not
    confined to territorial boundaries (“Overspill”). Distributor agrees that the occurrence of Overspill shall not constitute a breach
    of this Agreement by Sales Agent or Licensor, provided, that (i) the transmission is not primarily intended for reception inside the
    Territory and (ii) Sales Agent and/or Licensors (or their licensees) receive no direct revenue from such overspill.

                       (G)      Distributor’s right to exploit Internet Rights in the Picture are subject to the terms and conditions of
    the STCs (as hereafter defined), including without limitation a requirement to utilize current commercially reasonable
    technological safeguards to ensure that accessing, streaming or downloading of the Picture is limited solely to reasonably
    identifiable locations within the Territory (e.g., geofiltering). Notwithstanding the foregoing, to the extent Distributor is supplied
    approved promotional clips of the Picture formatted for use on the Internet, Distributor may use up to three (3) minutes in the
    aggregate of such clips on the Internet solely for purposes of promoting the Picture and provided such clips are posted solely
    within a domain bearing the identification code of one of the countries of the Territory.

                      (H)      Distributor shall use its best efforts and skill in the distribution and exploitation of the Picture, and
                                                                       4

                                                                                                        Exhibit 7a Page 208
FOIA Confidential Treatment Requested                                                                                    JJMT-SEC-0005023
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 210 of 245 Page ID #:931
    Distributor shall exercise its rights hereunder in a fair, reasonable, customary and non-discriminatory manner with respect to
    Licensor or Sales Agent.

    9.       NO DISPOSITION OF GROSS RECEIPTS: Licensor is licensing the Picture to Distributor on a so-called “flat”
    basis; therefore, subject to Sales Agent’s receipt of the License Fee in accordance with the terms of this Agreement, no other
    payments whatsoever shall be due to Sales Agent and/or Licensor hereunder.

    10.      ACCOUNTINGS: Intentionally deleted.

    11.      PAYMENT REQUIREMENTS:

                      (A)     The License Fee shall be paid in the amounts specified and required hereunder, which amounts as
    stated in this Agreement shall be deemed net sums in respect of which Distributor shall have separately paid at its own expense
    any required withholding and/or remittance taxes required by laws of the Territory such that no amounts shall be deducted from
    the payments to Licensor specified in this Agreement.

                       (B)      There will be no deductions from any payments due to Licensor, including the License Fee, because of
    any bank charges, conversion costs, sales use or VAT taxes, "contingents", quotas or any other taxes, levies or charges, all of
    which shall, if required, be paid separately by Distributor.

                     (C)       If it is legally impossible to transmit any monies due to Licensor, then Distributor will immediately so
    notify Sales Agent in writing. Distributor will then deposit such monies at Distributor’s expense in Sales Agent’s or Licensor’s
    name, as Sales Agent shall designate, in such depository as may be designated by Sales Agent.

                       (D)      All payments to Licensor will be in United States dollars computed at the prevailing exchange rate on
    the date due at Licensor’s bank, provided that the exchange rate for any late payments shall be the most favorable prevailing daily
    rate for Licensor between the due date and the date of payment.

                       (E)       Any payment due Licensor not made by its due date will, in addition to any other right or remedy of
    Licensor, incur a finance charge at the lesser of the prevailing US Prime rate plus three percent (3%) or the highest applicable
    legal contract rate until paid in full.

    12.      MARKETING / ADVERTISING:.

                      (A)      Intentionally deleted.

                      (B)      Intentionally deleted.

                      (C)      Any marketing or advertising materials created by Distributor and any alterations by Distributor to
    any artwork or other marketing materials furnished by Sales Agent must satisfy all of Licensor’s and Sales Agent’s underlying
    contractual obligations and shall in all instances be subject to Sales Agent’s prior written approval before Distributor shall make
    any use of such materials.

                    (D)      Distributor shall comply with all contractual credit, likeness, dubbing, subtitling, editing,
    marketing, publicity, promotional or other similar restrictions or requirements provided to D i s t r i b u to r .

                      (E)      Intentionally deleted.

                      (F)      Intentionally deleted.

                      (G)      Intentionally deleted.

                      (H)      Intentionally deleted.

    13.      EDITING / BILLING:

                     (A)       Distributor may only cut and edit the Picture to the extent necessary to meet governmental censorship
    requirements. Any such cutting or editing shall only be permitted with Sales Agent's prior written approval and Distributor shall
    comply with all editing restrictions and requirements provided by Sales Agent. Except for such editing for censorship, the Picture
                                                                      5

                                                                                                       Exhibit 7a Page 209
FOIA Confidential Treatment Requested                                                                                  JJMT-SEC-0005024
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 211 of 245 Page ID #:932
    shall be exhibited and otherwise distributed only in its original continuity as supplied by Licensor without alteration,
    interpolation, cut or elimination.

                      (B)      Distributor may include, before or after the Picture and all credits thereof, the credit or logo of
    Distributor, which precise placement must be pre-approved in writing by Sales Agent.

                      (C)      Intentionally deleted.

                      (D)      Distributor shall not do any of the following:

                      (i)      Change the title of the Picture as it appears in the original language of the Picture (except that
                               Distributor may translate the title in the Authorized Language(s);

                      (ii)     Alter or delete any credit, logo, copyright notice or trademark notice, or anti-piracy warning appearing
                               on the Picture; and

                      (iii)    Include any advertisements or other material in the Picture, preceding the Picture, or following the
                               Picture in any medium including Home Video other than an approved anti-piracy warning and
                               commercials for Free TV exploitation (if Free TV rights are licensed herein).

                        (E)     Distributor’s obligations hereunder shall be binding on its subsidiaries, parents, affiliates, agents, sub-
    distributors and licensees.

             14.      15.      MUSIC CONTAINED IN THE PICTURE:

                      (A)      Licensor will be responsible for acquiring all rights necessary to synchronize the music contained in the
    Picture as delivered to Distributor and on all copies exploited by Distributor hereunder, and for paying all royalties or charges
    incurred in obtaining and maintaining such synchronization licenses in effect for the Term.

                       (B)       The Performance Rights with respect to the music contained in the Picture shall either be in the public
    domain in the Territory, be controlled by Licensor sufficient to allow Distributor to exploit all of Licensed Rights without the
    necessity of any additional payment, or be available by license from the local music performing rights society in the Territory
    affiliated with the American Society of Composers, Authors and Publishers (ASCAP), Broadcast Music, Inc. (BMl), or SESAC,
    Inc. (SESAC). Distributor will be solely responsible for any royalties, however denominated, which any mechanical, performing
    or authors right society in the Territory attempts to collect in connection with the exploitation of the Picture in the Territory.



    16.      ADDITIONAL TERMS:

             (A)      Distributor acknowledges that the financing for the Picture will be provided by financiers who may require a
    completion guarantee or other financial assurances. The Distributor agrees to execute within twenty-four (24) hours of receipt
    such further documentation as may be required by the Licensor to accommodate such interests, including, without limitation, an
    Acceptance and Acknowledgement of a Notice of Assignment in the form customarily required by such financiers and
    completion guarantor (if any), and any and all documents or other instruments and acts required by such financiers and/or
    completion guarantor in connection with the establishment of a collection account or otherwise. In the event Distributor fails to
    execute and deliver all such documentation within five (5) business days of receipt of written notice thereof, then Distributor
    agrees that Sales Agent may, as it may elect in its discretion, terminate this Agreement or execute such documentation in the
    name of Distributor, for which purpose Distributor hereby irrevocably appoints Sales Agent as Distributor's attorney-in-fact, a
    power coupled with an interest, with full right to execute any and all such documentation.

             (B)      Licensor may, in its absolute discretion, require Distributor to establish a Letter of Credit or other such form of
    payment (by way of example only, a bank guarantee) acceptable to Licensor to secure all or any part of the License Fee. In the
    event that the Licensor requests any such Letter of Credit(s), Distributor shall open the Letter of Credit and deliver same to Sales
    Agent within ten (10) working days following the Sales Agent’s request. The Letter of Credit and any confirmation which may
    be required by Licensor or Licensor’s bank must be irrevocable and in a format and issued by a bank acceptable to Licensor and
    Licensor’s bank. At Sales Agent’s election, any failure on Distributor’s part to deliver the Letter of Credit within such ten (10)
    day period may result in the termination of this Distribution Agreement by written notice to Distributor. All costs of the Letter of
    the Credit and of any required confirmation shall be paid by Distributor.
                                                                        6

                                                                                                         Exhibit 7a Page 210
FOIA Confidential Treatment Requested                                                                                     JJMT-SEC-0005025
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 212 of 245 Page ID #:933

             (C)     Neither Licensor nor Sales Agent can guarantee against piracy in the Territory and any piracy of the Picture,
    whether occurring before or after execution of this Agreement, shall not constitute a breach by Licensor nor a basis for damages
    claims, payment reductions, or termination hereunder.


             (D)      Any delay of action hereunder by Sales Agent shall not be construed as a waiver of any rights or remedies, and
    any express waiver by Sales Agent of any specific right or remedy hereunder shall not constitute a waiver of any other rights or
    remedies regarding the same issue (including without limitation any preceding, continuing, or succeeding breach) or any other
    matter arising under this Agreement.

              (E)      Any terms not set forth in this Agreement (including any capitalized words used herein without express
    definition) will be determined solely by reference to the most current IFTA Standard Terms and Conditions (“STCs”) as of the
    date of this Agreement, which STCs are incorporated in their entirety herein and thereby comprise an integral component of this
    Agreement. In the event of any inconsistency between the terms of this Agreement and the STCs, the terms of this Agreement
    prevail.

             (F)    Sales Agent is acting solely in its capacity as duly authorized agent on behalf of Licensor in connection with
    this Agreement.

    17.      NOTICES: All notices hereunder shall be in writing and shall be sent to the recipients at the address and/or fax
    number and/or email address set forth above (or such subsequently changed address of which the sending party has received
    notice hereunder). Notices to Licensor shall be sent to the attention of c/o SIERRA/AFFINITY , whose fax number is (310) 587-
    2381.

    18.      REPRESENTATIONS AND WARRANTIES: Distributor represents and warrants to Licensor that:

              (A)      It has full authority and capacity to execute this Agreement and full legal and financial ability to perform all of
    its obligations under this Agreement;

              (B)      There are no existing or threatened claims or litigation which would adversely affect or impair Distributor's
    ability to perform under this Agreement;

             (C)       No dubbed or subtitled version of the Picture created by or to be created by Distributor does or will: (a) defame,
    or hold in a false light, or infringe any privacy or publicity or other personal right of any person; or (b) infringe any copyrights,
    trademark, patent, trade secret, rights of ideas, or similar property rights of any person;

            (D)       It will employ at all times controls in accordance with prevailing customary standards in the Territory as used
    by major studios to prevent and deter theft, piracy, unauthorized copying, accessing, streaming or downloading (as applicable) of
    any copy of the Picture where the Picture is made available via any of the Licensed Rights granted herein;

             (E)      It will indemnify and hold harmless Licensor and Sales Agent, and their parents, officers, directors, owners,
    shareholders, employees, attorneys agents, and successors and assigns from all claims, loss, liability, damages or expenses,
    including reasonable attorney's fees and legal costs, but not including lost profits due to breach of any of Distributor's
    representations, warranties covenants or conditions under this Agreement.

            (F)       It will comply with all credit and talent obligations in connection with Picture as provided to Distributor by
    Sales Agent.

    19.      DEFAULT AND TERMINATION:

                      (A)      Distributor will be in default of this Agreement in the event of any of the following circumstances:




                                                                       7

                                                                                                         Exhibit 7a Page 211
FOIA Confidential Treatment Requested                                                                                    JJMT-SEC-0005026
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 213 of 245 Page ID #:934
             (i)      Distributor fails to pay any installment of the License Fee or any other amounts due under this Agreement or any
                      other agreement with Sales Agent when due;

             (ii)     Distributor becomes insolvent or fails to pay its debt obligations when due;

             (iii)    Distributor makes an assignment for the benefit of creditors, seeks relief under any bankruptcy law or similar
                      law for the protection of debtors, or allows a petition of bankruptcy to be filed against it, or a receiver or trustee
                      to be appointed for substantially all of its assets that is not removed within thirty (30) days;

             (iv)     Distributor breaches any material term, covenant or condition of this Agreement or any other agreement with
                      Sales Agent;

             (v)      Any affiliate, parent, subsidiary, sub-distributor, or licensee of Distributor breaches any material term, covenant
                      or condition of this Agreement or any other agreement with Sales Agent; term, covenant or condition of this
                      Agreement or any other agreement with Sales Agent;

             (vi)     Distributor attempts to make any assignment, transfer, sublicense or appointment of an agent without Sales
                      Agent’s prior written approval; or

             (vii)    Distributor fails timely to sign a Notice of Assignment as provided below.

                      (B)      Sales Agent will give Distributor notice of any claimed default. If the default is capable of cure, then
    Distributor will have ten (10) days after receipt of Sales Agent’s notice to cure a monetary default, and twenty (20) days after
    receipt of Sales Agent's notice to cure a non-monetary default. If the default is incapable of cure, or if Distributor fails to cure
    within the time provided, then Licensor may proceed against Distributor for available relief, including but not limited to
    terminating this Agreement or any other agreement with Sales Agent retroactive to the earliest date of default, suspending
    Delivery of the Picture, and declaring all unpaid amounts due Licensor immediately due and payable.

                     (C)       As a result of termination of this Agreement or any other agreement between Distributor and Sales
    Agent, with respect to those pictures as to which all rights are terminated:

             (i)      All licensed rights in and to such picture shall automatically revert to Licensor, free and clear of any and all
                      encumbrances and any sub-distribution agreements entered into by Distributor (other than those sub-
                      distribution agreements deemed assigned to Licensor as specified below);

             (ii)     All of Distributor's rights under any sub-distribution and license agreements that have been pre-approved in
                      writing by Sales Agent shall be deemed to have been assigned to Licensor (and any such sub-distribution
                      agreements not so approved, shall be deemed automatically terminated) and all payments to be made under
                      such agreements shall be paid directly to Licensor who may notify all relevant parties of such assignment to
                      Licensor;

             (iii)    All monies payable by exhibitors or sub-distributors to Distributor in respect to such picture shall be paid to
                      and retained by Licensor;

             (iv)     Any portion of the License Fee for this Picture and License Fee(s) for such other picture(s) theretofore paid by
                      Distributor shall be retained by Licensor or Sales Agent and any unpaid portion of the License Fee for this
                      Picture or for such other picture(s), if any, shall accelerate and immediately become due and payable to
                      Licensor or Sales Agent;

             (v)      Licensor shall be entitled to immediate possession of all digital and film pre-print and print elements and copies
                      of the Picture and such other picture(s), advertising materials and all other materials (including any Delivery
                      Materials) pertaining to same;

             (vi)     Distributor shall execute and deliver all instruments requested by Sales Agent to effectuate a termination of this
                      Agreement and its rights in the Picture or for such other picture(s) as applicable, including without limitation
                      instruments necessary or appropriate to reflect such termination on the public records of governmental agencies
                      and/or with industry organizations in the Territory which maintain records of a similar nature;

             (vii)    Distributor shall turn over all records, including books, billing and delivery records to the Picture or such other
                                                                        8

                                                                                                          Exhibit 7a Page 212
FOIA Confidential Treatment Requested                                                                                      JJMT-SEC-0005027
          Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 214 of 245 Page ID #:935
                      picture(s), and all monies on hand, if any, relating to the Picture or such other picture(s); and

             (viii)   Distributor hereby irrevocably appoints Sales Agent as Distributor's attorney-in-fact, a power coupled with an
                      interest, with full right to execute any and all assignments and other instruments deemed by Sales Agent to be
                      reasonably necessary or desirable to evidence the transactions provided hereunder and to protect its rights under
                      this Agreement or such other agreement(s) as applicable.

    20.      TERMINATION OTHER THAN FOR DEFAULT:

                       (A)     Upon written notice to Distributor, Sales Agent may in its sole discretion terminate this Agreement if
    principal photography of the Picture has not commenced within twelve (12) months following the date of this Agreement, the
    Picture is not ready for Delivery to Distributor within twenty-four (24) months following the date of this Agreement, or Licensor
    or Sales Agent abandons the Picture either prior to or after the commencement of principal photography.

                      (B)       In the event of such termination, Licensor shall return to Distributor such portion of the License Fee
    theretofore paid to Licensor by Distributor, and Distributor shall return to Sales Agent any and all materials, including, without
    limitation, all physical film materials, Delivery Materials, publicity materials and documents theretofore furnished by Sales
    Agent to Distributor in connection with the Picture. Neither Licensor nor Sales Agent shall have any additional obligation of any
    kind whatsoever to Distributor, or anyone claiming through Distributor, by reason of such termination.

                       (C)     Distributor shall execute and deliver all instruments requested by Sales Agent to effectuate a
    termination of this Agreement and its rights in the Picture, including without limitation instruments necessary or appropriate to
    reflect such termination on the public records of governmental agencies and/or with industry organizations in the Territory which
    maintain records of a similar nature. Distributor shall turn over all records, including books, billing and delivery records to the
    Picture and all monies on hand, if any, relating to the Picture. Distributor hereby irrevocably appoints Sales Agent as Distributor's
    attorney-in-fact, a power coupled with an interest, with full right to execute any and all assignments and other instruments
    deemed by Sales Agent to be reasonably necessary or desirable to evidence the transactions provided hereunder and to protect its
    rights under this Agreement.

    21.      CHOICE OF LAW / ARBITRATION / FORUM:

             (A)       This Agreement shall be subject to the laws of the State of California applicable to agreements wholly executed
    and performed therein, and all parties hereby irrevocably consent to the exclusive jurisdiction and venue of the Federal and State
    courts located in Los Angeles County for any court matters arising hereunder.

              (B)      Any and all disputes under this Agreement shall be submitted exclusively to binding arbitration ("IFTA
    Arbitration") in Los Angeles, California under the Rules of International Arbitration of the International Film and Television
    Alliance ("IFTA Arbitration Rules") in effect as of the date the request for arbitration is filed. Each party waives any righ t to
    adjudicate any such dispute in any other court or forum and Distributor waives any and all rights to seek equitable or injunctive
    relief or to rescind or terminate this Agreement or to seek such rescission or termination. Los Angeles County will be deemed
    the "Forum" under the IFTA Arbitration Rules. Licensor (and where applicable Sales Agent) and Distributor agree to accept
    service of process for IFTA Arbitration in accordance with such Rules and to accept service of process for any judicial or ot her
    proceedings provided for hereunder by certified mail, return receipt requested, courier, or other personal delivery at the address
    indicated on this Agreement. Licensor (and where applicable Sales Agent) and Distributor agree to abide by any decision
    rendered in an IFTA Arbitration, and that any court having jurisdiction may enter judgment affirming such decision and may
    enforce such judgment in accordance with its powers.

              (C)     Without limiting the aforesaid arbitration provisions and notwithstanding the exclusive jurisdiction provisions
    above, Licensor and Sales Agent shall additionally each have the right to proceed in any court of competent jurisdiction
    anywhere in the world to either (i) seek such interim protective relief, including equitable remedies as may be considered
    reasonably necessary to protect their rights and entitlements pursuant to this Agreement, or (ii) seek enforcement of any
    arbitration award or related judgment hereunder.

             (D)      The prevailing party or parties in any arbitration hereunder shall be entitled to an award in such arbitral
    proceeding for reimbursement of its or their (as applicable) legal fees (including attorneys fees) and costs of arbitration (including
    discovery and expert witness costs). The prevailing party or parties in any judicial action hereunder shall similarly be entitled to
    court order or judgment reimbursing it or them (as applicable) for all legal fees (including attorneys fees) and costs incurred in
    connection with such matter and in connection with any applicable arbitration as aforesaid.

                                                                        9

                                                                                                          Exhibit 7a Page 213
FOIA Confidential Treatment Requested                                                                                     JJMT-SEC-0005028
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 215 of 245 Page ID #:936
    22.      CONFIDENTIALITY: All terms of this Agreement shall be confidential and not disclosed to any third party except
    each party's accountants, attorneys and agents, and as necessary to perform each parties' rights and obligations hereunder, and
    except as required by law or judicial order.

    23.      COUNTERPARTS:              This Agreement may be executed in counterparts which may be delivered by ink-signed
    originals, fax or digital copy in pdf or tiff format, each of which shall be deemed to be an original and such counterparts of all
    parties when taken together shall constitute the fully binding and executed Agreement.

    24.       BINDING AGREEMENT: This Agreement, any exhibits attached hereto, and the STC’s incorporated herein sets
    forth the entire understanding and agreement between Licensor and Distributor as to the subject matter hereof and supersedes all
    previous discussions, correspondence, inducements, agreements, warranties or representations, whether oral or written. This
    Agreement is binding on each of the parties and their respective successors and assigns. Except as expressly provided herein, this
    Agreement may only be amended in writing signed by Sales Agent on behalf of Licensor and Distributor.

    THIS AGREEMENT is executed as of the parties as of the date first above written.

                                                   [signatures on the following page]




                                                                     10

                                                                                                     Exhibit 7a Page 214
FOIA Confidential Treatment Requested                                                                                JJMT-SEC-0005029
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 216 of 245 Page ID #:937


               AGREED AND ACCEPTED:

               SIERRA/AFFINITY (“Sales Agent”) as agent
               On behalf of Pupkin Productions (“Licensor”)   1inMM Capital LLC (“Distributor”)


               By:                                            By:

               Its: EVP International Sales                   Its: MANAGING PARTNER




                                                                11


                                                                               Exhibit 7a Page 215
FOIA Confidential Treatment Requested                                                         JJMT-SEC-0005030
       Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 217 of 245 Page ID #:938

                                                              Exhibit “A”

  This Exhibit A is attached and incorporated into that certain International License Agreement dated as of February 27, 2019, by
  and between SIERRA/AFFINITY ("Sales Agent") as sales agent on behalf of Pupkin Productions (“Licensor”) and 1inMM
  Capital LLC (“Distributor”) whereby Licensor granted to Distributor certain distribution rights in and to the motion picture
  entitled “Lucia’s Grace” (the “Picture”).


  LEGAL DELIVERABLES

  1.   Clearly legible copies of all chain-of-title documents required by Distributor, evidencing Licensor’s proper ownership and
  permitting the use of any and all literary, dramatic, musical and other material used in the production of the Program or upon which
  the Program and/or screenplay may be based, together with certificates of authorship and proof of payment in connection with the
  acquisition of the necessary rights in and to such material and the exercise of all options related thereto.

  2.    Evidence satisfactory to Distributor that there is no lien, charge, encumbrance or security interest that would adversely interfere
  with the Licensed Rights granted to Distributor.

  3.   A (a) copyright report issued by a Thomson CompuMark, (b) title report and (c) opinion issued.

  4.    A complete typewritten statement of all third party screen and paid advertising credit, name and likeness, and other third party
  obligations, restrictions and approval rights including, without limitation, all dubbing obligations (if any), director’s editing rights,
  video mastering consultation or approval rights, etc. for each individual and entity named in the billing block with excerpts from each
  applicable third party agreement setting forth the precise extent and nature of such obligations, restrictions and/or approval rights, in
  the identical order as listed in the billing block.

  5.   The proposed paid ad/packaging summary, credit and billing block layout for both full- and small-sized paid ads.

  6.   The final copyright notice, as it appears on the billing block.

  7.    Clearly legible copies of fully-executed agreements for all key actors and key production personnel (e.g., director, producer,
  writer, etc.) and any other talent and/or crew agreements requested by Distributor.

  8.    If the Program or underlying materials or properties are based upon or related to events in the real life of real persons, living or
  dead, or portrays real persons, true and correct copies of all personal releases and other documentation showing that Licensor has all
  rights necessary to permit Distributor to exploit the Picture in the manner provided herein without violating any third party rights or
  incurring any obligations to any third party.

  9.   A complete written statement showing the exact form and manner of the main and end titles of the Picture.

  10. One (1) typewritten (or computer generated) hard copy and one (1) copy in digital format of a music cue sheet in standard form
  showing the particulars of all music synchronized with the Program (all versions) and additional cue sheets for the trailer(s) and any
  other materials in connection with the Program containing original and/or licensed music. All such cue sheets will include for each
  cue: (i) the title of song; (ii) the name of the songwriter/composer; (iii) the songwriter’s/composer’s performing rights affiliation (e.g.,
  ASCAP, BMI or SESAC); (iv) the name of publisher; (v) the publisher’s performing rights affiliation; (vi) the type of use; (vii) the
  length of the use; and (viii) an indication of whether or not a master recording was licensed.

  11. Clearly legible, fully-executed copies and proof of payment for any and all synchronization licenses and master use licenses, all
  valid and sufficient to provide Distributor with the right to use and perform all musical compositions and master recordings contained
  in the Picture and trailer (if available).

  12. Clearly legible copies of the copyright registration certificate(s) with the US Copyright Office for both the screenplay and
  Picture.




                                                                      12

                                                                                                         Exhibit 7a Page 216
FOIA Confidential Treatment Requested                                                                                     JJMT-SEC-0005031
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 218 of 245 Page ID #:939




                        Exhibit 7b




                                                             Exhibit 7b Page 217
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 219 of 245 Page ID #:940




              PROMISSORY NOTE

              $ (1,994,625.00)                                                        (02/27/2019)

              Promise. 1INMM Capital, LLC, a limited liability entity established in the State of
              California, (the ''Maker''), hereby promises to pay to Lender, JJMT CAPITAL LLC, a
              Delaware Limited Liability company located at (541 N Fairbanks Ct. STE 2200
              Chicago, IL 60611), (the ''Payee'') an amount equal to (ONE MILLION NINE
              HUNDRED NINETY-FOUR THOUSAND SIX HUNDRED TWENTY-FIVE)
              Dollars ($1,994,625.00) in lawful money of the United States of America, which sum
              shall be due and payable on (02/27/2020) (the ''Maturity Date''), in one (1) balloon
              payment, in like money at said office. Payment date shall be no later than TWELVE
              (12) months post confirmed funds transfer from Payee to Maker in the amount of
              (ONE MILLION THREE HUNDRED NINETY-SEVEN THOUSAND FIVE
              HUNDRED) Dollars ($1,397,500.00).


             Prepayment Option. Maker may pay down at any time any portion of the principal sum
             outstanding without any prepayment penalty.

             Assignment of Rights. See Appendix A

              Compounding of Unpaid Payments. The undersigned agrees that time is of the essence
              and that in the event payment of principal or interest due under this Note is not made
              when due, giving effect to any grace period which maybe applicable, the outstanding
              balance of unpaid payments hereof shall immediately bear interest at the rate of ten (10)
              percent per month, for so long as such event of default continues.

              Validity of Agreement to Conform to Law. All agreements between the undersigned and
              the holder of this Note are expressly limited so that in no contingency or event
              whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
              maturity of the unpaid principal balance, or otherwise, shall the amount paid or agreed to
              be paid to the holder hereof for the use, forbearance or detention of money advanced
              hereunder exceed the highest lawful rate permissible under any law which a court of
              competent jurisdiction may deem applicable hereto. If, from any circumstances
              whatsoever, fulfillment of any provision hereof or any instrument securing this Note or
              any other agreement referred to herein, at the time performance of such provision shall be
              due, shall involve transcending the limit of validity prescribed by law which a court of
              competent jurisdiction may deem applicable hereto, then, ipso facto, the obligation to be
              fulfilled shall be reduced to the limit of such validity, and if from any circumstances the
              holder hereof shall ever receive as interest an amount which would exceed the highest
              lawful rate, such amount which would be excessive interest shall be applied to the




                                                                                      Exhibit 7b Page 218
FOIA Confidential Treatment Requested                                                              JJMT-SEC-0005032
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 220 of 245 Page ID #:941



             reduction of the unpaid principal balance due hereunder and not to the payment of
             interest. This provision shall control every other provision of all agreements between the
             undersigned and the holder hereof.

              Maker’s Default. At the option of the holder hereof exercised by written notice to the
              undersigned, this Note shall become immediately due and payable upon the maker's
              failure to pay when due any payment of principal, interest or expenses due hereunder; or
              (b) failure in the performance or observance of any of the terms or conditions of any
              mortgage, deed of trust, security agreement or other agreement securing, guaranteeing or
              otherwise pertaining to this Note after giving effect to any applicable curative period
              which may be contained therein. Upon the occurrence of any of the following specified
              Events of Default, as defined under the standard conventions and terminology prescribed
              for promissory notes drafted under Warren’s California Forms for Principal, Interest,
              Insolvency, Breach of Covenants, Breach of Representation and Warranties, (each herein
              called an ''Event of Default'') then, and in any such event, and at any time thereafter, if
              any Event of Default shall then be continuing, the Payee may, by written notice to the
              Maker, declare the principal of and accrued interest in respect of this Note to be forthwith
              due and payable, whereupon the principal of and such unpaid accrued interest in respect
              of this Note shall become forthwith due and payable without presentment, demand,
              protest or other notice of any kind, all of which are hereby expressly waived by the
              Maker. Furthermore, This note shall become due and payable before the above-
              mentioned maturity date immediately upon the happening of any of the following events
              affecting any maker or indorser thereof, to wit: voluntary or involuntary filing of a
              petition in bankruptcy or for reorganization, execution of an assignment for the benefit of
              creditors, calling meeting of creditors, appointment of liquidating agent or committee,
              offer of composition, entry of a judgment in excess of $ 10,000 which remains unsatisfied
              or for over 30 days, application for appointment or appointment of any receiver, issuance
              of warrant of attachment or death of any maker or indorser or on default of any other
              obligations to the Maker.

              Collection Costs. If this Note or any installment of principal or interest is not paid when
              due, whether at maturity or by acceleration, the undersigned promises to pay all costs of
              collection, including without limitation, actual attorneys' fees, and all expenses in
              connection with the protection or realization of the assets and proceeds available this
              Note or the enforcement of any subsequent memorandum or agreement created in
              conjunction with this Note incurred by the holder hereof on account of such collection,
              whether or not suit is filed hereon or thereon; such costs and expenses shall include,
              without limitation, all costs, expenses and attorneys' fees actually incurred by the holder
              hereof in connection with any insolvency, bankruptcy, arrangement or other similar
              proceedings involving the undersigned, or involving any endorser or guarantor hereof,
              which in anyway affects the exercise by the holder hereof of its rights and remedies under
              this Note or under any mortgage, deed of trust, security agreement, guaranty or other
              agreement securing or pertaining to this Note.

              Waiver of Notice. Presentment, demand, protest, notices of protest, dishonor and
              nonpayment of this Note and all notices of every kind are hereby waived by all parties to




                                                                                      Exhibit 7b Page 219
FOIA Confidential Treatment Requested                                                               JJMT-SEC-0005033
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 221 of 245 Page ID #:942




              this Note, whether the undersigned, principal, surety, guarantor or endorser, except as
              provided herein. To the extent permitted by applicable law, the defense of the statute of
              limitations is hereby waived by the undersigned.

              Death of Maker. Maker of this note hereby waives all notice and demand and consent that
              this note shall become due and payable immediately upon the happening of any of said
              events. This note shall become due and payable on the Maturity Date, but payment shall
              be accelerated and become due and payable immediately if the Maker shall die. For the
              further security of the holder thereof, the undersigned covenants that so long as any part
              of the principal or interest of this note is outstanding and unpaid, it will not grant any
              security interest to any third party upon its property, or create any lien whatsoever
              thereon, without also thereby including therein this note, equally and ratably with every
              other evidence of debt, secured by any of the undersigned's property. If, while any part of
              the principal or interest is outstanding and unpaid, the maker hereof breaks this covenant,
              then the holder hereof may at his or its election, declare and make this note at once due
              and payable by written notice delivered to maker, and this remedy will be deemed
              cumulative and in addition to any other remedy available to the holder hereof. This note
              shall be paid without claim of set-off, counterclaim or deduction of any nature or for any
              cause whatsoever.

              Extensions Granted by Payee. All indorsers hereunder agree that the holder of this note in
              case of non-payment thereof at maturity, or of any installment thereof when due, may
              grant to the maker or any indorser of said note any extension or extensions of time of
              payment thereof, in whole or in part, without notice to said indorsers or any of them and
              any such extension or extensions shall not affect in any way said indorsers' liability upon
              note, such indorsers hereby waiving demand, presentment of payment, notice of
              nonpayment and protest and do further agree that any holder of this note may in the event
              of default in the payment of principal of, or interest upon, this note or any installment
              thereof repossess and/or sell the (collateral) held as collateral security for the payment of
              this note without in any way relieving said indorsers, or any of them, of any liability by
              reason of such repossession and/or sale, applying the proceeds of sale of any such asset
              less all costs to amount due under this note, and all indorsers agree to pay any deficiency
              on this note on demand.

              Litigation Fees. In any action at law or in equity to enforce or construe any provisions or
              rights under this Note, the unsuccessful party or parties to such litigation, as determined
              by a court pursuant to a final offer, judgment or decree, shall pay to the successful party
              or parties all costs, expenses and reasonable attorneys' fees incurred by such successful
              party or parties (including, without limitation, such costs, expenses and fees on any
              appeal), which costs, expenses and attorneys' fees shall be included as part of any order,
              judgment or decree.

              General Provisions. Principal and interest evidenced hereby are payable only in lawful
              money of the United States. The receipt of a check shall not, in itself, constitute payment
              hereunder unless and until paid in good funds. Whenever any payment on this Note shall
              be stated to be due on a day, which is not a business day, such payment shall be made on




                                                                                       Exhibit 7b Page 220
FOIA Confidential Treatment Requested                                                                 JJMT-SEC-0005034
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 222 of 245 Page ID #:943


               the next succeeding business day and such extension of time shall be included in the
               computation of the payment of interest of this Note. This Note is to be governed by and
               construed in accordance with the laws of the State of California except to the extent
               United States federal law permits the holder to contract for, charge or receive a greater
               amount of interest. In any action brought under or arising out of this Note, the
               undersigned hereby consents to the in personam jurisdiction of any state or federal
               court sitting in the state of California, and waives any claim or defense that such forum
               is not convenient or proper, and consents to service of process by any means
               authorized by California and/or Federal law.


               THE UNDERSIGNED HEREBY WAIVES, AND COVENANTS THAT THE
               UNDERSIGNED WILL NOT ASSERT (WHETHER AS PLAINTIFF, DEFENDANT
               OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
               RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
               ARISING OUT OF OR BASED UPON THIS NOTE, THE SUBJECT MATTER
               HEREOF OR ANY DOCUMENT RELATING HERETO, IN EACH CASE
               WHETHER NOW EXISTING OR HEREAFTER ARISING OR WHETHER IN
               CONTRACT OR IN TORT OR OTHERWISE.



                                                                      2/18/19

               1INMM Capital, LLC                                   Date
               Zachary Horwitz, Manager




                                                                                     Exhibit 7b Page 221
FOIA Confidential Treatment Requested                                                              JJMT-SEC-0005035
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 223 of 245 Page ID #:944




                                                     APPENDIX A


                                                    ASSIGNMENT

            This assignment (“Assignment”) between 1INMM CAPITAL LLC, located at 3129-A S. La
            Cienega Ave. Los Angeles, CA 90016 Assignor”) and JJMT CAPITAL LLC, a Delaware Limited
            Liability company located at 541 N Fairbanks Ct. STE 2200 Chicago, IL 60611 (“Assignee”)
            is dated effective as of (02 / 27 / 2019).

            For good and valuable consideration, the receipt and sufficiency of which hereby
            acknowledged, Assignor does hereby irrevocably and unconditionally sell, grant, convey,
            and assign unto Assignee all of Assignor’s rights, title and interest of every kind and nature,
            throughout the universe, until assignee is paid ($1,994,625.00) at to which time all rights,
            title and interest of every kind and nature revert back to Assignor and to that certain
            motion picture, currently entitled “LUCIA’S GRACE” (the “Picture”) based on the original
            screenplay entitled “LUCIA’S GRACE” directed by Gianni Zanasi.

            1. Assignor hereby represents and warrants:

                    1.1.    That Assignor is the sole and exclusive owner of the rights and privileges
                            granted or to be granted to Assignee hereunder.
                    1.2.    That, as of the effective date hereof, Assignor has the right to enter into this
                            Assignment.
                    1.3.    That, as of the effective date hereof, no part of the rights herein conveyed
                            has in any way been encumbered, conveyed, assigned, transferred or
                            otherwise disposed of and all such rights are therefore free and clear of any
                            and all liens, claims, charges or encumbrances whatsoever in favor of any
                            party whatsoever.

            2. Assignor shall indemnify Assignee, its successors, assigns, licensees and officers, and
               hold them harmless from and against any and all claims, liability, losses, damages, costs,
               expenses (including but not limited to attorney’s fees) arising out of any breach by
               Assignor of any warranty made by Assignor hereunder.

            3. Assignee hereby assumes and agrees to be bound by all future obligations of Assignor
               which accrue after the date hereof.

            4. Assignor hereby waives the benefits of any provision of law known as “droit morale” or
               any similar law in any country of the world and agrees not to institute or permit any
               action or lawsuit on the ground that the Picture in any way constitutes an infringement
               of any “droit morale” and Assignor agrees that Assignor shall not, under any
               circumstances (including without limitation, the circumstances of a breach by Assignee)
               be entitled to enjoin the exhibition or other exploitation of the Picture, to terminate or
               rescind any rights granted to Assignee or to obtain any other form of equitable relief,
               specific performance or otherwise, any right to which Assignor expressly waives.

            5. This Assignment, and the rights granted hereunder, may not be assigned by Assignor to
               any person, firm or corporation. Assignee may assign this Assignment and the rights




                                                                                          Exhibit 7b Page 222
FOIA Confidential Treatment Requested                                                                    JJMT-SEC-0005036
      Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 224 of 245 Page ID #:945




                and services granted herein, together with the results and proceeds thereof, and the
                representations and warranties contained herein, to any person or entity.

            6. This Assignment shall be construed in accordance with the laws of the state of California
               and shall be binding upon and shall inure to the benefit of the parties hereto and their
               respective successors, licensees and assigns. This Assignment cannot be amended or
               modified except in a writing signed by all parties hereto.

            IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED AND DELIVERED THIS
            ASSIGNMENT AS OF THE (27)th DAY OF February 2019.



            1INMM CAPITAL, LLC (“Assignor”)               JJMT CAPITAL LLC (“Assignee”)



            By: __________________________________        By: _________________________________

            Its: Managing Partner                               Managing Partner
                                                          Its: _________________________________




                                                                                           Exhibit 7b Page 223
FOIA Confidential Treatment Requested                                                                  JJMT-SEC-0005037
Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 225 of 245 Page ID #:946




                        Exhibit 7c




                                                             Exhibit 7c Page 224
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 226 of 245 Page ID #:947
                                                LICENSE AGREEMENT
          This License Agreement (“Agreement”) is entered into as of March 4th, 2019 (the
          “Effective Date”) by and between 1inMM Capital LLC, with its principal place of business
          at 5550 Wilshire Blvd #523 Los Angeles, CA 90036 (“Licensor”) and NETFLIX, INC., a
          California Corporation, with its principal place of business at 335 N Maple Dr. #353,
          Beverly Hills, CA 90210 (“Netflix”).
                                                          Recitals
          Licensor is a Distributor and owner of all rights hereby granted for “Yuli” (the “Title”), directed
          by Iciar Bollain and “Lucia’s Grace” (the “title”), directed by Gianni Zanasi.
          Netflix is a digital platform.
          Licensor and Netflix desire to enter into a relationship whereby Licensor will grant Netflix,
          among other things, a license to distribute the Title to subscribers within the Territory, as defined
          below, all in accordance with the terms and conditions set forth below.
                                                        Agreement
          In consideration of the mutual promises contained herein and such other good and valuable
          consideration, the parties agree as follows:
          1. Definitions.
              1.1.     “Affiliate” shall mean any business entity which Licensor and Netflix directly or
                       indirectly controls, is controlled by, or is under common control with, where
                       “control” is defined as the ownership of at least fifty percent (50%) of the equity or
                       beneficial interest of such entity or the right to vote for or appoint a majority of the
                       board of directors or other governing body of such entity or otherwise possesses the
                       power to direct the affairs of the entity.
              1.2.     “Basic TV” shall mean the delivery and/or exhibition of a motion picture, television
                       show or other entertainment product by means of cable, satellite or any other
                       electronic or non-tangible means (whether analog or digital, or via the Internet or any
                       other electronic or non-tangible medium now known or hereafter devised) where the
                       consumer is charged a recurring fee and/or periodic access charge for the first or
                       lowest tier(s) of service (including a tier that is required to be purchased or accessed
                       before access to other programming services is permitted), regardless of whether such
                       exhibition is on a regularly scheduled basis or made available to the viewer on an on
                       demand basis at the consumer’s discretion.
              1.3.      “Electronic Sell-Through” or “EST” shall mean the delivery and/or exhibition of a
                       motion picture, television show or other entertainment product, solely on a non-ad
                       supported basis, where the timing and/or selection of same is not pre-determined, but
                       rather is at the consumer’s discretion, and for which, and the right to permanently
                       download, retain and/or have access to same, the consumer is charged a transactional
                       fee.
              1.4.     “Free TV” shall mean the delivery and/or exhibition of a motion picture, television
                       show or other entertainment product by means of over the air signals (including the
                       retransmission of such signals by cable, satellite or any other electronic or non-
                       tangible means) whether analog or digital, or via the Internet solely on one (1)
                       website owned and operated by one (1) free-to-air broadcaster and branded as such
                       broadcaster’s website, where the consumer (i) is not charged a fee (except for the
                       license fee, if any, payable for the right to use a television set in certain territories)
                       and (ii) is required to view or is otherwise exposed to commercial interruptions
                       (display or interstitial).
              1.5.     “High Definition” shall mean a resolution of greater than or equal to 720p.




                                                              1
                                                                                              Exhibit 7c Page 225
FOIA Confidential Treatment Requested                                                                        JJMT-SEC-0005038
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 227 of 245 Page ID #:948
             1.6.    “Home Video” shall mean the commercial release of a motion picture, television
                     show or other entertainment product for purchase and/or rent on optical media, such
                     as DVD and/or Blu-ray disc.
             1.7.    “Internet Transmission” shall mean the transmission of data via Internet Protocol,
                     including without limitation through use of client software contained on a Blu-ray
                     disc or other optical media.
             1.8.    “License Fees” shall mean, collectively, as set forth in more detail in Section 4.1.
             1.9.    “Licensed Languages” shall mean, for each Title hereunder, (i) its original language,
                     (ii) neutral or Mexican Spanish (in subtitled form (and, if available, dubbed form) if
                     the original language is other than Spanish), and (iii) Brazilian Portuguese (in
                     subtitled form, if available (and, if available, dubbed form) if the original language is
                     other than Brazilian Portuguese).
             1.10.   “Netflix-Enabled Device” or “NED” shall mean any device capable of receiving data
                     via Internet Transmission, subject to the security and copy protection specifications
                     set forth in Section 2.5 or otherwise agreed to by the parties, including without
                     limitation (i) a desktop or laptop computer; (ii) a television set; (iii) a set top box,
                     including a box that offers an integrated personal digital video recorder (DVR); (iv) a
                     DVD and/or Blu-ray player; (v) a game console; (vi) a portable device, including
                     without limitation a mobile phone or tablet; or (vii) a device with a web browser
                     interface or other like capability.
             1.11.   “Netflix Service” shall mean a global subscription service that provides subscribers
                     with on-demand access to movies and television content, and delivers such content
                     through Internet Transmission to NEDs (including User Interfaces on same) and/or,
                     currently in the United States only, in optical disc format (e.g., DVD, Blu-ray).
             1.12.   “Pay Per View” or “PPV” shall mean the delivery and/or exhibition of a motion
                     picture, television show or other entertainment product, where the timing and/or
                     selection of same is pre-determined, and not at the consumer’s discretion, where the
                     consumer is required to view the content over a limited period of time, and for which
                     the consumer is charged a transactional fee.
             1.13.   “Pay TV” shall mean the delivery and/or exhibition of a motion picture, television
                     show or other entertainment product by means of cable, satellite or any other
                     electronic or non-tangible means (whether analog or digital, or via the Internet or any
                     other electronic or non-tangible medium now known or hereafter devised) where the
                     consumer is charged a recurring fee and/or periodic access charge in addition to or in
                     a greater amount than any fee payable in order to receive Basic TV, regardless of
                     whether such exhibition is on a regularly scheduled basis or made available to the
                     viewer on an on demand basis at the consumer’s discretion.
             1.14.   “Source Material” shall mean the source files for the Titles and associated trailers,
                     artwork, promotional materials and metadata (including without limitation audio and
                     closed captioning files), the delivery specifications for which are detailed in Schedule
                     B attached hereto.
             1.15.   “Start Date” shall mean, for each Title, the date such Title may first be made
                     available for exhibition on and distribution, as detailed on Schedule A attached hereto
                     or, on the notifications Licensor shall provide to Netflix pursuant to Section 3.1.3.
             1.16.   “Subscription Video-on-Demand” or “SVOD” shall mean the delivery and/or
                     exhibition of motion pictures, television and/or other entertainment products on a
                     commercially uninterrupted basis where the consumer is charged a recurring fee
                     and/or periodic access charge for the service.
             1.17.   “Taxes” shall mean all federal, state, local, foreign and other net income, gross
                     income, gross receipts, sales, use, value added, goods and services, consumption, ad
                     valorem, transfer, franchise, profits, withholding, payroll, excise, stamp, real or
                     personal property, customs, duties or other taxes, fees, assessments or charges of any




                                                          2
                                                                                         Exhibit 7c Page 226
FOIA Confidential Treatment Requested                                                                   JJMT-SEC-0005039
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 228 of 245 Page ID #:949
                        kind whatsoever, including any related penalties and interest, imposed by any federal,
                        territorial, state, local, or foreign government or any agency or political subdivision
                        of any such government.
             1.18.      “Term” shall mean the period commencing on the Effective Date and ending on the
                        expiration date of the last to expire Title License Period.
             1.19.      “Territory” shall mean the following countries and each of their respective territories,
                        possessions, commonwealths, and trusteeships:
                        Mexico;

                        Central America, including Belize, Costa Rica, Guatemala, El Salvador, Honduras,
                        Nicaragua and Panamá;

                        South America, including Argentina, Bolivia, Brazil, Chile, Colombia, Ecuador,
                        Paraguay, Peru, Uruguay and Venezuela; and

                        The Caribbean Basin Islands, including Anguilla, Antigua, Barbuda, Aruba,
                        Barbados, British Virgin Islands, Dominica, Dominican Republic, Grenada,
                        Guadeloupe, Haiti, Jamaica, Martinique, Montserrat, the Netherland Antilles, St.
                        Kitts and Nevis, St. Lucia, St. Vincent and the Grenadines, Trinidad, Tobago, and the
                        Turk and Caicos Islands.
             1.20.      “Theatrical” shall mean the exhibition of a motion picture, television show or other
                        entertainment product or program (regardless of the means of delivery) in
                        conventional, drive-in or special format (e.g., iMax) theaters that are open to the
                        general public and for which an admission fee is charged.
             1.21.      “User Interfaces” shall mean web applications built using Application Programming
                        Interfaces (commonly known as APIs) released by Netflix, which applications enable
                        subscribers and potential subscribers to link to or otherwise use the Netflix Service on
                        NEDs.
             1.22.      “Video-on-Demand” or “VOD” shall mean the delivery and exhibition of a motion
                        picture, television show or other entertainment product, where the timing and/or
                        selection of same is not scheduled, but rather is at the consumer’s discretion, where
                        the consumer can view the content over a limited period of time, and for which the
                        consumer is charged a transactional fee.
             1.23.      “Years” shall mean three (3) successive periods of twelve (12) calendar months
                        during the Term, the first of which shall begin on as detailed on Schedule A.


          2. Grant of Licenses.
             2.1.       Title License.
                    2.1.1. Licensor grants to Netflix during the Term the exclusive right and license to exhibit
                           and distribute the Title (and associated Source Material) in any or all of the
                           Licensed Languages within the Territory solely by way of Internet Transmission via
                           SVOD and AVOD, the Netflix Service to NEDs (including User Interfaces on
                           same).
                    2.1.2. Licensor also grants to Netflix during the Term a limited, non-exclusive right and
                           license to copy, install, compress, uncompress, encode, encrypt, decode, decrypt,
                           display, use, cache, store and transmit the Titles (and associated Source Material)
                           for purposes of such approved exhibition and distribution.
             2.2.        Marketing and Promotion.
                    2.2.1.   Trademark License. Licensor grants to Netflix during the Term a limited, non-
                             exclusive right and license to copy, install, display, use, cache, store, transmit,
                             exhibit and distribute Licensor’s trademark(s) and logo(s) identified on Schedule




                                                             3
                                                                                            Exhibit 7c Page 227
FOIA Confidential Treatment Requested                                                                     JJMT-SEC-0005040
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 229 of 245 Page ID #:950
                             C (collectively, “Licensor Marks”) for purposes of exercising its rights under this
                             Section 2.
                    2.2.2.   Marketing; Pre-promotion. Subject to Section 5.4, Netflix may, commencing
                             sixty (60) calendar days prior to each Title’s Start Date, market and promote the
                             availability of such Title through the any Service here granted.
                    2.2.3.   Introductory Segments; Promotion To Non-Subscribers. Licensor grants to
                             Netflix during the Term a limited, non-exclusive right and license to cut each
                             Title to create short promotional clips, each of which shall consist of no more
                             than three (3) consecutive minutes in length of a Title, an “Introductory
                             Segment”. Licensor further grants to Netflix during the Term a limited, non-
                             exclusive right and license to (a) exhibit and distribute, solely by way of Internet
                             Transmission, Source Material (excluding Titles) and Introductory Segments to
                             subscribers and potential subscribers for purposes of marketing and promoting
                             the availability of the Titles through the Netflix Service and (b) copy, install,
                             compress, uncompress, encode, decode, encrypt, decrypt, display, use, cache,
                             store and transmit such materials for purposes of such approved exhibition and
                             distribution. For the avoidance of doubt, Netflix need not encrypt Introductory
                             Segments or trailers.
             2.3.       Encryption; Copy Protection. Netflix shall, at all times during the Term, implement
                        security and copy protection technologies with respect to each Title, including geo-
                        filtering and encryption technologies, that are at least as protective as the then-current
                        industry standard in the Territory and which shall be no less protective than those
                        provided by Netflix to other platforms in the Territory. Once terminated this
                        Agreement by any cause, Netflix shall destroy, eliminate and/or return to Licensee
                        any and all protection copy.
             2.4.       Geo-filtering. Netflix shall, at all times during the Term, implement geo-filtering
                        technology to restrict access to Titles, via the Netflix Service, to subscribers within
                        the Territory that is at least as protective as the then-current industry standard in the
                        Territory and which shall be no less protective than those provided by Netflix to other
                        platforms in the Territory. Notwithstanding the foregoing, Licensor acknowledges
                        that Netflix cannot guarantee that current geo-filtering technology shall be effective
                        in every instance.
             2.5.       For the avoidance of doubt, Netflix may offer the Netflix Service, including the Titles
                        licensed hereunder, on NEDs where a subscriber is required to use a third party
                        service (including without limitation a User Interface) and/or make payment to such
                        third party to use the Netflix Service (whether such payment is for an additional
                        charge in order to access the Netflix Service and/or for the relevant subscription fee
                        for the Netflix Service itself). Such third parties may also offer interactive features,
                        such as on-screen chat functionality or simultaneous or coordinated viewing. By way
                        of example only, the Netflix Service may be offered through a game console such as
                        the Microsoft Xbox, wherein use of the Netflix Service by subscribers through such
                        NED requires the payment of a recurring, material fee to Microsoft Corporation
                        and/or payment of the relevant Netflix Service subscription fee to Microsoft
                        Corporation.
             2.6.       Notwithstanding anything to the contrary in this Agreement, but without in any way
                        limiting Netflix’s security and related obligations pursuant to Sections 2.5 and 2.6 or
                        Netflix’s indemnification obligations pursuant to Section 6.3, Netflix shall not be
                        responsible or liable for any acts or omissions of, or resulting from a consumer’s use
                        of, a third party NED and/or any third party software (including any User Interface).
             2.7.       Exclusivity; Holdbacks. Netflix shall be the exclusive SVOD and AVOD licensee in
                        the Territory during such Title’s Title License Period. Further, during the period
                        commencing on the first day of the Term and continuing through the expiration of the
                        Title License Period, as applicable, Licensor (and its Affiliates) shall not, and shall
                        not license or permit any third party to, license, exhibit, distribute or otherwise




                                                              4
                                                                                             Exhibit 7c Page 228
FOIA Confidential Treatment Requested                                                                       JJMT-SEC-0005041
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 230 of 245 Page ID #:951
                    exploit such Title in the Territory other than on a Theatrical, Home Video, VOD, or
                    purely EST, (e.g., no Basic TV exploitation, no Pay TV exploitation, no SVOD
                    exploitation, no AVOD). Holdback against Free TV and Basic Cable only during the
                    first 18 months. Licensor acknowledges that this provision and Licensor’s
                    performance of its obligations under this Section is essential to Netflix and its
                    willingness to enter into this Agreement.
          3. License Fees.
             3.1.   License Fees. Netflix shall pay Licensor the License Net Fee of $4,200,000.00 (Four
                    Million Two Hundred Thousand US Dollars and 00/100), including Taxes and
                    withholdings, agreeing both parties that any and all discounts, withholdings, taxes or
                    similar will be absorbed by the Netflix.
             3.2.   Payment Details. License Fee shall be due and payable as follows: the amount of
                    $4,200,000.00 (100%) for two (2) Titles due 365 days after the delivery of the
                    required materials as established in this Agreement and as defined on Schedule A.
             3.3.   Taxes. Each party shall, as set forth in more detail in Section 5, indemnify the other
                    for failure to pay any Taxes payable by such party pursuant to this Section and/or
                    applicable law.
          4. Delivery.
                    4.1. Source Material. Licensor shall create and deliver, at its sole expense, Source
                         Material for each Title set forth on Schedule A as of the Effective Date to
                         Netflix no later than ninety (90) calendar days prior to the applicable Start Date
                         or such other date agreed to in writing by the parties. Source Material shall be
                         loaned to Netflix for the purpose of encoding and shall be, at Licensor’s option,
                         either destroyed or, with written notice, returned to Licensor within ninety (90)
                         calendar days of accepted delivery. Licensor shall also provide, at Netflix’s
                         request, accurate music cue sheets for each Title.
                    4.2. Specifications. All Source Material shall be provided to Netflix in accordance
                         with the specifications set forth in, and accompanied by all information required
                         by, Schedule B. For the avoidance of doubt, in the event that Source Material is
                         provided in encrypted format, including for example on DVD, Netflix shall be
                         permitted to decrypt such media as necessary prior to encoding and/or encode
                         directly from such media. Notwithstanding anything to the contrary in this
                         Agreement, no advertising elements (pre-roll, bugs, bumpers, placards, etc.) or
                         overlay branding (either Licensor’s or any other third party’s) shall be included
                         before, after or within any Source Material for a Title delivered hereunder.
                         Source Material shall be delivered in the highest quality and resolution available
                         to Licensor (e.g., if not available in 1080p, then delivered in 1080i, or if not
                         available in 1080i, then delivered in 720p), including without limitation High
                         Definition
                    4.3. Acceptance. Upon Netflix's receipt of the Source Material for a Title, Netflix
                         shall have thirty (30) calendar days in which to send Licensor written notice of
                         its acceptance ("Notice of Acceptance") or rejection ("Notice of Rejection") of
                         the Source Material for that Title, such acceptance or rejection to be determined
                         by Netflix based solely upon whether such material complies with Schedule B.
                    4.4. Rejection. Upon Licensor’s receipt of a Notice of Rejection, if any, Licensor
                         shall, without delay and at its sole expense, replace the defective Source
                         Material. In the event that Licensor is unable to provide an acceptable Source
                         Material replacement, Netflix shall not be obligated to pay any License Fee with
                         respect to the relevant Title.




                                                         5
                                                                                       Exhibit 7c Page 229
FOIA Confidential Treatment Requested                                                                 JJMT-SEC-0005042
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 231 of 245 Page ID #:952
          5. Representations and Warranties; Indemnification; Limitation on Liability.
             5.1.      Netflix. Netflix represents, warrants and covenants that (i) it has the full right,
                       power, legal capacity and authority to enter into and fully perform its obligations
                       under this Agreement; (ii) there are not now any liens, claims, encumbrances, legal
                       proceedings, agreements or understandings which might conflict or interfere with,
                       limit, derogate from, be inconsistent with any of Netflix’s representations, warranties
                       or covenants contained in this Section 6.1. (iii) it has satisfied and shall satisfy during
                       the Term all third party obligations of any kind with respect to the obligations
                       acquired by this Agreement and with any third party, including the viewers of
                       Netflix; (iv) Netflix’s distribution and other exploitation of the Titles (and associated
                       Source Material and Introductory Segments) granted by this Agreement to Netflix
                       shall not violate or infringe any rights of any third party, including without limitation
                       any third party intellectual property rights, contract rights, moral rights, rights of
                       publicity, and rights of privacy, or defame or constitute unfair competition against
                       such third party; and (v) Netflix’s distribution and other exploitation of same in
                       accordance with this Agreement shall not violate any applicable law, rule or
                       regulation.
             5.2.      Licensor. Licensor represents, warrants and covenants that (i) it has the full right,
                       power, legal capacity and authority to enter into and fully perform its obligations
                       under this Agreement, and neither it nor an Affiliate has entered into an agreement
                       with another party which is inconsistent with the terms of this Agreement or would
                       otherwise prevent Licensor from fulfilling its obligations as to the Titles or under this
                       Agreement; (ii) it has and shall maintain during the Term all necessary rights, titles,
                       authorizations, consents and interests, including without limitation from all third
                       party rights holders for each Title, necessary to grant Netflix the licenses granted in
                       this Agreement, including without limitation the right to license to Netflix, on an
                       exclusive basis in accordance with Section 3.2, the Titles designated and delivered by
                       Licensor hereunder; (iii) it has satisfied and shall satisfy during the Term all third
                       party obligations of any kind with respect to the Titles (and associated Source
                       Material and Introductory Segments) and their distribution and exploitation in
                       accordance with this Agreement, including without limitation all guild residuals and
                       participations, and Netflix shall have no obligation for any such past, current or future
                       charges or similar payments; (iv) Netflix’s distribution and other exploitation of the
                       Titles (and associated Source Material and Introductory Segments) and Licensor
                       Marks in accordance with this Agreement shall not violate or infringe any rights of
                       any third party, including without limitation any third party intellectual property
                       rights, contract rights, moral rights, rights of publicity, and rights of privacy, or
                       defame or constitute unfair competition against such third party; and (v) the Titles
                       (and associated Source Material and Introductory Segments) and Netflix’s
                       distribution and other exploitation of same in accordance with this Agreement shall
                       not violate any applicable law, rule or regulation.
             5.3.      Indemnification.
                    5.3.1. Licensor will defend, indemnify and hold harmless Netflix, its directors,
                           officers and employees from any and all loss, damage, claim, liability or
                           expense (including legal fees and costs) actually incurred as a result of a
                           third party claim (“Claim”) to the extent arising out of a breach or alleged
                           breach of the representations and warranties made in Section 6.1 or (ii)
                           any failure by Licensor to pay any Taxes required to be paid to any
                           governmental entity on monies earned by Licensor hereunder or as a result
                           of Licensor’s performance of its obligations hereunder.
                    5.3.2. Netflix will defend, indemnify and hold harmless Licensor, its directors,
                           officers, employees from any and all Claim to the extent arising out of a
                           breach or alleged breach of (i) the representations and warranties made in
                           Section 6.2 and/or (ii) any failure by Netflix to pay any Taxes required to




                                                             6
                                                                                             Exhibit 7c Page 230
FOIA Confidential Treatment Requested                                                                       JJMT-SEC-0005043
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 232 of 245 Page ID #:953
                      be paid by Netflix to any governmental entity on monies earned by Netflix
                      hereunder or as a result of Netflix’s performance of its obligations
                      hereunder.
          6. Confidentiality.
          6.1 Confidential Information. Each party acknowledges and agrees that all business and
              technical information provided to it by the other party pursuant to this Agreement
              constitutes confidential and/or proprietary information of the other party
              (“Confidential Information”). Confidential Information shall includes all oral,
              written or recorded confidential and/or proprietary information about or related to the
              disclosing party or its business, including without limitation the terms and conditions
              of this Agreement. Notwithstanding the foregoing, Confidential Information does not
              include information that (i) is or becomes publicly available without breach of this
              Agreement; (ii) can be shown by documentation to have been known to the receiving
              party prior to its receipt from the disclosing party; (iii) is rightfully received from a
              third party who did not acquire or disclose such information by a wrongful or tortious
              act; (iv) can be shown by documentation to have been developed by the receiving
              party without reference to any Confidential Information; or (v) that the receiving
              party becomes legally obligated to disclose to a governmental entity with jurisdiction
              over it.
          6.2 Use of Confidential Information. Neither party shall use the other’s Confidential
              Information for its own use or for any purpose other than as necessary to perform or
              enforce its rights and/or obligations under this Agreement or as required by law, or
              disclose such information to any third party (except for attorneys, accountants, and/or
              the third party contractors identified in Section 9.3, provided such parties have reason
              to know such information and are bound to a confidentiality agreement at least as
              protective as this Section 7). Each party shall take all reasonable measures to protect
              the secrecy of and avoid disclosure of Confidential Information, which measures shall
              be no less than reasonable care and shall include all of those measures that the
              receiving party uses to protect its own Confidential Information. This Section 7 shall
              survive expiration or earlier termination of this Agreement.
          7. Termination.
             7.1.    Either party may terminate this Agreement:
                 7.1.1. in the event of a material uncured breach or default by the other party of
                        any of its obligations under this Agreement, provided that (i) notice is
                        provided to the other party in writing and (ii) such breach or default is not
                        cured within thirty (30) calendar days following the date such notice is
                        deemed given, unless such breach or default is by nature uncurable in
                        which case this Agreement shall be terminable on the date of notice; or
                 7.1.2. in the event that the other party (i) institutes or otherwise becomes a party,
                        voluntarily or involuntarily, to a proceeding alleging or pertaining to the
                        insolvency or bankruptcy of that party; (ii) is dissolved or liquidated; (iii)
                        makes an assignment of its material assets for the benefit of creditors;
                        and/or (iv) initiates or is subject to reorganization proceedings. This
                        Agreement shall be terminable on the date written notice is deemed given
                        to such party.
             7.2.    No Waiver. Waiver by either party of a single breach or default or a
                     succession of breaches or defaults shall not deprive such party of the right to
                     terminate this Agreement by reason of any subsequent breach or default.




                                                        7
                                                                                    Exhibit 7c Page 231
FOIA Confidential Treatment Requested                                                            JJMT-SEC-0005044
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 233 of 245 Page ID #:954
             7.3.  Effect of Termination or Expiration. Upon termination or expiration of this
                   Agreement, the licenses granted hereunder shall immediately terminate.
                   Nothing herein shall be construed to release either party from any obligation
                   that matured prior to the effective date of such termination or expiration (or
                   which may continue beyond such termination or expiration) or to relieve the
                   defaulting party from any and all liabilities at law or in equity to the other for
                   breach of this Agreement. Further, in the event that this Agreement is
                   terminated due to a material breach or default of Licensor, Licensor shall
                   refund or credit to Netflix, at Netflix’s option and within thirty (30) calendar
                   days of the effective date of such termination, a prorated amount of the
                   aggregate License Fees paid to Licensor, calculated as of the effective date of
                   such termination and based upon the amount of time remaining in the relevant
                   Title License Periods.
              7.4.   Survival. Those rights and obligations, which by their very nature are
                     intended to survive termination or expiration of this Agreement, shall survive,
                     including without limitation Sections 1, 2.8, 4.3, 6.3, 6.4, 7, and 8.
          8. General Provisions.
              8.1.   Governing Law; Dispute Resolution. This Agreement was fully negotiated
                     and entered into in, and shall be governed by and construed and enforced in
                     accordance with the federal laws of United States of Mexico without regard to
                     its rules on conflict of laws or any other rules that would result in the
                     application of a different body of law. The parties consent to the exclusive
                     jurisdiction and venue of the Federal and State Courts located in Mexico,
                     Federal District for purposes of any proceeding arising out of or relating to
                     this Agreement.
              8.2.   Third Party Contractors. Netflix may use third party contractors (e.g.,
                     backend fulfillment providers that encode, encrypt, store and/or host content)
                     to exercise its rights and fulfill its obligations pursuant to Section 2; provided,
                     however, that Netflix shall be fully responsible for any act or omission, or
                     failure of any right or obligation of this Agreement by such a contractor in the
                     event that such an act, failure or omission, if performed by Netflix instead of
                     such contractor, would constitute a breach by Netflix of this Agreement.
              8.3.   Notice. Notices and other communications required or permitted to be given
                     hereunder shall be given in writing and delivered in person, sent via certified
                     mail or email, or delivered by nationally-recognized courier service, properly
                     addressed and stamped with the required postage, if applicable, to the
                     applicable individuals and addresses specified in the signature block below.
                     Notice shall be deemed effective upon receipt.
              8.4.   Assignment. Neither this Agreement nor any rights, licenses or obligations
                     hereunder may be assigned by either party without the prior written approval
                     of the non-assigning party, which shall not be unreasonably withheld or
                     delayed. Notwithstanding the foregoing, either party may assign this
                     Agreement to any parent of such party, wholly-owned subsidiary of such
                     party, or any acquirer of all or of substantially all of such party's equity
                     securities or assets, provided that such party provides the non-assigning party
                     with prompt written notice. Any purported assignment not in accordance with
                     this section shall be void. Subject to the foregoing, this Agreement will
                     benefit and bind the parties' successors and assigns.
              8.5.   Severability. If any provision of this Agreement, other than a provision going
                     to the essence of the Agreement, is held to be unenforceable pursuant to



                                                        8
                                                                                     Exhibit 7c Page 232
FOIA Confidential Treatment Requested                                                              JJMT-SEC-0005045
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 234 of 245 Page ID #:955
                   Section 9.1, such decision shall not affect the validity or enforceability of any
                   other provision of this Agreement. Any provision of this Agreement held
                   invalid or unenforceable shall, to the extent practicable, be substituted with a
                   valid and enforceable provision that achieves the results contemplated by the
                   parties in the original provision.
             8.6.   Headings. The headings of Sections and subsections in this Agreement are
                    provided for convenience only and shall not affect its construction or
                    interpretation.
             8.7.   Counterparts. This Agreement may be executed in two counterparts, each of
                    which will be deemed to be an original copy of this Agreement and all of
                    which together shall constitute one and the same Agreement.
             8.8.   Entire Agreement. This Agreement supersedes all prior or contemporaneous
                    negotiations and agreements (whether oral or written) between the parties with
                    respect to the subject matter thereof and constitutes, along with its Exhibits, a
                    complete and exclusive statement of the terms and conditions of the
                    Agreement between the parties with respect to such subject matter. This
                    Agreement may not be amended or modified except by the written agreement
                    of both parties. The language of this Agreement is English, and any
                    translations shall have no effect and shall not be binding.


          IN WITNESS WHEREOF, the parties have caused this Agreement to be executed by
          their duly authorized representatives as of the date first written above.
          1INMM CAPITAL LLC                               NETFLIX INC.



          By:                                             By:
          Name: Zachary Horwitz                           Name: Funa Maduka
          Title: MANAGING PARTNER____                     Title: VP, Content Acquisition




                                                      9
                                                                                  Exhibit 7c Page 233
FOIA Confidential Treatment Requested                                                          JJMT-SEC-0005046
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 235 of 245 Page ID #:956
                                                Schedule A-1
                                                   Titles


          TITLE:                      YULI

          YEAR:                       2019

          START DATE:                 MARCH 04TH, 2019

          LICENSE PERIOD:             36 MONTHS EXCLUSIVE for AVOD and SVOD; 18 months for any
                                      other licensed right according to the terms conditions of the Agreement.

          LICENSE PLATFORM:           SVOD, PAY TV, BASIC TV, AVOD

          LICENSE NET FEE:            $2,100,000.00

          FORMAT:                     HD

          TERRYTORY:                   ALL LATIN AMERICA INCLUDING BRAZIL
          ___________________________________________________________________

          TITLE:                      LUCIA’S GRACE

          YEAR:                       2019

          START DATE:                 MARCH 04TH, 2019

          LICENSE PERIOD:             36 MONTHS EXCLUSIVE for AVOD and SVOD; 18 months for any
                                      other licensed right according to the terms conditions of the Agreement.

          LICENSE PLATFORM:           SVOD, PAY TV, BASIC TV, AVOD

          LICENSE NET FEE:            $2,100,000.00

          FORMAT:                     HD

          TERRYTORY:                   ALL LATIN AMERICA INCLUDING BRAZIL
          ___________________________________________________________________




                                                      10
                                                                                       Exhibit 7c Page 234
FOIA Confidential Treatment Requested                                                                  JJMT-SEC-0005047
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 236 of 245 Page ID #:957
                                                      Schedule B
                                    Source Material Requirements and Specifications
           NETFLIX, INC (“NTFLX”) will determine the appropriate source for it’s encoding.
           Examples of sources are listed below. If Content Provider does not have the source
           NTFLX requests, then NTFLX and Content Provider will mutually agree upon the source.

           Per the agreement, it is the Content Provider’s obligation to deliver Source Material
           compliant with the specifications below to NTFLX.
           Requirements

           Primary Digital Assets

                                                      File Type
                                              (in order of preference)
                                         1. High Definition – MPEG-2 (80
                                            Mbps)
                                         2. Standard Definition – MPEG-2 (50
                                            Mbps)

           We accept .mpg for MPEG-2 files. For a given title, only one contiguous file can be
           delivered. Titles cannot be delivered as multi-part files, i.e., if a title is 90 minutes in
           duration, a single file with 90-minute duration must be delivered. Two (2) files with 45-
           minute durations will not be accepted. Below in section 3 Primary Digital Asset
           Specifications are the technical details for the acceptable formats.

           Please ensure that all files do not contain bars and tones, advertisements, slates,
           ratings cards, FBI warning cards, placards, overlay branding or website link callouts
           before, during and/or after the program. Also, no commercial blacks can be contained
           in the program. There are no exceptions to these requirements. All files must consist
           of the feature program with one (1) second of black at the head and tail of the
           program.




                                                          11
                                                                                      Exhibit 7c Page 235
FOIA Confidential Treatment Requested                                                            JJMT-SEC-0005048
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 237 of 245 Page ID #:958
            Digital Video Prerequisites
            We require 16x9 (1:1 PAR for HD, 32:27 PAR for SD) versions if available. The following
            information and table specify the priority order in which NTFLX will accept content.
                    1. 16x9 (1:1 PAR for HD, 32:27 PAR for SD)
                    2. We will only accept 4x3 content if 16x9 (1:1 PAR for HD, 32:27 for SD)
                         sources do not exist.
                    3. HD sources must be in 23.976p format. 60i or 50i sources will only be
                         accepted if feature was originally shot in 60i or 50i.
                    4. Please refer to the table below for quick reference.
              Preference        Format       DAR PAR            Frame Rate            Scan Type
                Priority
                   1              HD         16x9     1:1          23.976            Progressive
                              1920x1080
                   2              HD         16x9     1:1      25 or 29.97 or       Interlaced or
                              1920x1080                             59.94            Progressive
                   3         HD 1280x720 16x9         1:1          23.976            Progressive
                   4         HD 1280x720 16x9         1:1      25 or 29.97 or        Progressive
                                                                    59.94
                   5          SD 720x480 16x9 32:27                23.976            Progressive
                   6          SD 720x480 16x9 32:27             25 or 29.97         Interlaced or
                                                                                     Progressive
                   7          SD 720x480      4x3     8:9          23.976            Progressive
                   8          SD 720x480      4x3     8:9       25 or 29.97         Interlaced or
                                                                                     Progressive


            Digital Audio Prerequisites
            Titles with surround sound require 5.1 audio. When 5.1 audio is supplied an additional
            2-channel Left Total + Right Total mix (2-channel stereo mix) must be supplied on the
            same audio track as well. We require a single audio track that contains all 8 channels (6
            channels for the 5.1 and 2 channels for the LT/RT mix). We do not accept multi-track
            audio files.

            If a conformed 5.1 audio source is not available, stereo audio (or mono audio if the
            program is an old black-and-white movie, documentary, etc., as long as the original
            source was mono) will be accepted.

            We use standard channel assignments as shown below:
              1. 5.1 audio + 2.0 audio channel assignments
                      a. Channel 1 – Left
                      b. Channel 2 – Right
                      c. Channel 3 – Center
                      d. Channel 4 – LFE
                      e. Channel 5 – Left Surround
                      f. Channel 6 – Right Surround
                      g. Channel 7 – Left Total
                      h. Channel 8 – Right Total




                                                        12
                                                                                 Exhibit 7c Page 236
FOIA Confidential Treatment Requested                                                          JJMT-SEC-0005049
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 238 of 245 Page ID #:959
                2. Stereo Comp audio only
                      a. Channel 1 – Left Total
                      b. Channel 2 – Right Total

                 3. Mono Comp audio (usually old black-and-white movies, etc.)
                      a. Channel 1 – Mono Comp
                      b. Channel 2 – Mono Comp

             Primary Digital Asset Specifications

             MPEG-2 Specifications

             High Definition – MPEG-2 (80 Mbps)
                    1. Video Codec: MPEG-2
                    2. Profile ID: High Profile
                    3. Level ID: High Level
                    4. Video Bitrate: 80 megabits
                    5. Resolution:
                          a. 1920x1080
                          b. 1280x720
                    6. Audio Codec:
                               a. Multi-Channel Assignment (if available)
                                    i. Acceptable audio codecs
                                          1. Multi-channel PCM – 16bit, 48 kHz (Little Endian)
                                          2. Multi-channel AES3 LPCM (302m) – 16 bit, 48 kHz
                                   ii. Channel Mapping
                                          1. Channel 1 – Left
                                          2. Channel 2 – Right
                                          3. Channel 3 – Center
                                          4. Channel 4 – LFE
                                          5. Channel 5 – Left Surround
                                          6. Channel 6 – Right Surround
                                          7. Channel 7 – Left Total
                                          8. Channel 8 – Right Total
                               b. Stereo Assignment (if multi-channel does not exist)
                                    i. Acceptable stereo audio codecs
                                          1. PCM – 16 bit, 48 kHz (Little Endian)
                                          2. Stereo AES3 LPCM (302m) – 16 bit, 48 kHz
                                          3. DVD LPCM – 16 bit, 48 kHz
                                          4. MPEG Layer 1 – 48 kHz, 448 kbps
                                   ii. Channel Mapping
                                          1. Channel 1 – Left Total
                                          2. Channel 2 – Right Total
                    7. Frame rate: (frame rate should match source)
                          a. 23.976 progressive
                          b. 25.00 progressive
                          c. 25.00 interlaced
                          d. 29.97 progressive
                          e. 29.97 interlaced
                          f. 59.94 progressive




                                                       13
                                                                              Exhibit 7c Page 237
FOIA Confidential Treatment Requested                                                     JJMT-SEC-0005050
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 239 of 245 Page ID #:960
                 8. Aspect Ratio:
                         a. 1:1 square pixels
                 9. Intra DC Precision: 10-bit
                 10. Chroma Format: 4:2:2
                 11. GOP Structure: I-frame ONLY
                 12. Closed Captioning: As defined in section 3.3 Closed Captioning below
                 13. Stream Type: Transport Stream

           Standard Definition – MPEG-2 (50 Mbps)
                   1.  Video Codec: MPEG-2
                   2.  Profile ID: High Profile
                   3.  Level ID: High Level
                   4.  Video Bitrate: 50 megabits
                   5.  Resolution:
                           a. NTSC or Film: 720x480
                           b. PAL: 720x576
                   6. Audio Codec:
                           a. PCM – 48 kHz or 44.1 kHz, 16-bit, stereo (Little Endian)
                           b. DVD LPCM – 48 kHz, 16-bit, stereo
                           c. MPEG Layer 1 – 48 kHz or 44.1 kHz, 16-bit, stereo with minimum data
                               rate of 128 kbps
                   7. Frame rate: (please ensure all files are de-interlaced, or have had Inverse-
                       Telecine applied, to make sure the content is progressive and not interlaced)
                           a. 23.976 progressive
                           b. 25.00 progressive
                           c. 25.00 interlaced
                           d. 29.97 progressive
                           e. 29.97 interlaced
                   8. Aspect Ratio:
                           a. 4x3 if standard
                           b. 16x9 if anamorphic
                   9. Intra DC Precision: 10-bit
                   10. Chroma Format: 4:2:2
                   11. GOP Structure: I-frame ONLY
                   12. Closed Captioning: As defined in section 3.3 Closed Captioning below
                   13. Stream Type: Transport Stream

           Subtitle as a Separate File
           The preferred formats for subtitles are text-based WC3 Timed Text Markup Language
           (.dfxp) or SubRip (.srt) formats; otherwise they must be one of the acceptable formats
           listed below. The subtitle file must have time code that is conformed (synced) to the
           digital video file asset. Raster image-based subtitles will not be accepted.

           Acceptable Text-Based Subtitle Files:
              • DFXP
              • SRT
              • SAMI
              • DailyScripts
              • DVD Nav




                                                      14
                                                                                 Exhibit 7c Page 238
FOIA Confidential Treatment Requested                                                         JJMT-SEC-0005051
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 240 of 245 Page ID #:961
              • Softitler

           Please ensure all subtitle files do not contain advertisements, placards, overlay branding
           or website link callouts.

           If your text-based subtitle format is not listed above please contact NTFLX to discuss
           other options.

           Please follow the file-naming convention specified in section 5 File-Naming Conventions

           Closed Captioning

           Closed Captions as Ancillary Data
           This is the preferred method of delivery. The primary closed caption data must be
           carried within the video stream as Line21 data. For MPEG-2 video, the Line21 captions
           must be carried in the picture user data, as defined in “ATSC Standard: Digital Television
           Standard (A/53), Revision D, section 5.2.”

           Please ensure all caption files do not contain advertisements, placards, overlay branding
           or website link callouts.

           Closed Captioning as Separate File
           If closed captioning must be delivered as a separate file, it must be submitted in one of
           the acceptable formats listed below. The closed caption file must have time code that is
           conformed (synced) to the digital video file asset. Raster image-based closed captioning
           will not be accepted.

           Acceptable Closed Caption Files:
              • SCC
              • DFXP
              • DailyScripts
              • SDI Media
              • Softitler
              • DVD Nav

           Please ensure all caption files do not contain advertisements, placards, overlay branding
           or website link callouts.

           If your closed caption format is not listed above please contact NTFLX to discuss other
           options.

           Please follow the file-naming convention specified in section 5 File Naming Conventions


           Secondary Digital Assets Specifications

           Alternate Language Audio as a Separate File
           If alternate language audio tracks are available, then they should be conformed to the
           primary digital audio/video asset delivered. Acceptable formats for alternate language
           audio tracks are stereo or multichannel AAC (in an MP4 wrapper) or AES3 LPCM audio




                                                         15
                                                                                 Exhibit 7c Page 239
FOIA Confidential Treatment Requested                                                          JJMT-SEC-0005052
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 241 of 245 Page ID #:962
           (in a MPEG-2 Transport Stream, .mpg). Either format should be encoded at the highest
           possible bitrate to maintain fidelity. Please follow the file-naming convention described
           below.

           Acceptable Alternate Language Audio Formats
                   1. Audio Codec and Container:
                          a. AAC (Low Complexity) in an MP4 container (.mp4)
                   2. Bitrate: Highest bitrate possible
                   3. Sample rate: 44.1 kHz or 48 kHz
                   4. 5.1 Audio Channel Mapping:
                          a. Channel 1 – Left
                          b. Channel 2 – Right
                          c. Channel 3 – Center
                          d. Channel 4 – LFE
                          e. Channel 5 – Left Surround
                          f. Channel 6 – Right Surround
                   5. 2.0 Audio Channel Mapping:
                          a. Channel 1 – Left Total
                          b. Channel 2 – Right Total
           File-Naming Conventions

           Primary Video Asset File-Naming
           The file-naming convention for the MPEG-2 file is as follows:
           [movieID]_[framerate]_[aspectratio]_[bitrate]_[countrycode].mpg

           The country code is used to specify for which country the asset has rights. If the asset
           has rights for a specific country, then the 2-letter country code should be used as
           defined by the ISO 3166-1-alpha-2 code specifications
           (http://www.iso.org/iso/english_country_names_and_code_elements). If the asset has
           global rights, then the word “global” should be used in place of the 2-letter country
           code.

           Example for High-Definition Files
           60011152_24_178_80_us.mpg
           60028202_60i_185_80_ca.mpg
           60028204_60p_178_80_global.mpg


           Example for Standard-Definition Files
           60028202_24_235_50_fr.mpg


           Alternate Language Audio File-Naming
           The audio filename should follow the same file-naming convention as the primary asset
           file name, with the addition of channel mapping with the file name:

           [movieID]_[framerate]_[aspectratio]_[channel1]_[channel2]_..._[channelX]_[2letterLa
           nguageCode].[ext]




                                                      16
                                                                                Exhibit 7c Page 240
FOIA Confidential Treatment Requested                                                        JJMT-SEC-0005053
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 242 of 245 Page ID #:963
           Please use the 2-letter language codes as defined in the ISO 639-1 specifications
           (http://www.loc.gov/standards/iso639-2/php/code_list.php).

           The filename should match the channel mapping of the audio file.

           Examples:
           70106666_24_178_80_L_R_C_Lfe_Ls_Rs_ca.mp4
           70106666_24_178_80_LT_RT_fr.mpg
           70106667_30_178_80_L_R_C_Lfe_Ls_Rs_es.mp4


           Subtitle File-Naming
           The file-naming convention of closed caption file is as follows:

           [movieID]_[framerate]_[aspectratio]_[2letterLanguageCode].scc
           or named exactly the same as the video asset except with “_2letterLanguageCode” post-
           fixed to the filename of the secondary Closed Caption (CC) file.

           Please use the 2-letter language codes as defined in the ISO 639-1 specifications
           (http://www.loc.gov/standards/iso639-2/php/code_list.php).

           Example:
           60028202_24_235_es.scc
           60028202_24_235_en.srt
           72343234_30_133_fr.smi
           72342123_24_178_pt.smi



           Closed Caption File-Naming
           The file-naming convention of the secondary closed caption file is as follows:

           [movieID]_[framerate]_[aspectratio]_[2letterLanguageCode].scc

           Or named exactly the same as the video asset except with “_2letterLanguageCode”
           post-fixed to the filename of the secondary Closed Caption (CC) file.

           Please use the 2-letter language codes as defined in the ISO 639-1 specifications
           (http://www.loc.gov/standards/iso639-2/php/code_list.php).

           Example:
           60028202_24_235_es.scc
           60028202_24_235_en.scc
           60028202_24_235_fr.scc
           60028202_24_235_pt.scc




                                                       17
                                                                                 Exhibit 7c Page 241
FOIA Confidential Treatment Requested                                                          JJMT-SEC-0005054
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 243 of 245 Page ID #:964
           Metadata

           Movie Content Metadata
           Movie metadata is required for all content and is to be submitted via the approved
           NTFLX Metadata Template to NTFLX@NTFLX.TV

           All dubbed and/or subtitled content is to be accompanied with the relevant metadata in
           the original and alternate language to support the source delivered.

           Sample metadata files via XMLs may also be submitted and require NTFLX approval prior
           to acceptance.

           Primary and Secondary Assets Metadata
           If metadata for the primary and secondary assets is available via vendor API or file
           (XML,TXT, etc.), NTFLX will require access to the API or sample file for approval prior to
           acceptance.
           Delivery

           Network Delivery via Aspera
           Currently, NTFLX uses Aspera exclusively for network delivery. The Content Supplier
           must push content to NTFLX via Aspera. NTFLX will not pull content.

           Please be prepared to provide the following information in order to set up an Aspera
           account.
               •      Public outbound IP address(es) for which your host(s) will use for transferring
                      files to us via Aspera.
               •      Technical contact (name, e-mail and phone number) of the person responsible
                      for setting up the Aspera connection on your end.


           Directory Structure and File Organization
           The following folder structure must be followed to organize each group of conformed
           assets. A group of conformed assets must consist of one audio/video muxed primary
           digital asset and any of its other conformed digital assets.

           Folder Structure of external hard drive:

           E:.
           +---[NFLXMovieID] – (directory)
                  [DigitalAsset1a] – (file)
                  [DigitalAsset1b] – (file)
                  [DigitalAsset1c] – (file)

           Example:
           E:.
           +---61234123
           | 61234123_24_178_80_us.mpg
           | 61234123_24_178_80_en.scc
           |




                                                          18
                                                                                    Exhibit 7c Page 242
FOIA Confidential Treatment Requested                                                            JJMT-SEC-0005055
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 244 of 245 Page ID #:965
        +---62345234
        | 62345234_24_235_80_us.mpg
        |
        +---7712332
        | 7712332_60i_133_80_en.scc
        | 7712332_60i_133_80_es.srt
        | 7712332_60i_133_80_us.mpg
        |
        +---79661231
          79661231_30_178_50_ca.mpg
          79661231_30_178_50_en.scc
          79661231_30_178_50_fr.srt
          79661231_30_178_50_LT_RT_es.mp4
          79661231_30_178_50_L_R_C_Lfe_Ls_Rs_fr.mp4
        Artwork
        High-resolution images are required for every title and must be submitted a minimum of
        30 days in advance of licensing start date to NTFLX via any of these options:
                   a. Vendor-provided website
                   b. FTP (must request access from NTFLX)
                   c. Email: alebrije@alebrije.tv

        Artwork is accepted in original and bilingual language formats for all content.

        File-naming convention:
        [NTFLXMovieID].png (or .tiff or .jpg)

        If NTFLX movie ID not known, use movie title:
        [MovieTitle].png (or .tiff or .jpg)

        Examples:
        60028202.jpg
        Terminator2.jpg

        Below are the requirements for submitting artwork to NTFLX. We seek the highest
        quality possible to ensure optimal display for the website and NTFLX-ready devices.



         Artwork Attribute            Description
                                      Box art: 1:1.40 (w:h) aspect ratio. Aspect ratio tolerance: 1:35
         Image Aspect Ratio           through 1:1.45.
         Image Height (h)             Box art: 800 pixels minimum. Higher is better.
                                      Box art: Depends on image height. For example, 570 (w) x 800 (h)
         Image Width (w)              when art is 1:1.40.
         Image Resolution             150 dpi
         Pixel Aspect Ratio           Square (1.0)
                                      RGB Color (8-bits/channel). Conversions from CMYK are
         Color Mode                   undesirable.
         File Format                  Uncompressed (.png, .tiff, etc.). JPEGs acceptable with “maximum



                                                    19
                                                                                  Exhibit 7c Page 243
FOIA Confidential Treatment Requested                                                         JJMT-SEC-0005056
     Case 2:21-cv-02927-CAS-GJS Document 9 Filed 04/05/21 Page 245 of 245 Page ID #:966
                               quality” compression.
         Black Point           RGB 0 - 0 - 0
         White Point           RGB 255 - 255 - 255
                               No color profiles assigned (a 2.1/2.2 gamma setting on calibrated
         Color Profile         monitors is assumed).
                               Artwork should be two-dimensional and extend over entire image
         Image Area            area. No extraneous graphics (borders, frames, drop shadows).
                               Art should not have graphical elements (such as Now on DVD,
         Graphical Elements    Widescreen, Coming Soon, Available on Blu-ray, etc.).




                                              20
                                                                       Exhibit 7c Page 244
FOIA Confidential Treatment Requested                                              JJMT-SEC-0005057
